Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 1 of 110 PageID# 525




                    EXHIBIT B
              Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 2 of 110 PageID# 526
                                                                                                                                                                   OMB APPROVAL NUMBER:
                                                                             1. THIS CONTRACT IS A RATED ORDER                             RATING                       PAGE OF
  SOLICITATION, OFFER AND AWARD
                                                                         I   UNDER DPAS (15 CFR 700)                                  I                               I I
                                                                                                                                                                        1       73 PAGES
  2. CONTRACT NO.                          3. SOLICITATION NO.                      4. TYPE OF SOLICITATION                   5. DATE ISSUED               6. REQUISITION/PURCHASE
                                                                                     SEALED BID (IFB)                                                      NO. N/A
                                           AG-3187-S-15-1000                        X NEGOTIATED (RFP)                        2015 July 17

  7. ISSUED BY                                               CODE    I                                      8. ADDRESS OFFER TO (If other than Item 7)
  USDA Forest Service, Acquisition Management Operations (W0)
  1400 Independence Ave.; SW
  Mail Stop 1138
  Washington, DC 20250
  NOTE: In sealed bid solicitations, “offer” and “offeror” mean “bid” and “bidder.”
                                                                                  SOLICITATION
  9.    Offers must be mailed in hard copy and emailed to jasonmking@fs.fed.us no later than
                                                                                           4:00pm    Eastern Daylight Time 2015 September 17.
                                                                                            (Time)                                      (Date)
  CAUTION C LATE Submissions, Modifications, and Withdrawals: See Section L, Provision No. 52.215-1. All offers are subject to all terms and conditions contained in this
  solicitation.
 10.    FOR INFORMATION                     1.       NAME                                                        B. TELEPHONE NO. (NO COLLECT CALLS)               C. E-MAIL ADDRESS
        CALL:                        Mr. Jason M. King
                                                                                                        AREA CODE
                                                                                                        703
                                                                                         11. TABLE OF CONTENTS
                                                                                                                               INUMBER
                                                                                                                                605-5309               IEXT.
                                                                                                                                                                   mailto:jasonmking@fs.fed.us


  (X)      SEC.                            DESCRIPTION                                   PAGE(S)           (X)    SEC.                         DESCRIPTION                                 PAGE(S)
                                    PART I THE SCHEDULE                                                                                PART II CONTRACT CLAUSES
 X           A        SOLICITATION/CONTRACT FORM                                     1                 X             I     CONTRACT CLAUSES                                        18-23
 X           B        SUPPLIES OR SERVICES AND PRICES/COSTS                          2-5                             PART III LIST OF DOCUMENTS, EXHIBITS AND OTHER ATTACH.
 X           C        DESCRIPTION/SPECS./WORK STATEMENT                              6                 X             J     LIST OF ATTACHMENTS                                        24
 X           D        PACKAGING AND MARKING                                          7                                     PART IV     REPRESENTATIONS AND INSTRUCTIONS
                                                                                     8
 X           E        INSPECTION AND ACCEPTANCE                                                                            REPRESENTATIONS, CERTIFICATIONS AND
                                                                                                                     K
                                                                                                                           OTHER STATEMENTS OF OFFERORS
 X           F        DELIVERIES OR PERFORMANCE                                      9-11              X                                                                           25-40
                                                                                     12-13
 X           G        CONTRACT ADMINISTRATION DATA                                                     X             L     INSTRS., CONDS., AND NOTICES TO OFFERORS                41-62
 X           H        SPECIAL CONTRACT REQUIREMENTS                                  14-17             X             M     EVALUATION FACTORS FOR AWARD                            63-73
                                                                     OFFER(Must be fully completed by offeror)
 NOTE: Item 12 does not apply if the solicitation includes the provisions at 52.214-16, Minimum Bid Acceptance Period.
 12. In compliance with the above, the undersigned agrees, if this offer is accepted within 180            calendar days (60 calendar days unless a different period
     is inserted by the offeror) from the date for receipt of offers specified above, to furnish any or all items upon which prices are offered at the price set
     opposite each item, delivered at the designated point(s), within the time specified in the schedule.


                                                         I                                       I                                 I                               I
13.     DISCOUNT FOR PROMPT PAYMENT                          10 CALENDAR DAYS                        20 CALENDAR DAYS                  30 CALENDAR DAYS                CALENDAR DAYS
        (See Section I, Clause No. 52.232-8)                                                %                                %                                %                                     %

 14.    ACKNOWLEDGMENT OF AMENDMENTS                                              AMENDMENT NO.                            DATE                     AMENDMENT NO.                          DATE
        (The offeror acknowledges receipt of amend-
        ments to the SOLICITATION for offerors and
        related documents numbered and dated:

 15A.     NAME
          AND
                                       CODE
                                                 I                       I FACILITY I                                    1.  NAME AND TITLE OF PERSON AUTHORIZED TO SIGN
                                                                                                                         OFFER (Type or print)
          ADDRESS
          OF
          OFFEROR

 15B.     TELEPHONE NUMBER                               15C. CHECK IF REMITTANCE ADDRESS                                17. SIGNATURE                                    18. OFFER DATE

                  I                    I
                                                          [ ] IS DIFFERENT FROM ABOVE. ENTER
 AREA CODE NUMBER                       EXT.
                                                              SUCH ADDRESS IN SCHEDULE
                                                                                 AWARD(To be completed by Government)
 19.    ACCEPTED AS TO ITEMS NUMBERED
                                                            I20. AMOUNT                                21. ACCOUNTING AND APPROPRIATION


 22.    AUTHORITY FOR USING OTHER THAN FULL AND OPEN COMPETI-
        TION:

                                                                                                                                                                            I
                                                                                                       23. SUBMIT INVOICES TO ADDRESS SHOWN IN                              ITEM
         10 U.S.C. 2304© (         )  41 U.S.C. 253© (           )                         (4 copies unless otherwise specified)   
 24. ADMINISTERED BY (If other than Item 7)                      CODE        I                         25. PAYMENT WILL BE MADE BY                              CODE



 26. NAME OF CONTRACTING OFFICER (Type or print)                                                       27. UNITED STATES OF AMERICA                                      28. AWARD DATE


                                                                                              (Signature of Contracting Officer)
 IMPORTANT C Award will be made on this Form, or on Standard Form 26, or by other authorized official written notice.

Authorized for Local Reproduction

PREVIOUS EDITION NOT USABLE                                                                                                                                    Prescribed by GSA
                                                                                                                                                               FAR (48 CFR) 53.214©
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 3 of 110 PageID# 527

                                                           Section B
                                                   Services and Prices/Costs
                                                     R1S Support Services

                                               See attachment, “Bid Schedule”.
  SF 33, Section B - Instructions

  The contract will consist of a phase-in period, one, five-year Base Period, with pricing totals
  provided for each year within the Base Period, and five, one-year award terms.

  Each option period after the 5-year base period is an Award Term earned for a one-year period
  and unilaterally awarded by the government after consideration of the contractor’s earned award
  term and the factors for exercising an Option Period in accordance with FAR 17.207.

  The contractor will be reimbursed on a per reservation transaction basis. A reservation
  transaction shall include all subsequent transactions related to the original reservation including
  changes, cancellations, and no shows. Reservations include camping, ticketing, lotteries,
  permitting, day use and group facilities, special events, equipment rentals, pass sales, non-fee
  facilities, and low-fee facilities.

  A reservation transaction includes all reservation CLINs except those for tours/tickets, permits,
  and for those non-fee facilities. Unit price to be bid on a per reservation basis.

  The per reservation transaction cost shall include all costs for personnel, facilities, materials, and
  equipment, necessary to develop, implement, and operate the R1S System and Support Services
  as defined in the solicitation.

  Offerors shall only enter data in the “Unit Price” column of the spreadsheet. The spreadsheet
  will then calculate the values for the “Estimated Total” column. Offerors shall calculate the totals
  for each base period and option year, including the grand total.

  “NSP” is defined as “Not Separately Priced.” Offerors shall not propose any unit pricing for
  CLINS identified with “NSP” in the “Unit Price” column.

  “NTE” is defined as “Not To Exceed.” Offerors shall not propose any unit prices exceeding the
  “NTE” value specified in CLINS with “NTE” limits set.

  CLIN numbers beginning with “1” are for phase-in and year one of the base period. Those
  beginning with “2” or more are for out years 2-10.

  CLIN X001, Technology Innovation Fund IAW with 5.2.7. of the PWS

  At the government’s sole discretion, CLIN X0001, Technology Innovation Fund (TIF), will be
  funded at a level appropriate to implement the contractor’s selected innovative technologies. For
  the base period, The TIF may be funded with Use Fees in years three (3) four (4) and five (5).

  CLIN 1002, System Development and Deployment IAW with 5.1 of the PWS

  CLIN 1002, only applies to the Phase-in period. The government will fund $1,500,000 for

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     2
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 4 of 110 PageID# 528

                                                           Section B
                                                   Services and Prices/Costs
                                                     R1S Support Services
  phase-in from Use Fees. This amount is fixed for all Offerors, and Offerors shall not adjust
  CLIN 1002 in the spreadsheet. Any development / deployment costs proposed above the CLIN
  1002 amount shall be included, or wrapped into, proposed per transaction unit pricing during the
  5-year base period only. Similarly, Offerors who do not require the full CLIN 1002 amount for
  development / deployment shall reflect this by proposing lower per transaction unit pricing
  during the 5-year base period.

  CLIN X003, Contact Center Reservation Service

  CLIN X003, applies to those reservations made with the assistance of a customer service agent
  via contractor’s Contact Center. Historically, 30% of all reservations are made through the
  Contact Centers. However, the contractor is encouraged to drive their marketing efforts to
  increase the number of reservations made through the Internet. For planning purposes, we have
  estimated a 3% straight line increase in all reservations.

  CLIN’s X003AA – Reservation. A Reservation transaction includes all reservation transactions
  other than those for tours/tickets, permits, and for those facilities where there are no reservation
  fees other than a convenience fee for online purchases. Unit price to be bid on a per reservation
  basis.

  CLIN’s X003AB - Time Ticketing. Reservation transaction, per ticket for tours. Unit price to
  be bid on a per ticket basis.

  CLIN’s X003AC – Low Cost Time Ticketing. Reservation transaction for sites charging less
  than $12 per ticket. Unit price to be bid on a per ticket basis.

  CLIN’s X003AD – Advance Sales for Non-Fee Facility. Reservation transactions for locations
  where recreational use fees are not assessed, but a convenience fee is charged for advance
  reservations. Unit price to be bid on a per ticket basis NTE $1.50.

  CLIN’s X003AE – Advance Sales for Motor Coaches. Includes all reservation transactions
  associated with a group sale of Motor Coach tours / tickets.

  CLIN’s X003AF – Advance Sales for School Groups. Includes all reservation transactions
  associated with a group sale for School Groups.

  CLIN’s X003AG and X004AH – Shipping and Handling of Tickets. Contractor’s unit cost for
  mailing tickets, including small orders of 9 tickets or less and large orders of 10 tickets or more.

  CLIN’s X003AI – Permit or Permit and Lottery. Reservation transaction per permit. Unit price
  to be bid on a per permit basis

  CLIN’s X003AJ – Recreation Related Sales, Including Interagency Pass Sales. Reservation
  transaction per pass. Unit price to be bid on a per pass basis.

  CLIN X004, Internet Reservation Services

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     3
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 5 of 110 PageID# 529

                                                           Section B
                                                   Services and Prices/Costs
                                                     R1S Support Services

  CLIN X005, applies to reservations made directly through the contractor’s Internet reservation
  service at www.recreation.gov. Historically, 70% of all reservations are made through the
  Internet.

  CLIN’s X004AA – Reservation. Includes all reservation transactions other than those for
  tours/tickets, permits, and for those facilities where there are no reservation fees other than a
  convenience fee for online purchases. Unit price to be bid on a per reservation basis.

  CLIN’s X004AB - Time Ticketing. Reservation transaction, per ticket for tours. Unit price to
  be bid on a per ticket basis.

  CLIN’s X004AC – Low Cost Time Ticketing. Reservation transaction for sites charging less
  than $12 per ticket. Unit price to be bid on a per ticket basis.

  CLIN’s X004AD – Advance Sales for Non-Fee Facility. Reservation transactions for locations
  where recreational use fees are not assessed, but a convenience fee is charged for advance
  reservations. Unit price to be bid on a per ticket basis NTE $1.50.

  CLIN’s X004AE – Advance Sales for Motor Coaches. Includes all reservation transactions
  associated with a group sale of Motor Coach tours / tickets.

  CLIN’s X004AF – Advance Sales for School Groups. Includes all reservation transactions
  associated with a group sale for School Groups.

  CLIN’s X004AG and X005AH – Shipping and Handling of Tickets. Contractor’s unit cost for
  mailing tickets, including small orders of 9 tickets or less and large orders of 10 tickets or more.

  CLIN’s X004AI – Permit or Permit and Lottery. Reservation transaction per permit. Unit price
  to be bid on a per permit basis

  CLIN’s X004AJ – Recreation Related Sales, Including Interagency Pass Sales. Reservation
  transaction per pass. Unit price to be bid on a per pass basis.

  CLIN X005, Field Reservation Services

  CLIN X005, are those reservations made directly in the field by Government personnel,
  volunteers, contractors or concessionaires for walk-up customers.

  CLINS X005AA – Reservations. Includes all reservation transactions other than those for
  tours/tickets, permits, and for those facilities where user fees are not charged the user. Unit price
  to be bid on a per reservation basis.

  CLINS X005AB - Time Ticketing. Reservation transaction, per ticket for tours. Unit price to be
  bid on a per ticket basis.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     4
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 6 of 110 PageID# 530

                                                           Section B
                                                   Services and Prices/Costs
                                                     R1S Support Services
  CLINS X005AC - Low Cost Time Ticketing. Reservation transaction for sites charging less
  than $12 per ticket.

  CLINS X005AD - Field Sales for Non-fee facility. Field sales of tickets performed by
  Government, Government Contractor or Concessionaire personnel to walk-up customers at non-
  fee facilities on a first come first served basis. This is an “NSP” CLIN

  CLINS X005AE - Field Sales for Private Motor Coaches. No reservations are expected.

  CLINS X005AF - Field Sales for School Groups. No reservations are expected.

  CLINS X005AG - Permit or Permit and Lottery. Reservation transaction per permit. Unit price
  to be bid on a per permit basis.

  CLIN X006, Telecommunications IAW with 5.5. of the PWS

  CLINs X006 are those charges bid separately to provide Telecommunications services that are
  required in Section 5.5 of the PWS. The charges included in these CLIN’s are in addition to the
  “per reservation” service charges for those specific sites in the attachment. Offerors will attach
  their proposed equipment configuration(s) and maintenance support plan.

  CLINS X006AA - Monthly Telecommunication Service Per Site
  CLINS X006AB - De-installation of Telecommunications Equipment
  CLINS X006AC - Re-installation of Previously Installed Telecommunications Equipment
  CLINS X006AD - Routine Relocation of Previously Installed Telecommunications Equipment
  CLINS X006AE - Maintenance of Installed Telecommunications Equipment
  CLINS X006AF - Initial Installation

  CLIN X007, Specialized Lottery Services IAW with 1.6. in Attachment 10, “Basic System
       Requirements”

  CLINS X007 are for lotteries to award access or admission to a number of high demand
  activities where participation is limited. Examples include the White House’s Christmas Tree
  Lighting and Easter Egg Roll.

  CLINS X007AA - Lottery Only. The contractor needs to conduct the Lottery and share the
  lottery information but does not need to provide ticketing fulfillment services..
  CLINS X0007AB - Lottery and Fulfillment. The contractor needs to conduct the Lottery and
  provide ticketing fulfillment services.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     5
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 7 of 110 PageID# 531

                                                        Section C
                                               Performance Work Statement
                                                   R1S Support Services
  C. Performance Work Statement

            See Section J, List of Attachments, for Attachment 1: Performance Work Statement
            (PWS). Requirements will be solicited under the following North American Industry
            Classification System (NAICS) Code: 561599. The small business size standard is $20.5
            Million.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     6
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 8 of 110 PageID# 532

                                                          Section D
                                                    Packaging and Marking
                                                     R1S Support Services
  D.1       Packaging for Shipment

            All material shall be packed for shipment in such a manner that will ensure acceptance by
            common carrier and safe delivery at destination. Containers and closures shall comply
            with the Interstate Commerce Commission regulations, Uniform Freight Classification
            rules, or regulations of other carriers as applicable to the mode of transportation.

            Damaged materials will be replaced by the Contractor at no cost to the Government.

            A Government furnished packing slip form shall accompany each shipment.

  D.2       Shipping Receipts

            Receipts from common carriers for shipment of materials shall be retained by the
            Contractor and be made available to the Contracting Officer upon request.

  D.3       Shipping Container Markings

            All shipping containers shall be clearly marked with a delivery address.

  D.4       Shipping Insurance

            All shipments shall be Free On Board (FOB) destination, insured against loss or damage,
            and shall carry sufficient insurance to cover the full replacement value of the item(s)
            being shipped.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     7
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 9 of 110 PageID# 533

                                                           Section E
                                                  Inspection and Acceptance
                                                    R1S Support Services

  E.1       FAR 52.252-2              Clauses Incorporated By Reference (FEB 1998)

  This contract incorporates one or more clauses by reference, with the same force and effect as if
  they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at this/these address(es):

                                            https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html

                                                           (End of clause)

  Clause                         Title
  FAR 52.246-2                   Inspection of Supplies – Fixed Price (AUG 1996)
  FAR 52.246-4                   Inspection of Services – Fixed Price (AUG 1996)
  FAR 52.246-15                  Certificate of Conformance (APR 1984)
  FAR 52.246-16                  Responsibility for Supplies (APR 1984)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     8
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 10 of 110 PageID# 534

                                                           Section F
                                                  Deliveries or Performance
                                                    R1S Support Services

  F.1       FAR 52.252-2                   Clauses Incorporated by Reference (FEB 1998)
  This contract incorporates one or more clauses by reference, with the same force and effect as if
  they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:
                                   https://acquisition.gov/far/index.html
                        http://www.dm.usda.gov/procurement/policy/agar.html
                                              (End of clause)

  Clause                         Title
  FAR 52.217-2                   Cancellation Under Multi-year Contracts (OCT 1997)
  FAR 52.242-15                  Stop Work Order (AUG 1989)
  FAR 52.242-17                  Government Delay of Work (APR 1984)

  F.2       Cancellation Ceiling
  The Government reserves the right to cancel this contract, at any time after the first program
  year, in accordance with the provisions of FAR 52.217-2, Cancellation Under Multi-year
  Contracts, as incorporated in Section I of this contract.      Additionally, the contractor shall
  submit with their proposal, estimated termination costs for the base period, by fiscal year, in the
  event the contract is cancelled pursuant to FAR 52.217-2, Cancellation under Multi-Year
  Contracts. However, the government’s obligation for cancellation costs under this provision
  shall not exceed $1,000,000 for the base period as follows:
          Base Period Year 1: $ 1,000,000
          Base Period Year 2: $ 800,000
          Base Period Year 3: $ 600,000
          Base Period Year 4: $ 400,000
          Base Period Year 5: $ 200,000

  F.3       AGAR FAR SUP 452.211-74                             Period of Performance (FEB 1988)

  The period of performance of this contract is as follows:
  Phase-in                                          1 July 2016 – 30 September 2017
  Base Period                                       1 October 2017 – 30 September 2022
  Award Term 1                                      1 October 2022 – 30 September 2023
  Award Term 2                                      1 October 2023 – 30 September 2024
  Award Term 3                                      1 October 2024 – 30 September 2025
  Award Term 4                                      1 October 2025 – 30 September 2026
  Award Term 5                                      1 October 2026 – 30 September 2027

                                                           (End of Clause)

  The government anticipates award of any resulting contract on or about 17 June 2016. However,
  the Government will consider alternate phase-in periods, including those proposals estimating a
  phase-in period of less than 15 months. Performance under any resulting contract will only be
  authorized by the Contracting Officer. In addition, award terms may be earned and exercised by
  the government in accordance with Section J, to this solicitation.
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     9
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 11 of 110 PageID# 535

                                                           Section F
                                                  Deliveries or Performance
                                                    R1S Support Services

  F.4       PERFORMANCE OF SERVICES

  This contract is a performance based contract and will be monitored in accordance with the terms
  and conditions identified within the contract and in the Performance Requirements Summary
  (PRS) located at Section J. The purpose of the PRS is to define performance evaluation and
  incentives. The PRS:

           Lists the Performance Work Statement (PWS) requirements that the Government will
            monitor. The absence of any contract requirement from the PRS shall not detract from its
            enforceability or limit the rights or remedies of the Government under any other
            provisions of the contract, including the clauses entitled “Inspection of Services” and
            “Default.”
           Defines the standard of performance for each listed service.
           Sets forth the maximum allowable deviation from standard performance for that service
            performance requirement that may occur before the Government will invoke the payment
            computation formula resulting in a payment of less than 100 percent of the maximum
            payment for the listed service.
           Sets forth the surveillance methods the Government will use to evaluate the Contractor’s
            performance in meeting contract standards for the listed tasks.

  In addition, the "Award Term Plan" at Section J and attached is an additional tool to assess
  contractor performance and incentivize the contractor to earn or deduct Award Terms.

  F.5       DELIVERABLES

  Deliverables shall be created in an acceptable electronic format compatible with Microsoft
  Office 2007 and delivered in electronic versions. One electronic copy of each deliverable shall
  be delivered to the COR and other Points of Contact as required. The Government will provide
  comments in electronic form to the Contractor on all draft versions of deliverables within ten
  (10) working days of the receipt of the draft.

  All written deliverable products must be written in a clear, concise, and professional manner and
  spell-checked using MS Word compatible spell-checker or equivalent. All deliverables shall
  become property of the government. The government may, at its discretion, make any and all
  information provided by the Contractor available to the public.

  The Contractor shall submit the deliverables listed in the following table:




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     10
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 12 of 110 PageID# 536

                                                           Section F
                                                  Deliveries or Performance
                                                    R1S Support Services


         SECTION                   TITLE                                  DUE DATE
  PWS 5.2.8.                       Disaster Recovery Plan                 Annually and as required

  PWS 5.2.16.                      Quality Control Plan                   Within 30 days of “Go-Live” and
                                                                          updated annually or as required
  PWS 5.6.6.                       Key Personnel Listing                  Annually and as required


  PWS 5.3.3.                       Marketing Plan                         Annually and as required

  PWS 5.6.1.                       Security Plan                No later than 45 days after
                                                                contract award and no less than
                                                                annually and as required
  Attachment 3:                    Award Term Plan Contractor’s No later than 15 calendar days
  Award Term                       Self-Assessment              after the end of each evaluation
  Plan                                                          period listed in Table 2 of
                                                                Attachment 3
  PWS 5.6.8.                       Monthly Performance Report   Monthly and as required

  PWS 5.6.14.                      Program Management Reviews             Monthly for the first 6 months
                                                                          following contract award, and
                                                                          then spaced no more than 60
                                                                          calendar days apart and as
                                                                          required
  PWS 5.6                          OMB Reporting                          Annually and as required




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     11
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 13 of 110 PageID# 537

                                                        Section G
                                               Contract Administration Data
                                                  R1S Support Services

  G.1       CONTACT INFORMATION

  Program Manager (PM):
  To be assigned after contract award.

  Contracting Officer (CO):
  Mr. Jason M. King
  703-605-5309
  jasonmking@fs.fed.us

  Contracting Officer’s Representative (COR):
  To be assigned after contract award.

  G.2       CONTRACTING OFFICER’S REPRESENTATIVE (COR)

  The Contracting Officer (CO) will appoint, by letter, a COR, who will have the responsibility of
  ensuring that the work conforms to the requirements of the contract and such other
  responsibilities and authorities as may be specified in the letter of authorization issued at time of
  contract award. It is understood and agreed that the COR shall not have authority to make
  changes in the scope or terms and conditions of the contract unless, and only to the extent that,
  such authority is specified in the letter of authorization. The resultant Contractor is hereby
  forewarned that, absent the requisite authority of the COR to make any such changes, the
  Contractor may be held fully responsible for any changes not authorized in advance, in writing,
  by the CO; may be denied compensation or other relief for any additional work performed that is
  not so authorized; and may also be required, at no additional cost to Rec.gov, to take all
  corrective action necessitated by reason of the unauthorized change(s).
  The COR will be responsible for: (1) monitoring the Contractor’s technical progress, including
  the surveillance and assessment of performance, and recommending to the CO changes in
  requirements; (2) interpreting the Scope of Work; (3) performing technical evaluation, as
  required; (4) performing technical inspections and acceptances required by this contract; and (5)
  assisting the CO in the resolution of technical problems encountered during performance.

  The CO is responsible and has the sole authority for directing and/or negotiating any
  changes in the terms, conditions, or amounts cited in the contract. Increases in the scope of
  work shall be approved by the CO.

  For guidance from the COR to the Contractor to be valid, it must: (1) be consistent with the
  description of the work set forth in this contract; (2) not constitute new assignment of work or
  change the expressed terms, conditions, or specifications incorporated into this contract; (3) not
  constitute a basis for an extension to the period of performance or contract delivery schedule;
  and (4) not constitute a basis for any increase in the total contract value.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   12
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 14 of 110 PageID# 538

                                                          Section G
                                                  Deliveries or Performance
                                                    R1S Support Services

  G.3       PAYMENT AND INVOICING

  The Contractor may invoice Recreation One Stop (R1S) on a monthly basis upon submission of
  a proper invoice or voucher. The invoice/voucher must match contract line items and price
  offered in Section B of this contract and complies with the PRS.

  Each monthly invoice shall be submitted electronically as a complete package containing all
  relevant and required supporting documentation. The Contractor shall not submit individual
  items of a monthly invoice package using a piecemeal approach.

  The Government and Contractor shall establish specific invoice submission procedures and
  timelines upon contract award.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18
                                                                     13
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 15 of 110 PageID# 539

                                                          Section H
                                                      Special Provisions
                                                     R1S Support Services

  H.1       FAR 52.252-2                   Clauses Incorporated by Reference (FEB 1998)

  This contract incorporates one or more clauses by reference, with the same force and effect as if
  they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:

                                           https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html

                                                           (End of clause)

  H.2       AGAR FAR SUP 452.219-70                        Size Standard and NAICS Code Information (SEP
            2001)

  The North American Industrial Classification System Code(s) and business size standard(s)
  describing the products and/or services to be acquired under this solicitation are listed below:

  -- NAICS Code: 561599, All other Travel Arrangement and Reservation Services

  -- Size Standard: $20.5 Million

                                                        (End of provision)

  H.3       AGAR FAR SUP 452.237-74                        KEY PERSONNEL (FEB 1988)

  (a) The Contractor shall assign to this contract the following key personnel: Program Manager,
  Deputy Program Manager, Technical Lead, and Agency Liaisons.
  (b) During the first ninety (90) days of performance, the Contractor shall make no substitutions
  of key personnel unless the substitution is necessitated by illness, death, or termination of
  employment. The Contractor shall notify the Contracting Officer within 15 calendar days after
  the occurrence of any of these events and provide the information required by paragraph (c)
  below. After the initial 90-day period, the Contractor shall submit the information required by
  paragraph (c) to the Contracting Officer at least 15 days prior to making any permanent
  substitutions.
  (c) The Contractor shall provide a detailed explanation of the circumstances necessitating the
  proposed substitutions, complete resumes for the proposed substitutes, and any additional
  information requested by the Contracting Officer. Proposed substitutes should have comparable
  qualifications to those of the persons being replaced. The Contracting Officer will notify the
  Contractor within 15 calendar days after receipt of all required information of the decision on
  substitutions. The contract will be modified to reflect any approved changes of key personnel.

                                                          (End of Clause)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2| 2015 08 18   14
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 16 of 110 PageID# 540

                                                          Section H
                                                      Special Provisions
                                                     R1S Support Services

  H.4       OPTION PERIODS AS AWARD TERMS

  The Government is limiting its discretion in exercising options under this contract as an incentive
  for exceptional contractor performance. In addition to the FAR 17.207 factors for the exercise of
  an option period), the Government will monitor contractor performance to allow the contractor,
  through superior or exceptional performance, to earn the exercise of one or more option periods.
  The Government will not exercise any option periods not earned by the contractor. This contract
  refers to these earned one-year option periods as "award terms." The exercise of award terms in
  one-year increments will neither shorten the base period of this contract nor extend the contract
  beyond a total of 11 years and 3 months from the date of award. The Award Term Plan in
  Section J, and attached "Award Term Plan" sets forth how the Government will monitor and
  evaluate contractor performance and determine whether the contractor has earned an award term.

  Once earned, a contractor may lose an earned award term for subsequent poor or inconsistent
  performance. Additionally, exercise of all award terms is conditioned on continued contractor
  responsibility at the time of exercise of each award term (option period). Neither failure to earn
  an award term, nor the loss of an earned award term based on subsequent performance or lack of
  responsibility, constitutes a termination as defined in FAR Part 49.

  The Government will exercise an award term unilaterally by providing the Contractor the
  required notice under FAR 52.217-9. Because of the ability to lose an earned award term, the
  Contracting Officer will not modify the contract, and the Contractor does not have a right to an
  award term, until time for the exercise of an earned award term period.

  H.5       FAR 52.222-49             Service Contract Act – Place of Performance Unknown (MAY
            2014)

  The FAR Clause at 52.222-49 is applicable to this contract. In addition, this contract is subject
  to the Service Contract Act; however, the place of performance is unknown when this
  solicitation is issued. Upon contract award, the Contracting Officer will request wage
  determinations for the places or areas of performance identified by the Contractor to be
  applicable. However, a wage determination will be requested and incorporated in the resultant
  contract retroactive to the date of contract award, and there shall be no adjustment in the contract
  price.

  H.6       Protecting Data and Information

  (a) Applicability: This clause applies to contractor and subcontractor (at all tiers) personnel and
  addresses specific requirements for protecting data and information.

  (b) Responsibilities for Handling and/or Storing Data and Information: All contractor and
  subcontractor employees are responsible for the proper handling and/or storing of data and
  information, regardless of location. Contractors shall be responsible for any costs associated with
  the loss, breach, or compromise of information held by contractors. All contract employees shall
  be responsible for:

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   15
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 17 of 110 PageID# 541

                                                          Section H
                                                      Special Provisions
                                                     R1S Support Services


                 (1) The proper control and handling of data and information residing on their
                 computer, on removable media, and on paper documents;

                 (2) Ensuring portable data storage and communication devices are properly
                 controlled and secured at all times; and,

                 (3) Following the procedures for reporting a breach to data and information as
                 outlined in section (c) below.

  (c) Procedures for Reporting a Breach of Data and Information:

                 (1) A breach of data and information includes loss of control, compromise,
                 unauthorized disclosure, unauthorized acquisition, or unauthorized access of data and
                 information whether physical or electronic.

                 (2) All contractors and subcontractors shall report any breach or potential breach,
                 including, but not limited to, network or asset breaches to the CO and the COR within
                 30 minutes of becoming aware of the breach or potential breach regardless of the time
                 or day of the week. All breaches and potential breaches shall be reported, even if it is
                 believed the breach is limited, small, or insignificant. The initial report of the breach
                 shall be made by telephone to the COR; however, the contractor or subcontractor
                 shall follow up in writing within one hour of the verbal notification to the CO and the
                 COR. Do NOT include sensitive information in the e-mail notification.

                 (3) Each breach report shall address all relevant information, including the following:

                            Nature of the event (loss, theft, unauthorized access);
                            Description of the event, including:
                             - Date and time of occurrence
                             - Types of data elements involved;
                            Number of individuals affected or potentially affected;
                            Names of individuals or groups affected or potentially affected;
                            Ease of logical data access lost, stolen or improperly accessed data in light of
                             the degree of protection for the data, e.g., unencrypted, plain text;
                            Amount of time the data has been out of contractor or subcontractor control;
                            The likelihood that data and information will or has been compromised
                             (made accessible to and usable by unauthorized persons);
                            Known misuses of data and information, if any; and,
                            Assessment of the potential harm to the affected individuals.

                 (4) The COR and the contractor will mutually establish additional reporting
                 requirements based on the nature and severity of the breach.

                 (5) In instances of theft, break-in, or other criminal activity affecting or involving

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   16
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 18 of 110 PageID# 542

                                                          Section H
                                                      Special Provisions
                                                     R1S Support Services

                 data and information, the contractor/subcontractor must concurrently report the
                 incident to the appropriate law enforcement entity (or entities) of the jurisdiction. The
                 contractor, its employees, and its subcontractors as well as their employees shall
                 cooperate with the PMO and any law enforcement authority responsible for the
                 investigation and prosecution of any possible criminal law violation(s) associated
                 with any incident. The contractor/subcontractor shall cooperate with the PMO in any
                 civil litigation to recover information, obtain monetary or other compensation from a
                 third party for damages arising from any incident, or obtain injunctive relief against
                 any third party arising from, or related to, the incident.

         Any questions regarding these procedures shall be directed to the Contracting Officer.


                                                           (End of clause)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   17
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 19 of 110 PageID# 543

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services

  I.1       FAR 52.252-2                   Clauses Incorporated by Reference (FEB 1998)

  This contract incorporates one or more clauses by reference, with the same force and effect as if
  they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:
                                   https://acquisition.gov/far/index.html
                        http://www.dm.usda.gov/procurement/policy/agar.html

                                                           (End of clause)

  Clause                         Title
  FAR 52.202-1                   Definitions (NOV 2013)
  FAR 52.203-3                   Gratuities (APR 1984)
  FAR 52.203-5                   Covenant Against Contingent Fees (MAY 2014)
  FAR 52.203-6                   Restrictions on Subcontractor Sales to the Government (SEPT 2006)
  FAR 52.203-7                   Anti-Kickback Procedures (MAY 2014)
  FAR 52.203-8                   Cancellation, Rescission, and Recovery of Funds for Illegal
                                 or Improper Activity (MAY 2014)
  FAR 52.203-10                  Price or Fee Adjustment for Illegal or Improper Activity (MAY 2014)
  FAR 52.203-12                  Limitation on Payments to Influence Certain Federal Transactions (OCT
                                 2010)
  FAR 52.203-13                  Contractor Code of Business Ethics and Conduct (APR 2010)
  FAR 52.203-14                  Display of Hotline Poster(s) (DEC 2007)
  FAR 52.203-16                  Preventing Personal Conflicts of Interest (DEC 2011)
  FAR 52.203-17                  Contractor Employee Whistleblower Rights and Requirements to Inform
                                 Employees of Whistleblower Rights (APR 2014)
  FAR 52.204-4                   Printed or Copied Double-Sided on Postconsumer Fiber Content Paper
                                 (MAY 2011)
  FAR 52.204-9                   Personal Identity Verification of Contractor Personnel (JAN 2011)
  FAR 52.204-10                  Reporting Executive Compensation and First-Tier Subcontractor Awards
                                 (JUL 2013)
  FAR 52.204-12                  Data Universal Numbering System Number Maintenance (DEC 2012)
  FAR 52.204-13                  System for Award Management Maintenance (JUL 2013)
  FAR 52.207-5                   Option to Purchase Equipment (FEB 1995)
  FAR 52.209-6                   Protecting the Government's Interest when Subcontracting
                                 With Contractors Debarred, Suspended, or Proposed for Debarment (AUG
                                 2013)
  FAR 52.209-9                   Updates of Publicly Available Information Regarding Responsibility
                                 Matters (JUL 2013)
  FAR 52.209-10                  Prohibition on Contracting with Inverted Domestic Corporations (DEC
                                 2014)
  FAR 52.210-1                   Market Research (APR 2011)
  FAR 52.215-2                   Audit and Records – Negotiation (OCT 2010)
  FAR 52.215-8                   Order of Precedence - Uniform Contract Format (OCT 1997)
  FAR 25.215-10                  Price Reduction for Defective Cost or Pricing Data (AUG 2011)
  FAR 25.215-11                  Price Reduction for Defective Cost or Pricing Data – Modifications (AUG
                                 2011)
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   18
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 20 of 110 PageID# 544

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services

  FAR 25.215-12                  Subcontractor Certified Cost or Pricing Data (OCT 2010)
  FAR 25.215-13                  Subcontractor Certified Cost or Pricing Data – Modifications (OCT 2010)
  FAR 25.215-14                  Integrity of Unit Prices (OCT 2010)
  FAR 25.215-15                  Pension Adjustments and Asset Reversions (OCT 2010)
  FAR 25.215-17                  Waiver of Facilities Capital Cost of Money (OCT 1997)
  FAR 25.215-18                  Reversion or Adjustment of Plans for Postretirement Benefits (PRB) Other
                                 Than Pensions (JULY 2005)
  FAR 25.215-19                  Notification of Ownership Changes (OCT 1997)
  FAR 52.215-21                  Requirements for Certified Cost or Pricing Data and Data Other Than
                                 Certified Cost or Pricing Data – Modifications (OCT 2010)
  FAR 52.215-23                  Limitations on Pass-Through Charges (OCT 2009)
  FAR 52.217-2                   Cancellation Under Multi-year Contracts (OCT 1997)
  FAR 52.217-6                   Option for Increased Quantity (MAR 1989)
  FAR 52.217-7                   Option for Increased Quantity – Separately Priced Line Item (MAR 1989)
  FAR 52.217-8                   Option to Extend Services (NOV 1999)
  FAR 52.219-4                   Notice of Price Evaluation Preference for HUBZone Small Business
                                 Concerns (OCT 2014)
  FAR 52.219-8                   Utilization of Small Business Concerns (OCT 2014)
  FAR 52.219-9                   Small Business Subcontracting Plan (JUL 2013)
  FAR 52.219-16                  Liquidated Damages --Subcontracting Plan (OCT 2014)
  FAR 52.222-3                   Convict Labor (JUN 2003)
  FAR 52.222-4                   Contract Work Hours and Safety Standards Act – Overtime Compensation
                                 (MAY 2014)
  FAR 52.222-17                  Nondisplacement of Qualified Workers (MAY 2014)
  FAR 52.222-20                  Contracts for Materials, Supplies, Articles, and Equipment Exceeding
                                 $15,000 (May 2014)
  FAR 52.222-21                  Prohibition of Segregated Facilities (FEB 1999)
  FAR 52.222-26                  Equal Opportunity (MAR 2007)
  FAR 52.222-29                  Notification of Visa Denial (JUNE 2003)
  FAR 52.222-35                  Equal Opportunity for Veterans (JUL 2014)
  FAR 52.222-36                  Affirmative Action for Workers with Disabilities (JUL 2014)
  FAR 52.222-37                  Employment Reports on Veterans (JUL 2014)
  FAR 52.222-40                  Notification of Employee Rights Under the National Labor Relations Act
                                 (DEC 2010)
  FAR 52.222-41                  Service Contract Act of 1965 (MAY 2014)
  FAR 52.222-43                  Fair Labor Standards Act and Service Contract Act – Price Adjustment
                                 (Multiple Year and Option Contracts) (MAY 2014)
  FAR 52.222-44                  Fair Labor Standards Act and Service Contract Act – Price Adjustment
                                 (MAY 2014)
  FAR 52.222-50                  Combating Trafficking in Persons (MAR 2015)
  FAR 52.222-54                  Employment Eligibility Verification (AUG 2013)
  FAR 52.222-55                  Minimum Wages Under Executive Order 13658 (DEC 2014)
  FAR 52.223-3                   Hazardous Material Identification and Material Safety Data (JAN 1997)
  FAR 52.223-5                   Pollution Prevention and Right-to-Know Information (MAY 2011)
  FAR 52.223-6                   Drug-Free Workplace (MAY 2001)
  FAR 52.223-18                  Encouraging Contractor Policies to Ban Text Messaging While Driving
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   19
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 21 of 110 PageID# 545

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services

                                 (AUG 2011)
  FAR 52.224-1                   Privacy Act Notification (APR 1984)
  FAR 52.224-2                   Privacy Act (APR 1984)
  FAR 52.225-1                   Buy American Act – Supplies (MAY 2014)
  FAR 52.225-13                  Restrictions on Certain Foreign Purchases (JUNE 2008)
  FAR 52.226-1                   Utilization of Indian Organizations and Indian-Owned Economic
                                 Enterprises (JUNE 2000)
  FAR 52.227-1                   Authorization and Consent (DEC 2007)
  FAR 52.227-3                   Patent Indemnity (APR 1984)
  FAR 52.227-17                  Rights in Data – Special Works (DEC 2007)
  FAR 52.229-3                   Federal, State, and Local Taxes (FEB 2013)
  FAR 52.229-4                   Federal, State, and Local Taxes - State and Local Adjustments (FEB 2013)
  FAR 52.229-6                   Taxes – Foreign Fixed-Price Contracts (FEB 2013)
  FAR 52.230-2                   Cost Accounting Standards (MAY 2014)
  FAR 52.232-1                   Payments (APR 1984)
  FAR 52.232-8                   Discounts for Prompt Payment (FEB 2002)
  FAR 52.232-9                   Limitation on Withholding of Payments (APR 1984)
  FAR 52.232-11                  Extras (APR 1984)
  FAR 52.232-16                  Progress Payments (APR 2012)
  FAR 52.232-17                  Interest (MAY 2014)
  FAR 52.232-23                  Assignment of Claims (MAY 2014)
  FAR 52.232-25                  Prompt Payment (JUL 2013)
  FAR 52.232-33                  Payment by Electronic Funds Transfer-System for Award Management
                                 (JUL 2013)
  FAR 52.232-34                  Payment by Electronic Funds Transfer – Other than System for Award
                                 Management (JUL 2013)
  FAR 52.232-35                  Designation of Office for Government Receipt of Electronic Funds
                                 Transfer Information (JUL 2013)
  FAR 52.232-36                  Payment by Third Party (MAY 2014)
  FAR 52.232-39                  Unenforceability of Unauthorized Obligations (JUN 2013)
  FAR 52.233-1                   Disputes (MAY 2014) – Alternate I (DEC 1991)
  FAR 52.233-3                   Protest After Award (AUG 1996)
  FAR 52.233-4                   Applicable Law for Breach of Contract Claim (OCT 2004)
  FAR 52.237-3                   Continuity of Services (JAN 1991)
  FAR 52.239-1                   Privacy or Security Safeguards (AUG 1996)
  FAR 52.242-13                  Bankruptcy (JUL 1995)
  FAR 52.243-1                   Changes – Fixed-Price (AUG 1987) – Alternate I (APR 1984)
  FAR 52.244-2                   Subcontracts (OCT 2010)
  FAR 52.244-6                   Subcontractors for Commercial Items (MAR 2015)
  FAR 52.245-1                   Government Property (APR 2012)
  FAR 52.245-9                   Use and Charges (APR 2012)
  FAR 52.246-25                  Limitation of Liability—Services (FEB 1997)
  FAR 52.248-1                   Value Engineering (OCT 2010)
  FAR 52.249-2                   Termination for Convenience of the Government (Fixed-Price) (APR
                                 2012)
  FAR 52.249-8                   Default (Fixed-Price Supply and Service) (APR 1984)
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   20
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 22 of 110 PageID# 546

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services

  FAR 52.251-1                   Government Supply Sources (APR 2012)
  FAR 52.253-1                   Computer Generated Forms (JAN 1991)

  I.2       FAR 52.217-9                   Option to Extend the Term of the Contract (MAR 2000)

  (a) Subject to Section J.1, Attachment 3 (Award Term Plan), the Government may extend the
      term of this contract by written notice to the Contractor within 60 days; provided that the
      Government gives the Contractor a preliminary written notice of its intent to extend at least
      60 days before the contract expires. The preliminary notice does not commit the
      Government to an extension.
  (b) If the Government exercises this option, the extended contract shall be considered to include
      this option clause.
  (c) The total duration of this contract, including the exercise of any options under this clause,
      shall not exceed 11 years and 9 months.
                                            (End of clause)

  I.3       FAR 52.222-42              Statement of Equivalent Rates for Federal Hires (MAY 2014)

  In compliance with the Service Contract Act of 1965, as amended, and the regulations of the
  Secretary of Labor (29 CFR Part 4), this clause identifies the classes of service employees
  expected to be employed under the contract and states the wages and fringe benefits payable to
  each if they were employed by the contracting agency subject to the provisions of 5 U.S.C. 5341
  or 5332.
               This Statement is for Information Only - It Is Not a Wage Determination.

            Employee Class                 Monetary Wage--Fringe Benefits

            Based on GS-9 Step 1
            Computer Operator                         $20.32
            Computer Programmer                       $20.32
            Computer Analyst                          $20.32
            Recreation Specialist                     $20.32
            (Reservationist)
                                                                (End of clause)

  I.4       FAR 52.252-6 Authorized Deviations in Clauses (APR 1984)

  a) The use in this solicitation or contract of any Federal Acquisition Regulation (48 CFR
  Chapter 1) clause with an authorized deviation is indicated by the addition of “(DEVIATION)”
  after the date of the clause.
  (b) The use in this solicitation or contract of any Agriculture Acquisition Regulation (AGAR)
  clause with an authorized deviation is indicated by the addition of “(DEVIATION)” after the
  name of the regulation.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   21
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 23 of 110 PageID# 547

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services

  1.5       52.216-18 Ordering (OCT 1995)

  (a) Any supplies and services to be furnished under this contract shall be ordered by issuance of
  delivery orders or task orders by the individuals or activities designated in the Schedule. Such
  orders may be issued from 7 Apr 2016 through 31 Jul 2027.

  (b) All delivery orders or task orders are subject to the terms and conditions of this contract. In
  the event of conflict between a delivery order or task order and this contract, the contract shall
  control.

  (c) If mailed, a delivery order or task order is considered “issued” when the Government deposits
  the order in the mail. Orders may be issued orally, by facsimile, or by electronic commerce
  methods only if authorized in the Schedule.

  1.6       52.216-19 Order Limitations (OCT 1995)

  (a) Minimum order. When the Government requires supplies or services covered by this contract
  in an amount of less than $100.00, the Government is not obligated to purchase, nor is the
  Contractor obligated to furnish, those supplies or services under the contract.

  (b) Maximum order. The Contractor is not obligated to honor-
  (1) Any order for a single item in excess of $40,000,000.00;
  (2) Any order for a combination of items in excess of $100,000,000.00; or

  (3) A series of orders from the same ordering office within 7 days that together call for quantities
  exceeding the limitation in paragraph (b)(1) or (2) of this section.

  (c) If this is a requirements contract (i.e., includes the Requirements clause at subsection 52.216-
  21 of the Federal Acquisition Regulation (FAR)), the Government is not required to order a part
  of any one requirement from the Contractor if that requirement exceeds the maximum-order
  limitations in paragraph (b) of this section.

  (d) Notwithstanding paragraphs (b) and (c) of this section, the Contractor shall honor any order
  exceeding the maximum order limitations in paragraph (b), unless that order (or orders) is
  returned to the ordering office within 7 days after issuance, with written notice stating the
  Contractor’s intent not to ship the item (or items) called for and the reasons. Upon receiving this
  notice, the Government may acquire the supplies or services from another source.

  1.7       52.216-21 Requirements (OCT 1995)

  (a) This is a requirements contract for the supplies or services specified, and effective for the
  period stated, in the Schedule. The quantities of supplies or services specified in the Schedule are
  estimates only and are not purchased by this contract. Except as this contract may otherwise
  provide, if the Government’s requirements do not result in orders in the quantities described as
  “estimated” or “maximum” in the Schedule, that fact shall not constitute the basis for an
  equitable price adjustment.
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   22
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 24 of 110 PageID# 548

                                                          Section I
                                                      Contract Clauses
                                                     R1S Support Services


  (b) Delivery or performance shall be made only as authorized by orders issued in accordance
  with the Ordering clause. Subject to any limitations in the Order Limitations clause or elsewhere
  in this contract, the Contractor shall furnish to the Government all supplies or services specified
  in the Schedule and called for by orders issued in accordance with the Ordering clause. The
  Government may issue orders requiring delivery to multiple destinations or performance at
  multiple locations.

  (c) Except as this contract otherwise provides, the Government shall order from the Contractor
  all the supplies or services specified in the Schedule that are required to be purchased by the
  Government activity or activities specified in the Schedule.

  (d) The Government is not required to purchase from the Contractor requirements in excess of
  any limit on total orders under this contract.

  (e) If the Government urgently requires delivery of any quantity of an item before the earliest
  date that delivery may be specified under this contract, and if the Contractor will not accept an
  order providing for the accelerated delivery, the Government may acquire the urgently required
  goods or services from another source.

  (f) Any order issued during the effective period of this contract and not completed within that
  period shall be completed by the Contractor within the time specified in the order. The contract
  shall govern the Contractor’s and Government’s rights and obligations with respect to that order
  to the same extent as if the order were completed during the contract’s effective period;
  provided, that the Contractor shall not be required to make any deliveries under this contract
  after September 30, 2027.

                                                           (End of clause)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   23
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 25 of 110 PageID# 549

                                                            Section J
                                                      List of Attachments
                                                     R1S Support Services

  J.1       LIST OF ATTACHMENTS

     Attachment Number                                    Attachment Title
      1.                                                  Performance Work Statement (PWS)
      2.                                                  Performance Requirements Summary (PRS)
      3.                                                  Award Term Plan
      4.                                                  R1S PMO Org Chart
      5.                                                  Definitions
      6.                                                  Business Rules
      7.                                                  Communication Services
      8.                                                  U.S. Digital Services Playbook
      9.                                                  RIDB Data Flow Charts
     10.                                                  Basic System Requirements
     11.                                                  Past Performance Survey
     12.                                                  Data and Analytics
     13.                                                  Hourly Contact Volume
     14.                                                  R1S Call Data
     15.                                                  REC.GOV Transaction Count
     16.                                                  REC.GOV Total Revenue
     17.                                                  System of Records Notice
     18.                                                  Privacy Policy
     19.                                                  Q&A Form
     20.                                                  All Data
     21.                                                  Summary of Historical Reporting Data
     22.                                                  Historical Lottery Data
     23.                                                  RIDB Views, Visits, and Downloads Statistics
     24.                                                  Bid Schedule
     25.                                                  Use Cases
     26.                                                  Inventory Listing by Agency
     27.                                                  FY14 Analytics
     28.                                                  Financial Data
     29.                                                  R1S RFP Q&A Responses
     30.                                                  Blank CIR Report
     31.                                                  FY2014 Data
     32.                                                  Ticketing Data




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   24
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 26 of 110 PageID# 550

                                                       Section K
                                           Representations and Certifications
                                                R1S Support Services

  K.1       FAR 52.252-2                   Clauses Incorporated by Reference (FEB 1998)

  This contract incorporates one or more clauses by reference, with the same force and effect as if
  they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:

                                           https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html

                                                           (End of clause)

  Clause                         Title
  FAR 52.203-11                  Certification and Disclosure Regarding Payments to Influence Certain
                                 Federal Transactions (SEPT 2007)
  FAR 52.204-5                   Women-Owned Business (Other Than Small Business) (OCT 2014)
  FAR 52.209-2                   Prohibition on Contracting with Inverted Domestic Corporations –
                                 Representation (DEC 2014)
  FAR 52.222-38                  Compliance with Veterans’ Employment Reporting Requirements (SEP
                                 2010)
  FAR 52.225-25                  Prohibition on Contracting with Entities Engaging in Certain Activities or
                                 Transactions Relating to Iran – Representation and Certifications (DEC
                                 2012)
  AGAR 452.209-71                Assurance Regarding Felony Conviction or Tax Delinquent Status for
                                 Corporate Applicants (FEB 2012) Alternate 1 (FEB 2012)

  K.2       FAR 52.203-2                   Certificate of Independent Price Determination (APR 1985)

  (a) The offeror certifies that--
  (1) The prices in this offer have been arrived at independently, without, for the purpose of
  restricting competition, any consultation, communication, or agreement with any other offeror or
  competitor relating to--
  (i) Those prices;
  (ii) The intention to submit an offer; or
  (iii) The methods or factors used to calculate the prices offered.
  (2) The prices in this offer have not been and will not be knowingly disclosed by the offeror,
  directly or indirectly, to any other offeror or competitor before bid opening (in the case of a
  sealed bid solicitation) or contract award (in the case of a negotiated solicitation) unless
  otherwise required by law; and
  (3) No attempt has been made or will be made by the offeror to induce any other concern to
  submit or not to submit an offer for the purpose of restricting competition.
  (b) Each signature on the offer is considered to be a certification by the signatory that the
  signatory--
  (1) Is the person in the offeror's organization responsible for determining the prices being offered
  in this bid or proposal, and that the signatory has not participated and will not participate in any


  Solicitation Number: AG-3187-S-15-1000 | Revision 2| 2015 08 18   25
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 27 of 110 PageID# 551

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  action contrary to subparagraphs (a)(1) through (a)(3) of this provision; or
  (2)(i) Has been authorized, in writing, to act as agent for the following principals in certifying
  that those principals have not participated, and will not participate in any action contrary to
  subparagraphs (a)(1) through (a)(3) of this provision ____________________ [insert full name
  of person(s) in the offeror's organization responsible for determining the prices offered in this bid
  or proposal, and the title of his or her position in the offeror's organization];
  (ii) As an authorized agent, does certify that the principals named in subdivision (b)(2)(i) of this
  provision have not participated, and will not participate, in any action contrary to subparagraphs
  (a)(1) through (a)(3) of this provision; and
  (iii) As an agent, has not personally participated, and will not participate, in any action contrary
  to subparagraphs (a)(1) through (a)(3) of this provision.
  (c) If the offeror deletes or modifies subparagraph (a)(2) of this provision, the offeror must
  furnish with its offer a signed statement setting forth in detail the circumstances of the disclosure.

                                                         (End of provision)

  K.3       FAR 52.204-3                   Taxpayer Identification (OCT 1998)

  (a) Definitions.
  "Common parent," as used in this provision, means that corporate entity that owns or controls an
  affiliated group of corporations that files its Federal income tax returns on a consolidated basis,
  and of which the offeror is a member.
  "Taxpayer Identification Number (TIN)," as used in this provision, means the number required
  by the Internal Revenue Service (IRS) to be used by the offeror in reporting income tax and other
  returns. The TIN may be either a Social Security Number or an Employer Identification Number.
  (b) All offerors must submit the information required in paragraphs (d) through (f) of this
  provision to comply with debt collection requirements of 31 U.S.C. 7701(c) and 3325(d),
  reporting requirements of 26 U.S.C. 6041, 6041A, and 6050M, and implementing regulations
  issued by the IRS. If the resulting contract is subject to the payment reporting requirements
  described in Federal Acquisition Regulation (FAR) 4.904, the failure or refusal by the offeror to
  furnish the information may result in a 31 percent reduction of payments otherwise due under the
  contract.
  (c) The TIN may be used by the Government to collect and report on any delinquent amounts
  arising out of the offeror's relationship with the Government (31 U.S.C. 7701(c)(3)). If the
  resulting contract is subject to the payment reporting requirements described in FAR 4.904, the
  TIN provided hereunder may be matched with IRS records to verify the accuracy of the offeror's
  TIN.
  (d) Taxpayer Identification Number (TIN).
  * TIN: _____________________.
  * TIN has been applied for.
  * TIN is not required because:
  * Offeror is a nonresident alien, foreign corporation, or foreign partnership that does not have
  income effectively connected with the conduct of a trade or business in the United States and
  does not have an office or place of business or a fiscal paying agent in the United States;
  * Offeror is an agency or instrumentality of a foreign government;

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   26
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 28 of 110 PageID# 552

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  * Offeror is an agency or instrumentality of the Federal Government.
  (e) Type of organization.
  * Sole proprietorship;
  * Partnership;
  * Corporate entity (not tax-exempt);
  * Corporate entity (tax-exempt);
  * Government entity (Federal, State, or local);
  * Foreign government;
  * International organization per 26 CFR 1.6049-4;
  * Other _________________________.
  (f) Common parent.
  * Offeror is not owned or controlled by a common parent as defined in paragraph (a) of this
  provision.
  * Name and TIN of common parent:
  Name _____________________________
  TIN ______________________________

                                                         (End of provision)

  K.4       FAR 52.204-8                   Annual Representations and Certifications (DEC 2014)

   (a)(1) The North American Industry Classification System (NAICS) code for this acquisition is
  561599.
  (2) The small business size standard is $20.5 Million.
  (3) The small business size standard for a concern which submits an offer in its own name, other
  than on a construction or service contract, but which proposes to furnish a product which it did
  not itself manufacture, is 500 employees.
  (b)(1) If the provision at 52.204-7, System for Award Management, is included in this
  solicitation, paragraph (d) of this provision applies.
  (2) If the provision at 52.204-7 is not included in this solicitation, and the offeror is currently
  registered in the System for Award Management (SAM), and has completed the Representations
  and Certifications section of SAM electronically, the offeror may choose to use paragraph (d) of
  this provision instead of completing the corresponding individual representations and
  certifications in the solicitation. The offeror shall indicate which option applies by checking one
  of the following boxes:
  [ ] (i) Paragraph (d) applies.
  [ ] (ii) Paragraph (d) does not apply and the offeror has completed the individual representations
  and certifications in the solicitation.
  (c)(1) The following representations or certifications in SAM are applicable to this solicitation as
  indicated:
  (B) For DoD, NASA, and Coast Guard acquisitions, solicitations that contain the clause at
  52.219-23, Notice of Price Evaluation Adjustment for Small Disadvantaged Business Concerns.
  (2) The following certifications are applicable as indicated by the Contracting Officer:
  [Contracting Officer check as appropriate.]
  __ (i) 52.219-22, Small Disadvantaged Business Status.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   27
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 29 of 110 PageID# 553

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  __ (A) Basic.
  __ (B) Alternate I.
  __ (ii) 52.222-18, Certification Regarding Knowledge of Child Labor for Listed End Products.
  __ (iii) 52.222-48, Exemption from Application of the Service Contract Act to Contracts for
  Maintenance, Calibration, or Repair of Certain Equipment Certification.
  __ (iv) 52.222-52, Exemption from Application of the Service Contract Act to Contracts for
  Certain Services–Certification.
  __ (v) 52.223-9, with its Alternate I, Estimate of Percentage of Recovered Material Content for
  EPA–Designated Products (Alternate I only).
  __ (vi) 52.227-6, Royalty Information.
  __ (A) Basic.
  __(B) Alternate I.
  __ (vii) 52.227-15, Representation of Limited Rights Data and Restricted Computer Software.
  (d) The offeror has completed the annual representations and certifications electronically via the
  SAM website accessed through https://www.acquisition.gov. After reviewing the SAM database
  information, the offeror verifies by submission of the offer that the representations and
  certifications currently posted electronically that apply to this solicitation as indicated in
  paragraph (c) of this provision have been entered or updated within the last 12 months, are
  current, accurate, complete, and applicable to this solicitation (including the business size
  standard applicable to the NAICS code referenced for this solicitation), as of the date of this
  offer and are incorporated in this offer by reference (see FAR 4.1201); except for the changes
  identified below [offeror to insert changes, identifying change by clause number, title, date].
  These amended representation(s) and/or certification(s) are also incorporated in this offer and are
  current, accurate, and complete as of the date of this offer.
  FAR Clause #          Title        Date Change
      ____________         _________      _____      _______
  Any changes provided by the offeror are applicable to this solicitation only, and do not result in
  an update to the representations and certifications posted on SAM.

                                                         (End of provision)

  K.5       FAR52.209-5                    Certification Regarding Responsibility Matters (APR 2010)

  (a)(1) The Offeror certifies, to the best of its knowledge and belief, that—
  (i) The Offeror and/or any of its Principals—
  (A) Are o are not o presently debarred, suspended, proposed for debarment, or declared
       ineligible for the award of contracts by any Federal agency;
  (B) Have o have not o, within a three-year period preceding this offer, been convicted of or had a
       civil judgment rendered against them for: commission of fraud or a criminal offense in
       connection with obtaining, attempting to obtain, or performing a public (Federal, State, or
       local) contract or subcontract; violation of Federal or State antitrust statutes relating to the
       submission of offers; or commission of embezzlement, theft, forgery, bribery, falsification or
       destruction of records, making false statements, tax evasion, violating Federal criminal tax
       laws, or receiving stolen property (if offeror checks “have”, the offeror shall also see 52.209-
       7, if included in this solicitation);
  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   28
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 30 of 110 PageID# 554

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  (C) Are o are not o presently indicted for, or otherwise criminally or civilly charged by a
       governmental entity with, commission of any of the offenses enumerated in
       paragraph (a)(1)(i)(B) of this provision;
  (D) Have o, have not o, within a three-year period preceding this offer, been notified of any
       delinquent Federal taxes in an amount that exceeds $3,000 for which the liability remains
       unsatisfied.
  (1) Federal taxes are considered delinquent if both of the following criteria apply:
  (i) The tax liability is finally determined. The liability is finally determined if it has been
       assessed. A liability is not finally determined if there is a pending administrative or judicial
       challenge. In the case of a judicial challenge to the liability, the liability is not finally
       determined until all judicial appeal rights have been exhausted.
  (ii) The taxpayer is delinquent in making payment. A taxpayer is delinquent if the taxpayer has
       failed to pay the tax liability when full payment was due and required. A taxpayer is not
       delinquent in cases where enforced collection action is precluded.
  (2) Examples.
  (i) The taxpayer has received a statutory notice of deficiency, under I.R.C. § 6212, which entitles
       the taxpayer to seek Tax Court review of a proposed tax deficiency. This is not a delinquent
       tax because it is not a final tax liability. Should the taxpayer seek Tax Court review, this will
       not be a final tax liability until the taxpayer has exercised all judicial appeal rights.
  (ii) The IRS has filed a notice of Federal tax lien with respect to an assessed tax liability, and the
       taxpayer has been issued a notice under I.R.C. § 6320 entitling the taxpayer to request a
       hearing with the IRS Office of Appeals contesting the lien filing, and to further appeal to the
       Tax Court if the IRS determines to sustain the lien filing. In the course of the hearing, the
       taxpayer is entitled to contest the underlying tax liability because the taxpayer has had no
       prior opportunity to contest the liability. This is not a delinquent tax because it is not a final
       tax liability. Should the taxpayer seek tax court review, this will not be a final tax liability
       until the taxpayer has exercised all judicial appeal rights.
  (iii) The taxpayer has entered into an installment agreement pursuant to I.R.C. § 6159. The
        taxpayer is making timely payments and is in full compliance with the agreement terms. The
        taxpayer is not delinquent because the taxpayer is not currently required to make full
        payment.
  (iv) The taxpayer has filed for bankruptcy protection. The taxpayer is not delinquent because
        enforced collection action is stayed under 11 U.S.C. 362 (the Bankruptcy Code).
  (ii) The Offeror has o has not o, within a three-year period preceding this offer, had one or more
       contracts terminated for default by any Federal agency.
  (2) “Principal,” for the purposes of this certification, means an officer, director, owner, partner,
       or a person having primary management or supervisory responsibilities within a business
       entity (e.g., general manager; plant manager; head of a division or business segment; and
       similar positions).

  This Certification Concerns a Matter Within the Jurisdiction of an Agency of the United States
  and the Making of a False, Fictitious, or Fraudulent Certification May Render the Maker Subject
  to Prosecution Under Section 1001, Title 18, United States Code.

  (b) The Offeror shall provide immediate written notice to the Contracting Officer if, at any time

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   29
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 31 of 110 PageID# 555

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

      prior to contract award, the Offeror learns that its certification was erroneous when submitted
      or has become erroneous by reason of changed circumstances.
  (c) A certification that any of the items in paragraph (a) of this provision exists will not
      necessarily result in withholding of an award under this solicitation. However, the
      certification will be considered in connection with a determination of the Offeror’s
      responsibility. Failure of the Offeror to furnish a certification or provide such additional
      information as requested by the Contracting Officer may render the Offeror nonresponsible.
  (d) Nothing contained in the foregoing shall be construed to require establishment of a system of
      records in order to render, in good faith, the certification required by paragraph (a) of this
      provision. The knowledge and information of an Offeror is not required to exceed that which
      is normally possessed by a prudent person in the ordinary course of business dealings.
  (e) The certification in paragraph (a) of this provision is a material representation of fact upon
      which reliance was placed when making award. If it is later determined that the Offeror
      knowingly rendered an erroneous certification, in addition to other remedies available to the
      Government, the Contracting Officer may terminate the contract resulting from this
      solicitation for default.

                                                         (End of provision)

  K.6       FAR 52.209-7                   Information Regarding Responsibility Matters (JUL 2013)

  (a) Definitions. As used in this provision—
  “Administrative proceeding” means a non-judicial process that is adjudicatory in nature in order
  to make a determination of fault or liability (e.g., Securities and Exchange Commission
  Administrative Proceedings, Civilian Board of Contract Appeals Proceedings, and Armed
  Services Board of Contract Appeals Proceedings). This includes administrative proceedings at
  the Federal and State level but only in connection with performance of a Federal contract or
  grant. It does not include agency actions such as contract audits, site visits, corrective plans, or
  inspection of deliverables.
  “Federal contracts and grants with total value greater than $10,000,000” means—
  (1) The total value of all current, active contracts and grants, including all priced options; and
  (2) The total value of all current, active orders including all priced options under indefinite-
      delivery, indefinite-quantity, 8(a), or requirements contracts (including task and delivery and
      multiple-award Schedules).
  “Principal” means an officer, director, owner, partner, or a person having primary management
  or supervisory responsibilities within a business entity (e.g., general manager; plant manager;
  head of a division or business segment; and similar positions).
  (b) The offeror [ ] has [ ] does not have current active Federal contracts and grants with total
  value greater than $10,000,000.
  (c) If the offeror checked “has” in paragraph (b) of this provision, the offeror represents, by
  submission of this offer, that the information it has entered in the Federal Awardee Performance
  and Integrity Information System (FAPIIS) is current, accurate, and complete as of the date of
  submission of this offer with regard to the following information:
  (1) Whether the offeror, and/or any of its principals, has or has not, within the last five years, in
  connection with the award to or performance by the offeror of a Federal contract or grant, been

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   30
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 32 of 110 PageID# 556

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  the subject of a proceeding, at the Federal or State level that resulted in any of the following
  dispositions:
  (i) In a criminal proceeding, a conviction.
  (ii) In a civil proceeding, a finding of fault and liability that results in the payment of a monetary
  fine, penalty, reimbursement, restitution, or damages of $5,000 or more.
  (iii) In an administrative proceeding, a finding of fault and liability that results in—
  (A) The payment of a monetary fine or penalty of $5,000 or more; or
  (B) The payment of a reimbursement, restitution, or damages in excess of $100,000.
  (iv) In a criminal, civil, or administrative proceeding, a disposition of the matter by consent or
  compromise with an acknowledgment of fault by the Contractor if the proceeding could have led
  to any of the outcomes specified in paragraphs (c)(1)(i), (c)(1)(ii), or (c)(1)(iii) of this provision.
  (2) If the offeror has been involved in the last five years in any of the occurrences listed in (c)(1)
  of this provision, whether the offeror has provided the requested information with regard to each
  occurrence.
  (d) The offeror shall post the information in paragraphs (c)(1)(i) through (c)(1)(iv) of this
  provision in FAPIIS as required through maintaining an active registration in the System for
  Award Management database via https://www.acquisition.gov (see 52.204-7).

                                                         (End of provision)

  K.7       FAR 52.215-6                   Place of Performance (OCT 1997)

  (a) The offeror or respondent, in the performance of any contract resulting from this solicitation,
  o intends, o does not intend [check applicable block] to use one or more plants or facilities
  located at a different address from the address of the offeror or respondent as indicated in this
  proposal or response to request for information.
  (b) If the offeror or respondent checks “intends” in paragraph (a) of this provision, it shall insert
  in the following spaces the required information:
      PLACE OF PERFORMANCE (STREET           NAME AND ADDRESS OF OWNER AND OPERATOR OF THE
    ADDRESS, CITY, STATE, COUNTY, ZIP           PLANT OR FACILITY IF OTHER THAN OFFEROR OR
                     CODE)                                         RESPONDENT
                  ____________________                                        _______________________
                  ____________________                                        _______________________


                                                         (End of provision)

  K.8       FAR 52.219-1                   Small Business Program Representations (OCT 2014)

     (a)(1) The North American Industry Classification System (NAICS) code for this acquisition
  is 561599.
        (2) The small business size standard is $20.5 Million.
        (3) The small business size standard for a concern which submits an offer in its own name,
  other than on a construction or service contract, but which proposes to furnish a product which it
  did not itself manufacture, is 500 employees.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   31
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 33 of 110 PageID# 557

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

     (b) Representations.
        (1) The offeror represents as part of its offer that it o is, o is not a small business concern.
        (2) [Complete only if the offeror represented itself as a small business concern in
  paragraph (b)(1) of this provision.] The offeror represents, for general statistical purposes, that it
  o is, o is not, a small disadvantaged business concern as defined in 13 CFR 124.1002.
        (3) [Complete only if the offeror represented itself as a small business concern in
  paragraph (b)(1) of this provision.] The offeror represents as part of its offer that it o is, o is not
  a women-owned small business concern.
        (4) Women-owned small business (WOSB) concern eligible under the WOSB Program.
  [Complete only if the offeror represented itself as a women-owned small business concern in
  paragraph (b)(3) of this provision.] The offeror represents as part of its offer that—
           (i) It o is, o is not a WOSB concern eligible under the WOSB Program, has provided all
  the required documents to the WOSB Repository, and no change in circumstances or adverse
  decisions have been issued that affects its eligibility; and
           (ii) It o is, o not a joint venture that complies with the requirements of 13 CFR part 127,
  and the representation in paragraph (b)(4)(i) of this provision is accurate for each WOSB concern
  eligible under the WOSB Program participating in the joint venture.[The offeror shall enter the
  name or names of the WOSB concern eligible under the WOSB Program and other small
  businesses that are participating in the joint venture: __________.]Each WOSB concern eligible
  under the WOSB Program participating in the joint venture shall submit a separate signed copy
  of the WOSB representation.
        (5) Economically disadvantaged women-owned small business (EDWOSB) concern.
  [Complete only if the offeror represented itself as a women-owned small business concern
  eligible under the WOSB Program in (b)(4) of this provision.]The offeror represents as part of its
  offer that—
           (i) It o is, o is not an EDWOSB concern eligible under the WOSB Program, has
  provided all the required documents to the WOSB Repository, and no change in circumstances
  or adverse decisions have been issued that affects its eligibility; and
           (ii) It o is, o is not a joint venture that complies with the requirements of 13 CFR part
  127, and the representation in paragraph (b)(5)(i) of this provision is accurate for each EDWOSB
  concern participating in the joint venture. [The offeror shall enter the name or names of the
  EDWOSB concern and other small businesses that are participating in the joint venture:
  __________.] Each EDWOSB concern participating in the joint venture shall submit a separate
  signed copy of the EDWOSB representation.
        (6) [Complete only if the offeror represented itself as a small business concern in
  paragraph (b)(1) of this provision.] The offeror represents as part of its offer that it o is, o is not
  a veteran-owned small business concern.
        (7) [Complete only if the offeror represented itself as a veteran-owned small business
  concern in paragraph (b)(6) of this provision.] The offeror represents as part of its offer that it
  o is, o is not a service-disabled veteran-owned small business concern.
        (8) [Complete only if the offeror represented itself as a small business concern in
  paragraph (b)(1) of this provision.] The offeror represents, as part of its offer, that—
           (i) It o is, o is not a HUBZone small business concern listed, on the date of this
  representation, on the List of Qualified HUBZone Small Business Concerns maintained by the
  Small Business Administration, and no material changes in ownership and control, principal

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   32
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 34 of 110 PageID# 558

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  office, or HUBZone employee percentage have occurred since it was certified in accordance with
  13 CFR Part 126; and
           (ii) It o is, o is not a HUBZone joint venture that complies with the requirements of 13
  CFR Part 126, and the representation in paragraph (b)(8)(i) of this provision is accurate for each
  HUBZone small business concern participating in the HUBZone joint venture. [The offeror shall
  enter the names of each of the HUBZone small business concerns participating in the HUBZone
  joint venture: __________.] Each HUBZone small business concern participating in the
  HUBZone joint venture shall submit a separate signed copy of the HUBZone representation.
     (c) Definitions. As used in this provision—
     “Economically disadvantaged women-owned small business (EDWOSB) concern” means a
  small business concern that is at least 51 percent directly and unconditionally owned by, and the
  management and daily business operations of which are controlled by, one or more women who
  are citizens of the United States and who are economically disadvantaged in accordance with 13
  CFR part 127. It automatically qualifies as a women-owned small business concern eligible
  under the WOSB Program.
     “Service-disabled veteran-owned small business concern”—
        (1) Means a small business concern—
           (i) Not less than 51 percent of which is owned by one or more service-disabled veterans
  or, in the case of any publicly owned business, not less than 51 percent of the stock of which is
  owned by one or more service-disabled veterans; and
           (ii) The management and daily business operations of which are controlled by one or
  more service-disabled veterans or, in the case of a service-disabled veteran with permanent and
  severe disability, the spouse or permanent caregiver of such veteran.
        (2) “Service-disabled veteran” means a veteran, as defined in 38 U.S.C. 101(2), with a
  disability that is service-connected, as defined in 38 U.S.C. 101(16).
     “Small business concern” means a concern, including its affiliates, that is independently
  owned and operated, not dominant in the field of operation in which it is bidding on Government
  contracts, and qualified as a small business under the criteria in 13 CFR Part 121 and the size
  standard in paragraph (a) of this provision.
     “Veteran-owned small business concern” means a small business concern—
        (1) Not less than 51 percent of which is owned by one or more veterans (as defined at
  38 U.S.C. 101(2)) or, in the case of any publicly owned business, not less than 51 percent of the
  stock of which is owned by one or more veterans; and
        (2) The management and daily business operations of which are controlled by one or more
  veterans.
     “Women-owned small business concern” means a small business concern—
        (1) That is at least 51 percent owned by one or more women; or, in the case of any publicly
  owned business, at least 51 percent of the stock of which is owned by one or more women; and
        (2) Whose management and daily business operations are controlled by one or more
  women.
     “Women-owned small business (WOSB) concern eligible under the WOSB Program” (in
  accordance with 13 CFR part 127), means a small business concern that is at least 51 percent
  directly and unconditionally owned by, and the management and daily business operations of
  which are controlled by, one or more women who are citizens of the United States.
     (d) Notice.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   33
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 35 of 110 PageID# 559

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

        (1) If this solicitation is for supplies and has been set aside, in whole or in part, for small
  business concerns, then the clause in this solicitation providing notice of the set-aside contains
  restrictions on the source of the end items to be furnished.
        (2) Under 15 U.S.C. 645(d), any person who misrepresents a firm’s status as a business
  concern that is small, HUBZone small, small disadvantaged, service-disabled veteran-owned
  small, economically disadvantaged women-owned small, or women-owned small eligible under
  the WOSB Program in order to obtain a contract to be awarded under the preference programs
  established pursuant to section 8, 9, 15, 31, and 36 of the Small Business Act or any other
  provision of Federal law that specifically references section 8(d) for a definition of program
  eligibility, shall—
           (i) Be punished by imposition of fine, imprisonment, or both;
           (ii) Be subject to administrative remedies, including suspension and debarment; and
           (iii) Be ineligible for participation in programs conducted under the authority of the Act.

                                                         (End of provision)

  K.9       FAR 52.222-21                  Previous Contracts and Compliance Reports (FEB 1999)
  The offeror represents that –
  (a) It [ ] has, [ ] has not participated in a previous contract or subcontract subject the Equal
  Opportunity clause of this solicitation;
  (b) It [ ] has, [ ] has not filed all required compliance reports; and
  (c) Representations indicating submission of required compliance reports, signed by proposed
  subcontractors, will be obtained before subcontract awards.
                                                         (End of provision)

  K.10 FAR 52.222-25                       Affirmative Action Compliance (APR 1984)

  The offeror represents that –
  (a) It [ ] has developed and has on file, [ ] has not developed and does not have on file, at each
  establishment, affirmative action programs required by the rules and regulations of the Secretary
  of Labor (41 CFR 60-1 and 60-2); or
  (b) It [ ] has not previously had contracts subject to the written affirmative action programs
  requirement of the rules and regulations of the Secretary of Labor.

                                                         (End of provision)

  K.11 FAR 52.225-2                   Buy American Act Certificate (MAY 2014)

    (a) The offeror certifies that each end product, except those listed in paragraph (b) of this
  provision, is a domestic end product and that for other than COTS items, the offeror has
  considered components of unknown origin to have been mined, produced, or manufactured
  outside the United States. The offeror shall list as foreign end products those end products
  manufactured in the United States that do not qualify as domestic end products, i.e., an end
  product that is not a COTS item and does not meet the component test in paragraph (2) of the

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   34
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 36 of 110 PageID# 560

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  definition of “domestic end product.” The terms “commercially available off-the-shelf (COTS)
  item,” “component,” “domestic end product,” “end product,” “foreign end product,” and “United
  States” are defined in the clause of this solicitation entitled “Buy American Act—Supplies.”
     (b) Foreign End Products:
                                 LINE ITEM NO. COUNTRY OF ORIGIN
                                ______________ _________________
                                ______________ _________________
                                ______________ _________________
                                            [List as necessary]
     (c) The Government will evaluate offers in accordance with the policies and procedures of
  Part 25 of the Federal Acquisition Regulation.

                                                         (End of provision)

  K.12 FAR 52.225-20        Prohibition on Conducting Restricted Business Operations in
       Sudan – Certification (AUG 2009)

  (a) Definitions. As used in this provision—
  “Business operations” means engaging in commerce in any form, including by acquiring,
  developing, maintaining, owning, selling, possessing, leasing, or operating equipment, facilities,
  personnel, products, services, personal property, real property, or any other apparatus of business
  or commerce.
     “Marginalized populations of Sudan” means—
       (1) Adversely affected groups in regions authorized to receive assistance under section 8(c)
  of the Darfur Peace and Accountability Act (Pub. L. 109-344) (50 U.S.C. 1701 note); and
       (2) Marginalized areas in Northern Sudan described in section 4(9) of such Act.
     “Restricted business operations” means business operations in Sudan that include power
  production activities, mineral extraction activities, oil-related activities, or the production of
  military equipment, as those terms are defined in the Sudan Accountability and Divestment Act
  of 2007 (Pub. L. 110-174). Restricted business operations do not include business operations that
  the person (as that term is defined in Section 2 of the Sudan Accountability and Divestment Act
  of 2007) conducting the business can demonstrate—
       (1) Are conducted under contract directly and exclusively with the regional government of
  southern Sudan;
       (2) Are conducted pursuant to specific authorization from the Office of Foreign Assets
  Control in the Department of the Treasury, or are expressly exempted under Federal law from the
  requirement to be conducted under such authorization;
       (3) Consist of providing goods or services to marginalized populations of Sudan;
       (4) Consist of providing goods or services to an internationally recognized peacekeeping
  force or humanitarian organization;
       (5) Consist of providing goods or services that are used only to promote health or education;
  or
       (6) Have been voluntarily suspended.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   35
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 37 of 110 PageID# 561

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  (b) Certification. By submission of its offer, the offeror certifies that the offeror does not conduct
  any restricted business operations in Sudan.

                                                         (End of provision)

  K.13 FAR 52.227-6                        Royalty Information (APR 1984)

  (a) Cost or charges for royalties. When the response to this solicitation contains costs or charges
  for royalties totaling more than $250, the following information shall be included in the response
  relating to each separate item of royalty or license fee:
  (1) Name and address of licensor.
  (2) Date of license agreement.
  (3) Patent numbers, patent application serial numbers, or other basis on which the royalty is
  payable.
  (4) Brief description, including any part or model numbers of each contract item or component
  on which the royalty is payable.
  (5) Percentage or dollar rate of royalty per unit.
  (6) Unit price of contract item.
  (7) Number of units.
  (8) Total dollar amount of royalties.
  (b) Copies of current licenses. In addition, if specifically requested by the Contracting Officer
  before execution of the contract, the offeror shall furnish a copy of the current license agreement
  and an identification of applicable claims of specific patents.

                                                         (End of provision)

  K.14 FAR 52.227-15        Representation of Limited Rights Data and Restricted
       Computer Software (DEC 2007)

     (a) This solicitation sets forth the Government’s known delivery requirements for data (as
  defined in the clause at 52.227-14, Rights in Data—General). Any resulting contract may also
  provide the Government the option to order additional data under the Additional Data
  Requirements clause at 52.227-16, if included in the contract. Any data delivered under the
  resulting contract will be subject to the Rights in Data—General clause at 52.227-14 included in
  this contract. Under the latter clause, a Contractor may withhold from delivery data that qualify
  as limited rights data or restricted computer software, and deliver form, fit, and function data
  instead. The latter clause also may be used with its Alternates II and/or III to obtain delivery of
  limited rights data or restricted computer software, marked with limited rights or restricted rights
  notices, as appropriate. In addition, use of Alternate V with this latter clause provides the
  Government the right to inspect such data at the Contractor’s facility.
     (b) By completing the remainder of this paragraph, the offeror represents that it has reviewed
  the requirements for the delivery of technical data or computer software and states [offeror check
  appropriate block]—
        [ ] (1) None of the data proposed for fulfilling the data delivery requirements qualifies as
  limited rights data or restricted computer software; or

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 38 of 110 PageID# 562

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

        [ ] (2) Data proposed for fulfilling the data delivery requirements qualify as limited rights
  data or restricted computer software and are identified as follows:
  ______________________________________________________________________________
  __________________________________________________________________
     (c) Any identification of limited rights data or restricted computer software in the offeror’s
  response is not determinative of the status of the data should a contract be awarded to the offeror.

                                                         (End of provision)

  K.15 FAR 52.230-1                 Cost Accounting Standards Notices and Certification (MAY
           2012)
  Note: This notice does not apply to small businesses or foreign governments. This notice is in
  three parts, identified by Roman numerals I through III.
     Offerors shall examine each part and provide the requested information in order to determine
  Cost Accounting Standards (CAS) requirements applicable to any resultant contract.
     If the offeror is an educational institution, Part II does not apply unless the contemplated
  contract will be subject to full or modified CAS coverage pursuant to 48 CFR 9903.201-2(c)(5)
  or 9903.201-2(c)(6), respectively.
            I. DISCLOSURE STATEMENT—COST ACCOUNTING PRACTICES AND CERTIFICATION
     (a) Any contract in excess of $700,000 resulting from this solicitation will be subject to the
  requirements of the Cost Accounting Standards Board (48 CFR Chapter 99), except for those
  contracts which are exempt as specified in 48 CFR 9903.201-1.
     (b) Any offeror submitting a proposal which, if accepted, will result in a contract subject to the
  requirements of 48 CFR Chapter 99 must, as a condition of contracting, submit a Disclosure
  Statement as required by 48 CFR 9903.202. When required, the Disclosure Statement must be
  submitted as a part of the offeror’s proposal under this solicitation unless the offeror has already
  submitted a Disclosure Statement disclosing the practices used in connection with the pricing of
  this proposal. If an applicable Disclosure Statement has already been submitted, the offeror may
  satisfy the requirement for submission by providing the information requested in paragraph (c) of
  Part I of this provision.
     Caution: In the absence of specific regulations or agreement, a practice disclosed in a
     Disclosure Statement shall not, by virtue of such disclosure, be deemed to be a proper,
     approved, or agreed-to practice for pricing proposals or accumulating and reporting contract
     performance cost data.
     (c) Check the appropriate box below:
        [ ] (1) Certificate of Concurrent Submission of Disclosure Statement. The offeror hereby
  certifies that, as a part of the offer, copies of the Disclosure Statement have been submitted as
  follows: (i) Original and one copy to the cognizant Administrative Contracting Officer (ACO) or
  cognizant Federal agency official authorized to act in that capacity (Federal official), as
  applicable; and (ii) One copy to the cognizant Federal auditor.
     (Disclosure must be on Form No. CASB DS-1 or CASB DS-2, as applicable. Forms may be
     obtained from the cognizant ACO or Federal official and/or from the loose-leaf version of
     the Federal Acquisition Regulation.)



  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   37
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 39 of 110 PageID# 563

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

     Date of Disclosure Statement: _________________________
     Name and Address of Cognizant ACO or Federal Official Where Filed:
     _______________________________________
     The offeror further certifies that the practices used in estimating costs in pricing this proposal
  are consistent with the cost accounting practices disclosed in the Disclosure Statement.
        [ ] (2) Certificate of Previously Submitted Disclosure Statement. The offeror hereby
  certifies that the required Disclosure Statement was filed as follows:
     Date of Disclosure Statement: _________________________
     Name and Address of Cognizant ACO or Federal Official Where Filed:
     _______________________________________
     The offeror further certifies that the practices used in estimating costs in pricing this proposal
  are consistent with the cost accounting practices disclosed in the applicable Disclosure
  Statement.
        [ ] (3) Certificate of Monetary Exemption. The offeror hereby certifies that the offeror,
  together with all divisions, subsidiaries, and affiliates under common control, did not receive net
  awards of negotiated prime contracts and subcontracts subject to CAS totaling $50 million or
  more in the cost accounting period immediately preceding the period in which this proposal was
  submitted. The offeror further certifies that if such status changes before an award resulting from
  this proposal, the offeror will advise the Contracting Officer immediately.
        [ ] (4) Certificate of Interim Exemption. The offeror hereby certifies that (i) the offeror first
  exceeded the monetary exemption for disclosure, as defined in (3) of this subsection, in the cost
  accounting period immediately preceding the period in which this offer was submitted and (ii) in
  accordance with 48 CFR 9903.202-1, the offeror is not yet required to submit a Disclosure
  Statement. The offeror further certifies that if an award resulting from this proposal has not been
  made within 90 days after the end of that period, the offeror will immediately submit a revised
  certificate to the Contracting Officer, in the form specified under paragraph (c)(1) or (c)(2) of
  Part I of this provision, as appropriate, to verify submission of a completed Disclosure
  Statement.
     Caution: Offerors currently required to disclose because they were awarded a CAS-covered
     prime contract or subcontract of $50 million or more in the current cost accounting period
     may not claim this exemption (4). Further, the exemption applies only in connection with
     proposals submitted before expiration of the 90-day period following the cost accounting
     period in which the monetary exemption was exceeded.
        II. COST ACCOUNTING STANDARDS—ELIGIBILITY FOR MODIFIED CONTRACT COVERAGE
     If the offeror is eligible to use the modified provisions of 48 CFR 9903.201-2(b) and elects to
  do so, the offeror shall indicate by checking the box below. Checking the box below shall mean
  that the resultant contract is subject to the Disclosure and Consistency of Cost Accounting
  Practices clause in lieu of the Cost Accounting Standards clause.
     o The offeror hereby claims an exemption from the Cost Accounting Standards clause under
     the provisions of 48 CFR 9903.201-2(b) and certifies that the offeror is eligible for use of
     the Disclosure and Consistency of Cost Accounting Practices clause because during the cost
     accounting period immediately preceding the period in which this proposal was submitted,
     the offeror received less than $50 million in awards of CAS-covered prime contracts and
     subcontracts. The offeror further certifies that if such status changes before an award
     resulting from this proposal, the offeror will advise the Contracting Officer immediately.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   38
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 40 of 110 PageID# 564

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

     Caution: An offeror may not claim the above eligibility for modified contract coverage if
     this proposal is expected to result in the award of a CAS-covered contract of $50 million or
     more or if, during its current cost accounting period, the offeror has been awarded a single
     CAS-covered prime contract or subcontract of $50 million or more.
        III. ADDITIONAL COST ACCOUNTING STANDARDS APPLICABLE TO EXISTING CONTRACTS
     The offeror shall indicate below whether award of the contemplated contract would, in
  accordance with paragraph (a)(3) of the Cost Accounting Standards clause, require a change in
  established cost accounting practices affecting existing contracts and subcontracts.
                                                o Yes o No
                                                         (End of provision)

  K.16 FAR 52.230-7                              Proposal Disclosure — Cost Accounting Practice Changes
       (APR 2005)

     The offeror shall check “yes” below if the contract award will result in a required or unilateral
  change in cost accounting practice, including unilateral changes requested to be desirable
  changes.
                                              o Yes o No
     If the offeror checked “Yes” above, the offeror shall—
        (1) Prepare the price proposal in response to the solicitation using the changed practice for
  the period of performance for which the practice will be used; and
        (2) Submit a description of the changed cost accounting practice to the Contracting Officer
  and the Cognizant Federal Agency Official as pricing support for the proposal.
                                            (End of provision)

  K.17 AGAR FAR SUP 452.204-70                                       Inquiries (FEB 1988)

  Inquiries and all correspondence concerning this solicitation should be submitted in writing to
  the Contracting Officer. Offerors should contact only the Contracting Officer issuing the
  solicitation about any aspect of this requirement prior to contract award.

  Contracting Officer:
  Mr. Jason M. King
  703-605-5309
  jasonmking@fs.fed.us
  1400 Independence Avenue; SW
  Mail Stop 1138
  Washington, DC 20250
                                                         (End of provision)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   39
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 41 of 110 PageID# 565

                                                        Section K
                                            Representations and Certifications
                                                 R1S Support Services

  K.18 AGAR FAR SUP 452.215-72                                        Amendments to Proposals (FEB 1988)

  Any changes to a proposal made by the offeror after its initial submittal shall be accomplished by
  replacement pages. Changes from the original page shall be indicated on the outside margin by
  vertical lines adjacent to the change. The offeror shall include the date of the amendment on the
  lower right corner of the changed pages.

  K.19 AGAR 452.209-70           Representation by Corporations Regarding an Unpaid
  Delinquent Tax Liability or a Felony Conviction (Deviation 2012-01) (FEB 2012)

  (Contractor is required to fill out this form and return with any quote submitted for this
  solicitation)
  Alternate 1 (Feb 2012). The Contracting Officer shall use this alternate for all Forest Service
  solicitations above the micro-purchase threshold:
  (a.) Awards made under this solicitation are subject to the provisions contained in section 433
  and 434 in the Consolidated Appropriations Act, 2012 (P.L. No. 112-74), Division E, as
  amended and/or subsequently enacted, regarding corporate felony convictions and corporate
  federal tax delinquencies. To comply with these provisions, all offerors must complete paragraph
  (1) of this representation, and all corporate offerors also must complete paragraphs (2) and (3) of
  this representation.
   (b) The Offeror represents that –
   (1) The Offeror is [ ], is not [ ] (check one) an entity that has filed articles of incorporation in
  one of the fifty states, the District of Columbia, or the various territories of the United States
  including American Samoa, Federated States of Micronesia, Guam, Midway Islands, Northern
  Mariana Islands, Puerto Rico, Republic of Palau, Republic of the Marshall Islands, U.S. Virgin
  Islands. (Note that this includes both for-profit and non-profit organizations.) If the Offeror
  checked “is” above, the Offeror must complete paragraphs (2) and (3) of the representation. If
  Offeror checked “is not” above, Offeror may leave the remainder of the representation blank.
  (2) (i) The Offeror has [ ], has not [ ] (check one) been convicted of a felony criminal violation
  under Federal or State law in the 24 months preceding the date of offer. (ii) Offeror has [ ], has
  not [ ] (check one) had any officer or agent of Offeror convicted of a felony criminal violation
  for actions taken on behalf of Offeror under Federal law in the 24 months preceding the date of
  offer.
  (3) The Offeror does [ ], does not [ ] (check one) have any unpaid Federal tax liability that has
  been assessed, for which all judicial and administrative remedies have been exhausted or have
  lapsed, and that is not being paid in a timely manner pursuant to an agreement with the authority
  responsible for collecting the tax liability.
  Name of Company:_____________________________________________
  Name of Company Representative: ________________________________
  Signature of Representative: ______________________________________
  Date: ________________________________________________________
                                             (End of Provision)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   40
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 42 of 110 PageID# 566

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services


  L.1       FAR 52.252-2                   Clauses Incorporated By Reference (FEB 1998)

  This solicitation incorporates one or more clauses by reference, with the same force and effect as
  if they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:

                                           https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html


                                                           (End of clause)

  Clause                         Title
  FAR 52.204-6                   Data Universal Numbering System (DUNS) Number (JUL 2013)
  FAR 52.204-7                   System for Award Management (JUL 2013)
  FAR 52.207-1                   Notice of Standard Competition (MAY 2006)
  FAR 52.207-2                   Notice of Streamlined Competition (MAY 2006)
  FAR 52.215-1                   Instructions to Offerors – Competitive Acquisition (JAN 2004)
                                 Alternate 1 (OCT 1997)
  FAR 52.215-16                  Facilities Capital Cost of Money (JUNE 2003)
  FAR 52.215-20                  Requirements for Certified Cost or Pricing Data and Data Other Than
                                 Certified Cost or Pricing Data (OCT 2010)
  FAR 52.215-22                  Limitations on Pass-Through Charges—Identification of Subcontract
                                 Effort (OCT 2009)
  FAR 52.222-24                  Pre-award On-Site Equal Opportunity Compliance Evaluation (FEB 1999)
  FAR 52.222-46                  Evaluation of Compensation for Professional Employees (FEB 1993)
  FAR 52.237-10                  Identification of Uncompensated Overtime (MAR 2015)

                                          Provisions Incorporated in Full Text

  L.2       FAR 52.216-1                   Type of Contract (APR 1984)

  The Government contemplates award of an Indefinite Delivery/Indefinite Quantity (IDIQ)
  contract with Firm Fixed Unit Prices resulting from this solicitation.

                                                        (End of Provision)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2| 2015 08 18   41
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 43 of 110 PageID# 567

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

  L.3       FAR 52.233-2                   Service of Protest (SEP 2006)

  (a) Protests, as defined in section 33.101 of the Federal Acquisition Regulation, that are filed
  directly with an agency, and copies of any protests that are filed with the General Accountability
  Office (GAO), shall be served on the Contracting Officer (addressed as follows) by obtaining
  written and dated acknowledgment of receipt from:

  Mr. Jason M. King, Contracting Officer
  The United States Department of Agriculture
  US Forest Service
  Acquisition Management Operations (WO)
  1400 Independence Avenue; SW
  Mail Stop 1138
  Washington, DC 20250

  Or

  Email: Jasonmking@fs.fed.us

  (b) The copy of any protest shall be received in the office designated above within one day of
  filing a protest with the GAO.

                                                         (End of Provision)

  L.4       FAR 52.252-1                   Solicitation Provisions Incorporated by Reference (FEB 1998)

  This solicitation incorporates one or more solicitation provisions by reference, with the same
  force and effect as if they were given in full text. Upon request, the Contracting Officer will
  make their full text available. The Offeror is cautioned that the listed provisions may include
  blocks that must be completed by the Offerors and submitted with its quotation or offer. In lieu
  of submitting the full text of those provisions, the Offerors may identify the provision by
  paragraph identifier and provide the appropriate information with its quotation or offer. Also,
  the full text of a solicitation provision may be accessed electronically at these addresses:

                                            https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html

                                                         (End of provision)




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   42
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 44 of 110 PageID# 568

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

  L.5       FAR 52.252-5              Authorized Deviations in Provisions (Apr 1984)

  (a) The use in any solicitation of any Federal Acquisition Regulation (48 CFR Chapter 1)
  Provision with an authorized deviation is indicated by the addition of “(DEVIATION)” after the
  date of the provision.

                                                         (End of provision)

  L.6       Notice to Offerors

  Offeror’s proposal must demonstrate the Offeror’s ability to provide the full range of services
  and solutions within their proposal, meet the appropriate requirements criteria, and represent the
  Best Value to the Government.

  L.7       Contractor Selection

  Selection of a Contractor will be based on a best value determination consistent with the
  evaluation factors described in Section M, Evaluation Factors for Award. Pursuant to the
  provisions of the Clause at FAR 52.215-1, Instructions to Offerors – Competitive Acquisition, to
  the degree that negotiations are required, the Government intends to negotiate with all
  responsible Offerors whose proposals are determined to be within the competitive range. In
  accordance with FAR 15.306, Exchanges with Offerors after Receipt of Proposals, limited
  communication may be conducted with Offerors for the purpose of establishing the competitive
  range (and only those Offerors determined to be the most competitive shall be considered within
  the competitive range). Offerors in the competitive range will be scheduled to present their
  integrated solution. Those Offerors outside of the competitive range, if established, will not be
  permitted to continue in the procurement and will be notified in writing.

  L.8       Debriefing

  The Contracting Officer will promptly notify Offerors of any decision to exclude them from the
  competitive range, whereupon they may request and receive a debriefing in accordance with
  FAR 15.505, Pre-award Debriefing of Offerors. The Contracting Officer will notify
  unsuccessful Offerors in the competitive range of the source selection decision, whereupon they
  may request and receive a debriefing in accordance with FAR 15.506, Post award Debriefing of
  Offerors. Debriefings shall be requested within three (3) days after receipt of notification.

  L.9       Due Diligence Session

  Prime contractors and their proposed team mates and subcontractors intending to submit a
  proposal will be given the opportunity to conduct due diligence and meet with R1S PMO
  representatives. The Due Diligence process allows prospective contractors to gain a better
  understanding of R1S mission objectives, existing conditions, and needs as they relate to the
  offeror’s proposed solution.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   43
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 45 of 110 PageID# 569

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

  On August 10-13, 2015, the R1S PMO will conduct individual, 3-hour, Due Diligence sessions
  in Golden, CO, at the American Mountaineering Center, 710 10th Street, Golden, CO 80401.
  Confirming prime contractors and their proposed team mates and subcontractors will meet one-
  on-one with R1S representatives to allow Offerors to obtain and clarify information without
  disclosing proprietary or business confidential information to competitors. These sessions are
  not intended to be used as sales presentations.

  If you would like to attend the Due Diligence session, either in-person or via teleconference, e-
  mail Jasonmking@FS.FED.US by August 5, 2015 at 4:00pm. Note, the Due Diligence session
  will include the prime contractor and, at the prime contractors discretion, their proposed team
  mates and subcontractors. Team mates and subcontractors are discouraged from registering
  individually. If you dial-in, please provide a phone number for the PMO to call for the due
  diligence session. Late registrations may be considered based on availability, but are not
  guaranteed. The confirmation will include the following information to enable the Government
  to effectively coordinate due diligence events: The contractor's due diligence point of contact
  (name, cell phone number and e-mail address); a roster of attendees for the due diligence event;
  key areas of interest; and any additional information the contractor deems necessary (e.g.,
  handicap access requirements). Due to space considerations, contractors participating in due
  diligence sessions are limited to six participants.

  The due diligence process will follow the principles identified by Federal Acquisition Regulation
  (FAR) Part 15.201, Exchanges With Industry Before Receipt of Proposals. Specifically, during
  one-on-one sessions, a major objective of the Due Diligence process is to provide participating
  contractors the ability to ask questions that by their very nature they would not ask if the
  response would be posted and provided to their competition. All questions asked during the one-
  on-one sessions are considered proprietary and whose release would identify confidential
  business strategies, or approaches, the questions and responses will be protected and held
  confidential. Requests for clarification that result in specific non-proprietary information
  necessary to submit proposals will be provided to all potential Offerors. The Government will
  provide potential Offerors equal access to data and information. The Government assumes no
  responsibility for any representation made by any of its employees or agents during due
  diligence.

  L.10      RFP Clarifications, Questions, and Amendments

  The point of contact for this acquisition is the Recreation One Stop Support Services Contracting
  Officer, Mr. Jason King. As the Contracting Officer, Mr. King is the sole point of contact for
  this acquisition.

  In order to seek any necessary clarifications to this RFP, questions may be submitted to the
  Contracting Officer on the attached "Q&A form" via email: jasonmking@fs.fed.us no later than
  27 Jul 2015 at 4:00 PM Eastern Time. All questions should include the RFP Section,
  Paragraph Number, and Page Number. Whenever possible, the Contracting Officer will reshape
  the questions received to allow a response to all Offerors without incorporating information that
  reveals the identity of individual potential Offerors. Any questions received marked

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   44
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 46 of 110 PageID# 570

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

  “proprietary” will not be released if the Contracting Officer determines questions are qualified as
  “proprietary”. Questions that are received that are “proprietary” will be answered directly. Any
  answers to the questions received that change the solicitation will result in an amendment to the
  solicitation. Amendments, should they be required, will be released via
  http://www.fedbizopps.gov.

  Questions received after the above cutoff date and time may not be answered. Submission of
  questions and any resulting answers from the Government will not require the Contracting
  Officer to extend the solicitation closing date. Proposals not submitted in accordance with the
  Proposal Preparation Instructions of this solicitation may be eliminated from further competition.

  L.11      Proposal and Past Performance Survey Due Dates

  Offerors shall submit Volumes I and IV of their proposal no later than 4:00 PM Eastern Time
  on 17 September 2015. Offerors shall submit Volume III of their proposal no later than 12:00
  noon, Eastern Time on 28 August 2015. Offeror’s references must submit Past Performance
  Questionnaires directly to the Government via email: jasonmking@fs.fed.us, no later than
  12:00 noon, Eastern Time on 28 August 2015. The subject line in the submission e-mail shall
  clearly indicate: “Recreation One Stop Past Performance for [fill in name of offeror],”and the
  message shall originate from the reference’s government or commercial e-mail system. Offerors
  must use the Past Performance Questionnaire form provided in Section J.

  Proposals will be received at the following address:

  For Federal Express and UPS:
  Attn: Mr. Jason M. King, Contracting Officer
  The United States Department of Agriculture
  US Forest Service
  Acquisition Management Operations (WO)
  Ref: Solicitation #AG-3187-S-15-1000
  1400 Independence Avenue; SW
  Mail Stop 1138
  Washington, DC 20250

  Note that delivery of the proposal to this address must be hand delivered or by Express Delivery
  Service; the US Postal Service does not deliver to this address.

   It is the Offeror’s responsibility to ensure that proposals are delivered by the due date and time
   required. The required number of copies of the proposal must be received by the Contracting
   Officer at the Forest Service no later than 4:00 PM on the required submission date. No changes
   or additions to a volume will be permitted after this date, except as provided under clarifications
   of proposals or discussions, if necessary. An Offeror that fails to meet any due date will be
   considered “late” in accordance with FAR 52.215-1, Instructions to Offerors – Competitive
   Acquisition.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   45
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 47 of 110 PageID# 571

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

  L.12      Proposal Acceptance and Validity Dates

  The Offeror shall hold its proposal and prices firm for at least 270 calendar days from the date
  specified for receipt of proposals.

  L.13      Disposition of Proposals

  In accordance with FAR 4.8 (Government Contract Files), the Government will retain one copy
  of all unsuccessful proposals. The Government will destroy extra copies of such unsuccessful
  proposals.

  L.14      Electronic Reference Documents

  All referenced documents for this solicitation are available on the Federal Business
  Opportunities (FedBizOpps) website at http://www.fedbizopps.gov. Potential Offerors are
  encouraged to subscribe for real-time e-mail updates.

  L.15      Proposal Preparation Instructions – General

  This section provides general guidance for preparing proposals and proposal revisions, as well
  specific instructions on the format and content of the proposal.

            L.15.1          Compliance with Instructions

            It is the Offeror’s responsibility to ensure its proposal meets all requirements as stated in
            the solicitation. The Offeror’s proposal must include all data and information requested
            by the instructions and must be submitted in accordance with these instructions. Non-
            conformance with the instructions may result in being eliminated from further
            competition. Any exceptions to the solicitation’s terms and conditions must be fully
            explained and justified. Alternative proposals will not be accepted or evaluated.

            Non-conformance with this requirement shall result in the Offeror being eliminated from
            further competition.

            L.15.2          Include Necessary and Sufficient Detail

            The proposal shall be clear, concise, and shall include necessary and sufficient detail for
            effective evaluation and for substantiating the validity of stated claims. The proposal
            should not simply rephrase or restate the Government’s requirements, but rather shall
            provide convincing rationale to address how the Offeror intends to meet these
            requirements. Statements such as “the Offeror understands,” “the Offeror has a long
            history of outstanding support,” along with responses that paraphrase the solicitation, are
            considered inadequate. Phrases such as “standard procedures shall be employed” or “well
            known techniques shall be used,” without a specific Government or industry reference,
            shall be considered inadequate and unsatisfactory.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   46
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 48 of 110 PageID# 572

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            L.15.3          Proposal Organization/Number of Copies/Page Limits

            The Offeror shall submit the proposal as set forth in Table entitled “Proposal
            Organization”, below. The titles and contents of the volumes shall be defined in this
            table, all of which shall be within the required page limits and with the number of copies
            as specified in the Table.

  L.16      Proposal Organization

            The following information applies to the Offeror’s proposal organization:




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   47
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 49 of 110 PageID# 573

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

                                               Table: Proposal Organization
                                                                                          Copies
   Proposal                                                                   Page      (1 original
                                                  Tab Title
     Tab                                                                      Limit   hardcopy and 6
                                                                                       USB Drives)
                                Volume I: Technical Approach
     Tab A    Cover / Transmittal Letter                         5
     Tab B    Master Table of Contents                           2
     Tab C    Executive Summary                                  2
              Technical Approach:                                100
                  1. Phase-in and Start up Support Services
                  2. Operations and Customer Support Services
                  3. Public Interface Support Services
    Tab D
                  4. Reservations and Other Recreation Related
                     Services
                  5. Telecommunications Support Services
                  6. Program Management Support Services
    Tab E     Draft Marketing Plan                               No
              Draft Quality Control Plan                         Limit
   Volume II: Integrated Solution (To be submitted only if Offeror is determined to be in the
                                       competitive range.)
                  A. Integrated Solution
                  B. Technical Solution Architecture and         No
    Tab A
                     Development Approach                        Limit

   Volume III: Past Performance (To be submitted by the Offeror by 28 August 2015 at 12:00
                                         Noon, local time.)
    Tab A      Table of Contents                                  1
                                                                  No
    Tab B      Past Performance References
                                                                  Limit
               Past Performance Surveys (Completed Section A      No
    Tab C
               and Section B, Part I)                             Limit
               Certification Statement (If no past performance is No
    Tab D
               applicable)                                        Limit
                                         Volume IV: Price
    Tab A      Table of Contents                                  1
                                                                  No
    Tab B      SF33
                                                                  Limit
                                                                  No
    Tab C      Schedule B, Bid Schedule
                                                                  Limit
                                                                  No
    Tab D      Narrative Summary, Assumptions and Exceptions
                                                                  Limit
                                                                  No
     Tab E     Subcontracting Plan (Large Businesses Only)
                                                                  Limit

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   48
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 50 of 110 PageID# 574

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            L.16.1          Page Limits

            Page limits shall be treated as maximums. Page limitations apply to the proposal
            narrative and all supporting information, including attachments, unless the supporting
            information is explicitly exempted from page limitations in the table above. If exceeded,
            the excess pages shall not be read or considered in the evaluation of the proposal.

            L.16.2          Pricing Information

            All cost or pricing information shall be addressed ONLY in the Price Approach Volume.
            Cost trade-off information, work-hour estimates and material kinds and quantities may be
            used by the Government in other volumes only as appropriate for presenting rationale for
            trade-off decisions.

            L.16.3           Cross Referencing

            Proposals shall completely address the required information in the order in which it
            appears in this section. To the greatest extent possible, each volume shall be written on a
            stand-alone basis so that its contents may be evaluated with a minimum of cross-
            referencing to other volumes of the proposal. Information required for proposal
            evaluation, which is not found in its designated volume, will be assumed to have been
            omitted from the proposal. Illustrations, calculations and schematic documentation may
            be included to further explain the proposal. If the same supporting documentation is
            required in more than one place within a single Volume, the proposal may reference the
            supporting documentation in the discussion. If more than one Volume requires
            submission of the same documentation, the proposal must include the information in each
            Volume.

            L.16.4          Indexing

            Each volume shall contain a detailed table of contents to delineate the subparagraphs
            within that volume. Tab indexing shall be used to identify sections. Pages shall be
            individually, sequentially and uniquely numbered.

            L.16.5          Page Size and Format

            A page is defined as each face of a sheet of paper containing information. When both
            sides of a sheet display printed material, it shall be counted as two pages. Page size shall
            be 8.5 x 11 inches, not including foldouts. Pages shall be single-spaced. Except for the
            reproduced sections of the solicitation document, the text size shall be no less than 12
            point, Times New Roman font. For graphics, tables, and illustrations, the offeror may use
            any legible font. Tracking, kerning, and leading values shall not be changed from the
            default values of the word processing or page layout software. Use at least 1-inch
            margins on the top and bottom and ¾ inch side margins. Pages shall be numbered
            sequentially by volume. These page format restrictions shall also apply to responses to

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   49
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 51 of 110 PageID# 575

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            Evaluation Notices (ENs).
            Legible tables, charts, graphs and figures shall be used wherever practical to depict
            organizations, systems and layout, implementation schedules, plans, etc. These displays
            shall be uncomplicated, legible and shall not exceed 11 x 17 inch in size. Foldout pages
            shall fold entirely within the volume (i.e., to 8.5 x 11 inches when folded). Foldout pages
            may only be used for large tables, charts, graphs, diagrams and schematics; not for pages
            of text. For tables, charts, graphs and figures, the text shall be no smaller than 8 point.

            L.16.7          Electronic Copies

            Each Offeror shall submit an electronic copy of their proposal, organized by Volume
            Contents. For electronic copies; submit the proposal on Microsoft Windows Operating
            System-compatible, virus-free Universal Serial Bus (USB), in editable Microsoft Office
            2010 applications. The Offeror’s redacted proposal may be submitted as a .pdf file using
            Adobe redaction software. If files are compressed, the necessary decompression program
            must be included. The Offeror’s entire proposal shall be incorporated onto one (1) USB
            drive. The Offeror shall submit five (5) separate USB drives, each containing one (1)
            complete copy of the Offeror’s proposal. The Offeror shall submit one (1) additional
            USB drive (for a total of 6) that shall include one (1) complete redacted copy of the
            Offeror’s proposal. The redacted copy of the offeror’s proposal shall be void of any and
            all proprietary information and shall be approved for release to the general public which
            may include competitor contractors. Past performance surveys will be redacted by the
            Government as appropriate. Each file located on the USB drive shall be properly labeled
            as follows:

            Offeror’s Name – Solicitation Number–Document Volume Number and Title

            Use separate files to permit rapid location of all items, including exhibits, annexes and
            attachments, if any. The paper and electronic copies shall be identical in all respects. The
            paper copy shall be the precedent if there are discrepancies between copies.

            L.16.8          Paper Copies

            Each Offeror shall submit one (1) original hard copy of their proposal.

            Binding and Labeling

            Each volume of the proposal shall be separately bound in a three-ring loose-leaf binder,
            which shall permit the volume to lie flat when open. Staples shall not be used. A cover
            sheet shall cover each book, clearly marked as to volume title, solicitation identification,
            the Offeror’s name, point of contact information, DUNS number, and cage code. The
            Offeror’s name, solicitation number, and volume number shall be included on the spine
            of each binder. Each page shall identify the submitting Offeror in the header or footer.
            This program is unclassified. No classified data shall be submitted as part of the

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   50
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 52 of 110 PageID# 576

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            Offeror’s proposal. Be sure to apply all appropriate markings including those prescribed
            in accordance with FAR 52.215-1(e), Restriction on Disclosure and Use of Data and
            3.104-4, Disclosure, Protection, and Marking of Contractor Bid or Proposal Information
            and Source Selection Information.

            L.16.9          Proposal Revisions

            If the Government requests revised proposals, Offerors shall submit changes in
            accordance with the following:

            (1)Proposal revisions shall be submitted as one (1) original paper copy and six (6)
            electronic copies on USBs.
            (2) Any changes to a proposal made by the offeror after its initial submittal shall be
            accomplished by replacement pages. Changes from the original page shall be indicated
            on the outside margin by vertical lines adjacent to the change. The offeror shall include
            the date of the amendment on the lower right corner of the changed pages. See provision
            K.18.

            (3)Proposal revision page limitations will be identified at time of request for
            clarifications.

  L.17      Proposal Preparation Instructions – Volume I: Technical Approach

            L.17.1          Tab A – Cover / Transmittal Letter.

            The Offeror shall formally transmit the proposal and state in general terms how the
            Offeror meets the solicitation requirements. Include a concise narrative summary of the
            entire proposal, including significant risks, and a highlight of any key or unique features,
            excluding cost/price. The salient features should tie in with Section M evaluation
            factors/sub factors. Any summary material presented here shall not be considered as
            meeting the requirements for any portions of other volumes of the proposal.

            L.17.2          Tab B –Master Table of Contents.

            The Offeror shall include a master table of contents of the entire proposal.

            L.17.3          Tab C –Executive Summary.

            In the Executive Summary, the Offeror shall briefly tell the Government about its
            company.

            L.17.4          Tab D – Technical Approach.

            The Offeror shall demonstrate knowledge, understanding, and technical ability to
            perform all aspects of the Recreation One Stop Support Services requirements in Section

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   51
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 53 of 110 PageID# 577

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            C, Performance Work Statement, to include identification of key technical aspects of the
            tasks (risks, special requirements, assumptions) that may impact the proposed solution
            to, or success of the requirement as well as provide delineation of the team composition
            proposed to accomplish task objectives and rationale thereof.

            The Offeror shall address their ability to provide:
              A. Phase-in and Start up Support Services
              B. Operations and Customer Support Services
              C. Public Interface Support Services
              D. Reservations and Other Recreation Related Services
              E. Telecommunications Support Services
              F. Program Management Support Services

            L.17.4.1 Phase-in and Start up Support Services

            The Offeror shall demonstrate:
                    a. How they will achieve “Go-Live” including implementation of the “Basic
                         System Requirements” in the attachment “Basic System Requirements”.
                    b. Agile software development methodology and propose a “Definition of
                         Done”.
                    c. How their proposed solution considers the long-term objectives of the R1S
                         program.
                    d. Approach to End-user involvement to secure customer input regarding the
                         design, features, capabilities and functionality which would be desirable and
                         to set development priorities within Product Roadmap.
                    e. Comprehensive end-user training for approximately 30 personnel per year
                         for the systems, tools, processes and techniques for the success of the
                         program. Include a methodology to provide successful initial startup training
                         for all internal R1S end users as appropriate.
                    f. Ability to provide Test and Evaluation (T&E) support in all phases of the
                         Agile development process, preparation of test plans and procedures, design
                         tests cases, conduct tests, witness tests and provide technical support,
                         coordinate test plans in accordance with appropriate regulations, and
                         analyze/evaluate/document test results.

            L.17.4.2 Operations and Customer Support Services

            The Offeror shall discuss:
                    a. Their ability to implement the Agile software development methodology to
                         deliver Operations and Maintenance, Ongoing Design Support, Customer
                         Support, Training, and advanced functionality.
                    b. Their proposed disaster recovery and continuity of operations services.

            L.17.4.3 Public Interface Support Services


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   52
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 54 of 110 PageID# 578

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            The Offeror shall:
                    a. Describe their approach for facilitating third party sales and affiliate strategy
                         to meet R1S objectives of increasing reservations and making it easy for
                         users to initiate and complete transactions that start from a variety of third
                         party applications, websites or services.
                    b. The contractor shall propose a fee structure applicable only to high volume
                         data consumers. Such a fee structure shall be enforced through an
                         agreement directly between the Contractor and the data consumer and shall
                         be consistent with industry best practices and established market
                         pricing. Should the contractor opt to propose such a fee structure, their
                         proposal shall clearly state the applicable rates and details of the proposed
                         fee structure.
                    c. Discuss their overall vision for marketing Recreation One Stop to raise
                         awareness for recreation across all federal lands and waterways. The
                         Offeror’s marketing plan shall identify how they will achieve the goals
                         listed in PWS Section 5.3.3. while using the most effective and current
                         marketing tactics. The Offeror’s marketing plan is not included in the page
                         count for the Offeror’s technical approach volume.

            L.17.4.4        Reservations and Other Recreation Related Services

            The Offeror shall demonstrate their understanding and capability to:
                      a. Provide a reservation service that provides Contractor staff and end-users
                          easy access to information about reservable inventory and a simple, clear
                          and intuitive process for planning trips and making reservations.
                          Reservation services include, but are not limited to camping, ticketing,
                          lotteries, permitting, day use and group facilities, special events,
                          equipment rentals, pass sales, non-fee facilities, low-fee facilities,
                          mapping, and search. See attachment, “Basic System Requirements.”
                      b. Provide a user experience that will enhance, attract and retain customers,
                          increase conversions, and be consistent with customer expectations of
                          leading websites.
                      c. Provide advanced comprehensive travel planning and mapping services,
                          including Point-To-Point Itinerary planning, throughout the entire end-to-
                          end recreation experience envisioned for users.
                      d. Provide all necessary staffing and support to incorporate the addition or
                          deletion of new inventory in a timely manner.
                      e. Provide accurate, timely, cost-effective, and reliable customer support
                          including planning, making, changing, and cancelling reservations, agent
                          training, applying closures, and troubleshooting, for both internal
                          (approximately 5,000) and external users, meeting or exceeding the
                          industry standards.
                      f. Support the incorporation of all existing business rules, and the
                          development of new business rules as needed for new implementations
                          and existing programs, for each facility or activity.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   53
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 55 of 110 PageID# 579

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

                      g. Provide real-time sales and reservation services and support all types of
                          field operations. The solution shall provide all necessary functions to
                          process accurate financial transactions with associated reporting.
                          Whenever possible, ensure that software can be deployed on a variety of
                          commodity hardware types.
            L.17.4.5 Telecommunications Support Services

            The Offeror shall demonstrate their understanding and capability to:
                    a. Provide telecommunication and commercial data services to all sites and
                         remote geographic areas that require access to the reservation system.

            L.17.4.6 Program Management Support Services

            The Offeror shall:
                    a. Demonstrate their understanding and capability to provide program
                         management support services including, but not limited to, all resources,
                         corporate support, personnel, technologies, suppliers, and cost efficiencies.
                    b. The Offeror shall include the qualifications of the proposed Key Personnel.
                         Resumes are not required to be submitted.
                    c. Provide a comprehensive quality control plan including the PRS. Offerors
                         shall describe the QC and Performance Measurement approach, including
                         how proposed performance standards will be monitored, evaluated, and
                         reported. The purpose of the QCP is to provide evaluators with an
                         understanding of how measures and metrics will be applied based on the
                         proposed technical solution. The QCP is not included in the technical
                         approach volume page count.
                    d. Discuss their ability to provide accurate system reports, implementing a
                         robust, flexible and reliable Enterprise Reporting System, which has the
                         capability for Internal Users to generate, print and save accurate system
                         reports throughout the day on a recurring and on-demand basis.
                    e. Describe their capability and approach to provide advanced data analytics to
                         improve overall customer service and management decision making.
                    f. Describe their capability and approach to reconcile all financial transactions,
                         ensure the accurate distribution of funds, and ensure the ongoing
                         implementation of emerging payment technologies and methods.

             L.17.5 Technical Assumptions, Conditions, or Exceptions

             All assumptions shall be evaluated as part of the individual factor or sub factor to which
             they apply. The Government reserves the right to reject any proposals that include any
             assumption(s) that impact satisfying the Government’s requirements.

             Contractors are strongly encouraged to submit questions to the Contracting Officer in
             accordance with section L.10 regarding ambiguities, in lieu of making assumptions,
             conditions, or exceptions.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   54
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 56 of 110 PageID# 580

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services


  L.18      Proposal Preparation Instructions – Volume II: Integrated Solution Approach. (To
            be submitted only if Offeror is determined to be in the competitive range.)

            The opportunity to present an integrated solution presentation is a valuable part of the
            evaluation process that will be given similar thought and consideration as provided to the
            written proposal. This format allows the Government to observe aspects of the Offeror’s
            proposed solution that cannot otherwise be conveyed in a written response. The
            Offeror’s proposed delivery team will be required to present the Offeror’s integrated
            solution. By conducting an interchange with the team that will be doing the actual work,
            the Government can distinguish between staff who execute versus staff who sell. It
            gives the potential vendor a chance to explain their vision, and it gives the Government a
            chance to evaluate the team’s ability to collaborate and solve problems. The Integrated
            Solution shall only be required of Offerors who are determined to be within the
            Competitive Range. Offerors shall not submit any Integrated Solution information with
            their initial proposal.

            Discussions

            The Government intends to evaluate proposals and award a contract after conducting
            discussions with offerors whose proposals have been determined to be within the
            competitive range. If the Contracting Officer determines that the number of proposals
            that would otherwise be in the competitive range exceeds the number at which an
            efficient competition can be conducted, the Contracting Officer may limit the number of
            proposals in the competitive range to the greatest number that will permit an efficient
            competition among the most highly rated proposals. Therefore, the offeror's initial
            proposal should contain the offeror's best terms from a price and technical standpoint.

            The Government intends to begin conducting discussions at this time. The offeror shall
            be prepared during their Integrated Solution presentation to discuss all aspects of their
            technical approach, past performance, and price. Following discussions, the offeror will
            be required to submit a final revised proposal in accordance with L.16.8.

            The following timeline shall be strictly applied to the Offeror’s Integrated Solution
            presentation:
                   20 minutes   Setup
                   20 minutes   Introduction
                   120 minutes Presentation
                   30 minutes   Break/Government discussions
                   60 minutes   Scenario Responses
                   120 minutes Questions and Answers and Proposal Discussions

            L.18.1          Tab A – Integrated Solution.

            The offeror shall address the following:

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   55
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 57 of 110 PageID# 581

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services


            A.        Integrated Solution Approach

            The Offeror shall present an integrated solution presentation. The integrated solution
            presentation should reflect the breadth of the entire program to include the technical
            approach and solution for the strategy and branding; marketing and communications;
            PMO and interagency collaboration; and other PWS functions.

            The Offeror shall demonstrate their ability to manage large multi-task Systems
            Development Life Cycles and Technical Solution Implementations in Partnership with
            the Customer.

            B.        Technical Solution Architecture and Agile Development Approach

            The Offeror shall discuss their agile methodology which:

            Satisfies all current and relevant Government and Industry standards for the collection,
            storage and processing of customers’ Personally Identifiable Information (PII) and
            financial, payment and transaction data to include, but not limited to, Payment Card
            Industry (PCI) security standards.

            Maximizes the flexibility of the system to incorporate new features and emerging
            technologies throughout the life-cycle of this contract.

            Provides scalability of the system to accommodate fluctuations in the reservable
            inventory contained in the system, the amount of non-reservable information in the
            system, the number of transactions processed throughout the year and the amount of
            transaction related data stored within the system.

            Provides maximum portability and consistency of all data contained within the system to
            foster and encourage data sharing between recreation.gov and other on-line travel and
            tourism entities, both public and private.

            Incorporates robust design/hardware/software features to maximize system “up-time” and
            availability to both Government and public users and which minimizes the potential for
            loss and/or corruption of any system data.

            Maximizes system processing/throughput capacities thereby accommodating high
            simultaneous usage levels by public customers visiting, researching, planning and
            transacting on the site and Government users managing inventory, generating reports and
            updating site content.

            Additionally, the Offeror shall provide the proposed architecture, release schedule,
            and methodology for development, testing, and deployment.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   56
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 58 of 110 PageID# 582

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            The Government reserves the right to discuss any and all aspects of the offeror’s written
            proposal including technical approach, past performance, and price.

  L.19      Proposal Preparation Instructions – Volume III: Past Performance Approach (To
            be submitted by the Offeror by 28 August 2015 at 12:00 noon, local time.)

            L.19.1          Tab A –Table of Contents.

            The Offeror shall include a table of contents for the Past Performance Volume.

            L.19.2          Tab B –Past Performance References.

            The Offeror shall describe its qualifications and detail its specific past performance
            experience conducting work of the same and/or similar size, scope, and complexity
            described in RFP Section C, Performance Work Statement (PWS). Past performance
            information shall be obtained from any other sources available to the Government.

            The Offeror shall provide up to six (6) different examples of past Government or
            corporate experience information for active or complete “recent and relevant”
            contracts/task orders and/or subcontracts (including Federal, State, and local Government
            or commercial) directly related to the services identified in Paragraph 5, Scope of Work
            of the Performance Work Statement. At least two (2) of the six (6) experiences described
            must be from the Prime Offeror and the remaining experiences shall come from those
            subcontractors performing the predominance of the work, if applicable.

            Recent is defined as any project having at least some portion of its performance occurring
            within the 36 consecutive month period immediately preceding release of this
            solicitation.

            Relevant is defined as work which is the same and/or similar in complexity and scope to
            the work described in Section C, Performance Work Statement.

            The proposal shall include the following:

            A.        For each experience statement, the Offeror shall provide reference information,
                      including, at a minimum:
                      1.     Program, Project or Task Title;
                      2.     Contract Number
                      3.     Customer/Client Organization and address;
                      4.     Customer reference contact, including name, title, mailing address,
                             telephone and fax numbers and email address;
                      5.     Contract pricing type (e.g. fixed price, cost plus award fee);
                      6.     Contract value (original and final/current) and an explanation of cost
                             growth, if applicable; and
                      7.     Contract start and completion dates.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   57
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 59 of 110 PageID# 583

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services


            B.        Project description. The Offeror shall identify the prime or proposed
                      subcontractor that performed the work. The Offeror shall describe the key
                      objectives of the project, including the scope and complexity of the efforts and
                      how the customer benefited operationally or strategically. The Offeror shall
                      describe the applicable prime/member’s role in the project and the challenges and
                      lessons learned from your experience as the prime or subcontractor. The Offeror
                      shall describe the integration of resources (e.g. personnel, tools, applications, etc.)
                      into the customer’s environment.

            C.        Description of Team. The Offeror shall provide a matrix of all proposed
                      subcontractors/team members and the specific areas within the PWS and the areas
                      of scope for which they will be utilized. Offerors shall also provide an
                      approximate percentage of effort, based on overall price, that each
                      subcontractor/team member will contribute to the overall effort. This information
                      will be utilized to determine relevancy for the subcontract references.

                      In addition, the Offeror shall submit a consent letter, executed by each
                      subcontractor, teaming partner, and/or joint venture partner, authorizing release of
                      adverse past performance information to the Offeror, so the Offeror can respond
                      to such information. For each identified effort for a commercial customer, the
                      Offeror shall also submit a client authorization letter, authorizing release to the
                      Government of requested information on the Offeror’s performance.

            L.19.3.         Tab C – Past Performance Surveys.

            Based on the information provided, surveys will be issued to the references identified by
            the Offerors. The SSET will evaluate the Offeror’s past performance based upon its
            relevancy and recency as well as the responses received from past performance surveys.
            The Offeror shall also be responsible for ensuring that each of the customer references
            receives, completes, and returns the past performance survey (attached, "Past
            Performance Survey") to the Contracting Officer. The completed survey shall be
            submitted directly via email from the customer reference to jasonmking@fs.fed.us by the
            due date. The “subject” line in the submission email shall clearly indicate “Recreation
            One Stop Past Performance for [fill in name of Offeror],” and the message shall originate
            from the reference’s corporate or Government email system.

            Past performance information shall not be limited to the past performance surveys and
            may be obtained from any other sources available to the Government.

            L.19.4          Tab D – Certification Statement.

            The Offeror shall provide a Certification Statement only if past performance is not
            applicable. An Offeror with no relevant past performance to cite will receive a neutral
            rating, i.e., the rating will not add to or detract from the Offeror’s Past Performance

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   58
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 60 of 110 PageID# 584

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            rating. If the Offeror has no past performance, the Offeror shall submit a certification
            statement indicating the Offeror has no past performance. The certification statement
            shall be clearly marked with the solicitation number and accompanied with the proposal.

  L.20      Proposal Preparation Instructions – Volume IV: Price

            The Contractor’s total price will include phase-in, the base period, and all option periods
            (award terms). The Government will evaluate the Contractor’s pricing based on total
            overall price for phase-in, the base period, and all option periods (award terms). The total
            as defined above shall form the basis for the Government’s Best Value tradeoff analysis.
            See FAR 52.217-5.

            General

            The Price proposal must be a self-contained document not relying on any other volumes
            for reference by the government evaluation team. Where sections from other volumes
            must be duplicated in the price volume Offeror shall ensure the sections are the same in
            both volumes. Offeror submittals shall comply with all of the pertinent instructions for
            the preparation of a Price Volume as contained herein.

            The price proposal must be mathematically correct and all parts must be numerically
            consistent.

            In accordance with FAR 15.403-1 (b) (1), the Contracting Officer expects adequate price
            competition. Therefore, as stated in FAR 52.215-20, Requirements for Certified Cost or
            Pricing Data or Data Other Than Cost and Pricing Data (Alt IV), submission of certified
            cost or pricing data with the proposal is not required. However, the government reserves
            the right to require the submission of certified cost or pricing data if the Contracting
            Officer later determines that none of the exceptions listed at FAR 15.403-1(b),
            Prohibition on Obtaining Cost or Pricing Data, apply.

            Other than certified cost or pricing data is required for the Contracting Officer to
            determine realism, completeness, and reasonableness. The purpose of this analysis is to
            determine that the Offeror fully understands the requirements of the solicitation and has
            the ability and capacity to successfully perform the contract at the offered price. It is the
            responsibility of the Offeror to provide convincing evidence supporting this conclusion.
            Therefore, the information requested herein is required from the Offerors, as applicable.

            Offerors shall make every effort possible to propose pricing consistent with the format
            provided in Section B of this solicitation. Should an Offeror choose to add additional
            SUBCLINS to their price proposal for CLIN X006, Telecommunications, the Offeror
            shall provide detailed rationale to support the additions.

            This solicitation does not commit the Government to pay for any costs incurred in the
            preparation or submission of any proposal in response to this solicitation. The CO is the

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   59
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 61 of 110 PageID# 585

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            only individual who can legally commit the Government to the expenditure of public
            funds in connection with this procurement.

            L.20.1 Tab A – Table of Contents.

            The Offeror shall include a table of contents for the Price Volume.

            L.20.2 Tab B – SF33.

            The Offeror shall submit a completed SF33.

            L.20.3 Tab C – Schedule B, Bid Schedule.

            The Offeror shall complete the Bid Schedule, noting additional SUBCLINS for CLIN
            X006, Telecommunications, if necessary.

            L.20.4 Tab D – Narrative Summary, Assumptions and Exceptions.

            The Offeror shall summarize and highlight salient features of the pricing proposal,
            including a summary description of the Offeror's approach and plans to satisfy and
            support requirements of this solicitation, including any assumptions or exceptions to the
            RFP. The summary should only include general information about the proposal and the
            Offeror’s understanding of, and its capability to meet the requirements of the solicitation.

            The Offeror shall summarize their pricing approach and the extent to which their pricing
            approach demonstrates alignment with the requirements of the PWS, achievement of
            program goals and objectives, and presents the best overall value to the Government.

            The presence of unbalanced Pricing will be established through the application of price
            analysis techniques on all CLINS. Unbalanced pricing exists when, despite an acceptable
            total evaluated price, the cost of one or more contract line items is significantly
            overstated or understated and poses an unacceptable risk to the Government. The
            Government may determine that a proposal is unacceptable if the proposed costs/price is
            materially unbalanced between line items or sub-line items within a pricing period, or
            between line items or sub-line items for the basic requirement and any option period.

            If needed, the Government intends to exercise the option under FAR 52.217-8 without
            further competition or need for justification for other than full and open competition [or
            sole source justification]. For purposes of evaluation, the potential need to exercise the
            option under FAR 52.217-8 to extend the period of contract performance for the
            maximum period of six (6) months beyond the period of performance will be considered
            the same for all Offerors. In considering the price of the base period and any option
            periods, the Government will consider that if the extension of service clause (i.e. FAR
            52.217-8) is exercised, it will be on the exact same rates and terms, other than length of
            performance, as the base or option period being extended. The Government will

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   60
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 62 of 110 PageID# 586

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services

            determine whether the price, inclusive of all options, is fair and reasonable and in
            combination with the other evaluation factors specified in the RFP, represents the best
            value to the Government.
            Submit all (if any) assumptions, conditions, or exceptions with any of the terms and
            conditions of the RFP. Include Termination costs in accordance with F.2, Cancellation
            Ceiling. If not noted in this section of your proposal, it will be assumed that the Offeror
            proposes no assumptions for award, and agrees to comply with all of the terms and
            conditions as set forth herein. It is not the responsibility of the Government to seek out
            and identify assumptions, conditions, or exceptions buried within the Offeror’s proposal.

            Contractors are strongly encouraged to submit questions to the Contracting Officer in
            accordance with section L.10 regarding ambiguities, in lieu of making assumptions,
            conditions, or exceptions.

            The following sub-factors will be considered in the evaluation of the price volume:

            A.        Price Realism:

            The Government will assess the extent to which the pricing approach demonstrates
            alignment with the requirements of the PWS, achievement of program goals and
            objectives, and best overall value. The government will evaluate price realism as it
            applies to:
                   • Demonstration of a clear commitment to the success of the program,
                     achievement of program goals, increased capacity, and better quality of service
                   • Demonstration of partnership and a willingness to balance revenue and risks

            B.        Price Completeness:

            Including Section A and B: To be completed, the Offeror must provide all the data that is
            necessary to support the proposal. The Government will assess the extent to which the
            price proposal complies with the content and format requirements set forth in the
            solicitation including all instructions in Section B.

            C.        Price Reasonableness:

            The Offeror’s proposed prices (including Termination costs) will be evaluated to
            determine if any are unreasonably high or low in relation to the Offeror’s technical and
            management approaches.

            L.20.5 Tab E – Subcontracting Plan (Large Businesses Only).

            The subcontracting plan shall state separately the total dollars and percentages that will
            be subcontracted to each category; small business (SB), HUBZone small business, small
            disadvantaged business (SDB), women-owned small business (WOSB), and veteran
            owned and service-disabled veteran-owned small business (SDVOSB) concerns.

  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   61
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 63 of 110 PageID# 587

                                                    Section L
                                 Instructions, Conditions, and Notices to Offerors
                                               R1S Support Services


            The following small business categories and the associated percentages are the FY15
            stated goals from the US SBA and are for informational purposes only:
                   Small Business - 23%
                   Woman Owned - 5%
                   Hub Zone - 3%
                   SDVOSB - 3%
                   Small Disadvantaged (8a) - 5%




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   62
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 64 of 110 PageID# 588

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

  M.1       FAR 52.252-2                   Clauses Incorporated By Reference (FEB 1998)

  This solicitation incorporates one or more clauses by reference, with the same force and effect as
  if they were given in full text. Upon request, the Contracting Officer will make their full text
  available. Also, the full text of a clause may be accessed electronically at these addresses:

                                            https://acquisition.gov/far/index.html

                               http://www.dm.usda.gov/procurement/policy/agar.html

                                                           (End of clause)
  Provision                      Title
  52.217-5                       Evaluation of Options (JUL 1990)

  M.2       Procedures for Award

  Proposals shall be submitted in accordance with the instructions in Section L. A proposal may
  be rejected as grossly deficient if the Contracting Officer determines that the proposal does not
  materially comply with the instructions.

  M.3       Basis for Contract Award

  The Government is conducting this source selection in accordance with the competitive
  negotiation source selection procedures contained in FAR Part 15.101-1, Best Value Tradeoff
  Process.

  In order to be eligible for award, a proposal must comply in all material respects with the
  requirements of law, regulation and the terms and conditions set forth in this solicitation. The
  Offeror must be determined responsible according to the standards set forth in FAR Subpart 9.1.

  M.4       Award after Discussions

  The Government intends to evaluate proposals and award a contract after conducting discussions
  with offerors whose proposals have been determined to be within the competitive range. If the
  Contracting Officer determines that the number of proposals that would otherwise be in the
  competitive range exceeds the number at which an efficient competition can be conducted, the
  Contracting Officer may limit the number of proposals in the competitive range to the greatest
  number that will permit an efficient competition among the most highly rated proposals.
  Therefore, the offeror's initial proposal should contain the offeror's best terms from a price and
  technical standpoint.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   63
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 65 of 110 PageID# 589

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

  M.5       FAR 52.215-1, Instructions to Offerors-Competitive Acquisition, Alternate 1 (JAN
            2004)

  Alternate 1 Added:
  (f)(4) The Government intends to evaluate proposals and award a contract after conducting
  discussions with offerors whose proposals have been determined to be within the competitive
  range. If the Contracting Officer determines that the number of proposals that would otherwise
  be in the competitive range exceeds the number at which an efficient competition can be
  conducted, the Contracting Officer may limit the number of proposals in the competitive range to
  the greatest number that will permit an efficient competition among the most highly rated
  proposals. Therefore, the offeror's initial proposal should contain the offeror's best terms from a
  price and technical standpoint.

  M.6       Evaluation

  Each proposal will be evaluated to assess the Offeror’s ability to support Recreation One Stop
  Support Services in accordance with the Government requirements of this solicitation. Proposals
  will be evaluated based on the following evaluation factors. In order to determine which
  Offeror’s proposal represents best value, the following factors will be used for the evaluation and
  must be addressed in proposal submissions. Factors One (1), Two (2) and Three (3) are of equal
  importance and when combined are significantly more important than price. Sub-factors are of
  approximate equal weight within each factor. However, as the range of technical merit narrows,
  Price becomes a more important factor:

            Factors
            Factor      1        Technical Approach;
            Factor      2        Integrated Solution Approach;
            Factor      3        Past Performance; and
            Factor      4        Price.

  The source selection will be conducted in a two-phase process; Initial Evaluations and Final
  Evaluations.

  The Initial Evaluation will include evaluating initial offers including Factors 1, 3, and 4.
  Based on initial offers, a competitive range will be determined. Factor 2 will be submitted
  and evaluated only for offerors in the competitive range, who will then have the opportunity
  to present an integrated solution as part of the evaluation process.

  After the Integrated Solution Presentation, the contracting officer reserves the right to
  conduct Discussions on all aspects of their technical approach, past performance, and price.

  Following Discussions, the offeror will be requested to submit a Final Revised Proposal in
  accordance with L.16.9. The Final Evaluation will include the results of the initial
  evaluation, the Integrated Solution Presentation, and Discussions.



  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   64
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 66 of 110 PageID# 590

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

  The following factors will be used to support meaningful comparison and discrimination
  between and among competing proposals:

         M.6.1 Factor 1 – Technical Approach

            The Government will evaluate the Offeror’s Technical Approach based on the degree to
            which it is clear, comprehensive, detailed, effective, and demonstrates how it provides,
            retains and applies the necessary requirements. The Government will evaluate the
            Offeror’s technical sub-factors related to the Performance Work Statement that may
            impact the proposed solution to or success of the overall requirements throughout the full
            period of performance of the contract.

            The following sub-factors will be considered in the evaluation of the technical approach:

                 1.   Provide Phase-in and Start up Support Services
                 2.   Provide Operations and Customer Support Services
                 3.   Provide Public Interface Support Services
                 4.   Provide Reservations and Other Recreations Related Services
                 5.   Provide Telecommunications Support Services
                 6.   Provide Program Management Support Services

            The Offeror shall demonstrate knowledge, understanding, and technical ability to perform
            all aspects of the Recreation One Stop Support Services requirements in Section C,
            Performance Work Statement, to include identification of key technical aspects of the
            tasks (risks, special requirements, assumptions, and risk mitigation strategies) that may
            impact the proposed solution to or success of the requirement as well as provide
            delineation of the team composition proposed to accomplish task objectives and rationale
            thereof.

            M.6.1.1 Provide Phase-in and Start up Support Services

            The Government will evaluate offers to determine how the proposed methodology
            demonstrates an understanding of Agile System Development Life Cycle (SDLC), how it
            will be utilized to meet the basic system requirements, and how the proposed solution
            considers the long-term objectives of R1S. Evaluators will consider the Offeror’s
            proposed phase-in schedule, understanding, competency, and approach for utilizing the
            methodology to deliver requested services by “Go-Live”.

            M.6.1.2 Provide Operations and Customer Support Services

            The Government will evaluate offers to determine the Offeror’s:
                    a. Ability to implement the Agile software development methodology to
                       deliver Operations and Maintenance, Ongoing Design Support, Customer
                       Support, Training, and advanced functionality.
                    b. Ability to deliver disaster recovery and continuity of operations services.


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   65
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 67 of 110 PageID# 591

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services


            M.6.1.3 Provide Public Interface Support Services

            The Government will evaluate:
                    a. The Offeror’s approach for facilitating third party sales and affiliate strategy
                       to meet R1S objectives of increasing reservations and making it easy for
                       users to initiate and complete transactions that start from a variety of third
                       party applications, websites or services.
                    b. The Offeror’s proposed fee structure applicable only to high volume data
                       consumers. Such a fee structure shall be enforced through an agreement
                       directly between the Contractor and the data consumer and shall be
                       consistent with industry best practices and established market
                       pricing. Should the contractor opt to propose such a fee structure, their
                       proposal shall clearly state the applicable rates and details of the proposed
                       fee structure.
                    c. The Offeror’s marketing plan, including the likelihood of success of their
                       overall vision for marketing Recreation One Stop to raise awareness for
                       recreation across all federal lands and waterways and achieving the goals
                       listed in PWS 5.3.3.

            M.6.1.4 Provide Reservations and Other Recreation Related Services

            The Government will evaluate the Offeror’s ability to:
                    a. Provide a reservation service that delivers Contractor staff and end-users
                       easy access to information about reservable inventory and a simple, clear
                       and intuitive process for planning trips and making reservations.
                    b. Provide a user experience that will enhance, attract and retain customers,
                       increase conversions, and be consistent with customer expectations of
                       leading websites.
                    c. Provide advanced comprehensive travel planning and mapping services,
                       including Point-To-Point Itinerary planning, throughout the entire end-to-
                       end recreation experience envisioned for users.
                    d. Provide all necessary staffing and support to incorporate the addition or
                       deletion of new inventory in a timely manner.
                    e. Provide accurate, timely, cost-effective, and reliable customer support
                       including planning, making, changing, and cancelling reservations, agent
                       training, applying closures, and troubleshooting, for both internal
                       (approximately 5,000) and external users, meeting or exceeding the industry
                       standards.
                    f. Support the incorporation of all existing business rules, and the development
                       of new business rules as needed for new implementations and existing
                       programs, for each facility or activity.
                    g. Provide real-time sales and reservation services and support all types of field
                       operations. Provide all necessary functions to process accurate financial
                       transactions with associated reporting. Ensure that software can be


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   66
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 68 of 110 PageID# 592

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

                              deployed on a variety of commodity hardware types.

             M.6.1.5 Provide Telecommunications Support Services

            The Government will evaluate the Offeror’s understanding and capability to:
                    a. Provide telecommunication and commercial data services to all sites and
                       remote geographic areas that require access to the reservation system.

            M.6.1.6 Provide Program Management Support Services

            The Government will:
                    a. Evaluate the Offeror’s understanding and capability to provide program
                       management support services including, but not limited to, all resources,
                       corporate support, personnel, technologies, suppliers, and cost efficiencies.
                    b. Review qualifications of the proposed Key Personnel to ensure personnel
                       have the requisite background experience to achieve and execute the
                       proposed solution.
                    c. Evaluate the Offeror’s quality control plan and PRS including their Quality
                       Control and Performance Measurement approach, and how proposed
                       performance standards from the PRS will be monitored, evaluated, and
                       reported to demonstrate an understanding of how the Offeror’s measures
                       and metrics will be applied based on their proposed technical solution.
                    d. Evaluate the Offeror’s proposed solution to provide accurate system reports
                       and analytics, by implementing a robust, flexible and reliable Enterprise
                       Reporting System.
                    e. The Government will evaluate the Offeror’s capability and approach to
                       provide advanced data analytics to improve overall customer service and
                       management decision making.
                    f. Evaluate the Offeror’s capability and approach to reconcile all financial
                       transactions, ensure the accurate distribution of funds, and ensure the
                       ongoing implementation of emerging payment technologies and methods.

         M.6.2 Factor 2 – Integrated Solution Approach (To be submitted only if the offeror is
               determined to be in the competitive range)

            The Government will evaluate the Offeror’s:
                   a. Integrated Solution reflecting the breadth of the entire program to include
                       their technical approach and solution for the strategy and branding;
                       marketing and communications; PMO and interagency collaboration; and
                       other PWS functions. Ability to manage large, multi-task Systems
                       Development Life Cycles and Technical Solution Implementations in
                       Partnership with the Customer.
                   b. Technical Solution and Agile development approach
                   c. Response to new use cases and the team’s ability to solve complex issues
                       and address varying scenarios. New use cases will be provided to the


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   67
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 69 of 110 PageID# 593

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

                              Offeror prior to the presentation.
            The Government will evaluate the Offeror’s Agile development strategy to determine the
            extent to which it:

                         a. Satisfies all current and relevant Government and Industry standards for the
                            collection, storage and processing of customers’ Personally Identifiable
                            Information (PII) and financial, payment and transaction data to include, but
                            not limited to, Payment Card Industry (PCI) security standards.
                         b. Maximizes the flexibility of the system to incorporate new features and
                            emerging technologies throughout the life-cycle of this contract.

                         c. Provides scalability of the system to accommodate fluctuations in the
                              reservable inventory contained in the system, the amount of non-reservable
                              information in the system, the number of transactions processed throughout
                              the year and the amount of transaction related data stored within the system.

                         d. Provides maximum portability and consistency of all data contained within
                              the system to foster and encourage data sharing between recreation.gov and
                              other on-line travel and tourism entities, both public and private.

                         e. Incorporates robust design/hardware/software features to maximize system
                              “up-time” and availability to both Government and public users and which
                              minimizes the potential for loss and/or corruption of any system data.

                         f.   Maximizes system processing/throughput capacities thereby accommodating
                              high simultaneous usage levels by public customers visiting, researching,
                              planning and transacting on the site and Government users managing
                              inventory, generating reports and updating site content.

            Additionally, the Offeror shall provide the proposed architecture, release schedule,
            and methodology for development, testing, and deployment.

            The following timeline shall be strictly applied to the Offeror’s Integrated Solution:
                     20 minutes      Setup
                     20 minutes      Introduction
                     120 minutes     Presentation
                     30 minutes      Break/Government discussions
                     60 minutes      Scenario Responses
                     120 minutes     Questions and Answers and Proposal Discussions

         M.6.3 Factor 3 – Past Performance

                      The Government will evaluate the Offeror’s past performance based upon its
                      relevancy and recency of its references, the responses received from past


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   68
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 70 of 110 PageID# 594

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

                      performance surveys, and as it relates to the composition of the Offeror’s team.

            A.        Past Performance References.

                      The Government will evaluate the Offeror’s past performance references for
                      recency and relevance to the work identified within the PWS.

                      The Government is seeking a clear understanding of the Offeror’s previous
                      success in delivering the proposed style of Agile methodology, system
                      implementation, marketing, telecommunications, program management, and
                      hosting.

            B.        Past Performance Surveys.

                      Past performance surveys will be evaluated based upon results from the
                      references provided by the Offeror. The information provided in the past
                      performance surveys may not serve as the sole basis of evaluation of the past
                      performance surveys. The Government reserves the right to obtain and utilize
                      information from sources other than those identified by the Offeror to include the
                      Past Performance Information Retrieval System (PPIRS).

                      Past performance will consider Offeror’s demonstrative ability to provide quality
                      services, control cost, manage schedules, manage business relationships, provide
                      customer satisfaction, manage Key Personnel, and utilize small businesses, if
                      applicable.

             C.       Description of Team.

                      The Government will evaluate the Offeror’s proposed team based on their past
                      performance within the specific areas of the PWS and the areas of scope for
                      which they will be utilized.

            D.        Certification Statement.

                      The Offeror shall provide a Certification Statement only if past performance is not
                      applicable. An Offeror with no relevant past performance to cite will receive a
                      neutral rating, i.e., the rating will not add to or detract from the Offeror’s Past
                      Performance rating. If the Offeror has no past performance, the Offeror shall
                      submit a certification statement indicating the Offeror has no past performance.
                      The certification statement shall be clearly marked with the solicitation number
                      and accompanied with the proposal.

         M.6.4 Factor 4 – Price

                      The offeror’s total evaluated price will include phase-in, the base period, and all


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   69
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 71 of 110 PageID# 595

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

                      option periods (award terms). The following will be evaluated under Factor 4,
                      Price:

                      A. The Offeror shall submit a completed SF33.

                      B. The Offeror shall complete the Bid Schedule, noting additional SUBCLINS
                         for CLIN X006, Telecommunications, if necessary.

                      C. Narrative Summary, Assumptions and Exceptions. The Offeror shall
                         summarize and highlight salient features of the pricing proposal, including a
                         summary description of the Offeror's approach and plans to satisfy and
                         support requirements of this solicitation, including any assumptions or
                         exceptions to the RFP. The summary should only include general information
                         about the proposal and the Offeror’s understanding of, and its capability to
                         meet the requirements of the solicitation including an explanation of the
                         Offeror’s proposed Termination costs.

                            Whether pricing is unbalanced, Unbalanced Pricing will be established
                            through the application of price analysis techniques on all CLINS.
                            Unbalanced pricing exists when, despite an acceptable total evaluated price,
                            the cost of one or more contract line items is significantly overstated or
                            understated and poses an unacceptable risk to the Government. The
                            Government may determine that a proposal is unacceptable if the proposed
                            costs/price is materially unbalanced between line items or sub-line items
                            within a pricing period, or between line items or sub-line items for the basic
                            requirement and any option period.

                            If needed, the Government intends to exercise the option under FAR 52.217-8
                            without further competition or need for justification for other than full and
                            open competition [or sole source justification]. For purposes of evaluation,
                            the potential need to exercise the option under FAR 52.217-8 to extend the
                            period of contract performance for the maximum period of six (6) months
                            beyond the period of performance will be considered the same for all
                            Offerors. In considering the price of the base period and any option periods,
                            the Government will consider that if the extension of service clause (i.e. FAR
                            52.217-8) is exercised, it will be on the exact same rates and terms, other than
                            length of performance, as the base or option period being extended. The
                            Government will determine whether the price, inclusive of all options, is fair
                            and reasonable and in combination with the other evaluation factors specified
                            in the RFP, represents the best value to the Government.

                      D. Subcontracting Plan (Large Business Only). The subcontracting plan shall
                         state separately the total dollars and percentages that will be subcontracted to
                         each category; small business (SB), HUBZone small business, small
                         disadvantaged business (SDB), Alaskan Native Corporation (ANC), women-


  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   70
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 72 of 110 PageID# 596

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

                            owned small business (WOSB), and veteran owned and service-disabled
                            veteran-owned small business (SDVOSB) concerns.

                      E. Price Realism:

                            The Government will assess the extent to which the pricing approach
                            demonstrates alignment with the requirements of the PWS, achievement of
                            program goals and objectives, and best overall value. The government will
                            evaluate price realism as it applies to:
                               • Demonstration of a clear commitment to the success of the program,
                                 achievement of program goals, increased capacity, and better quality of
                                 service
                               • Demonstration of partnership and a willingness to balance revenue and
                                 risks

                      F. Price Completeness:

                            Including Section A and B: To be completed, the Offeror must provide all the
                            data that is necessary to support the proposal. The Government will assess the
                            extent to which the price proposal complies with the content and format
                            requirements set forth in the solicitation including all instructions in Section
                            B.

                      G. Price Reasonableness:

                            The Offeror’s proposed prices (including Termination costs) will be evaluated
                            to determine if any are unreasonably high or low in relation to the Offeror’s
                            technical and management approaches.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   71
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 73 of 110 PageID# 597

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services

  M.6.5 Ratings of Technical Approach (Factor 1) and Integrated Solution Approach
  (Factor2)

                      In evaluating the Technical and Integrated Solution factors and sub-factors
                      described above, the evaluation team will fully evaluate and document strengths,
                      weaknesses, deficiencies, and discussion questions for each Offeror’s proposal.
                      Based on such strengths, weaknesses, and deficiencies, the evaluation team will
                      assign each Technical and Integrated Solution factor/sub-factor a rating using the
                      following rating scale:

                                       Technical and Integrated Solution Ratings
            Rating                 Description
            Outstanding            Greatly exceeds the minimum performance or capability
                                   requirements in a way beneficial to the Government. There are no
                                   significant weaknesses or deficiencies. Those aspects of a factor or
                                   sub-factor resulting in an “Outstanding” rating may be incorporated
                                   into the resulting contract. Risk of unsuccessful performance is very
                                   low.
            Excellent              Exceeds the minimum performance or capability requirements in a
                                   way beneficial to the Government. There are no deficiencies, and
                                   only minor correctable weaknesses. Those aspects of a factor or sub-
                                   factor resulting in an “Excellent” rating may be incorporated into the
                                   resulting contract. Risk of unsuccessful performance is low.
            Acceptable             Meets the minimum performance or capability requirements. There
                                   may be few correctable deficiencies and only minor correctable
                                   weaknesses. Risk of unsuccessful performance is no worse than
                                   moderate.
            Marginal               May meet the performance or capability requirements. There are
                                   apparent or moderate deficiencies and weaknesses that are not easily
                                   correctable without a proposal re-write. Risk of unsuccessful
                                   performance is high.
            Unacceptable           Fails to meet the performance or capability requirements. There are
                                   unacceptable weaknesses and deficiencies. Proposal is un-
                                   awardable.

                      A rating of “UNACCEPTABLE” on any Sub-factor automatically makes the
                      entire Factor “UNACCEPTABLE”.

            M.6.6 Ratings of Past Performance

                      The Government will evaluate the Offeror’s (and subcontractor’s) demonstrated
                      recency/relevancy and confidence record of past performance in supplying
                      products and services meeting contract requirements. The evaluation team will
                      use the following rating scale for Contractor relevancy ratings:



  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   72
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 74 of 110 PageID# 598

                                                        Section M
                                               Evaluation Factors for Award
                                                  R1S Support Services


                                          Past Performance Relevancy Ratings
              Rating               Definition
              Very                 Recent/past performance effort involved essentially the same scope
              Relevant             and magnitude of effort and complexities this solicitation requires.
              Relevant             Recent/past performance effort involved similar scope and
                                   magnitude of effort and complexities this solicitation requires.
              Somewhat             Recent/past performance effort involved some of the scope and
              Relevant             magnitude of effort and complexities this solicitation requires.
              Not                  Recent/past performance effort involved little or none of the scope
              Relevant             and magnitude of effort and complexities this solicitation requires.

  The evaluation team will use the following rating scale for Contractor performance confidence
  ratings which will be used to summarize the offeror’s past performance rating:

                                         Performance Confidence Assessments
                                   Description
              Substantial          Based on the Offeror’s recent/relevant performance record, the
              Confidence           Government has a high expectation that the Offeror will successfully
                                   perform the required effort.
              Satisfactory         Based on the Offeror’s recent/relevant performance record, the
              Confidence           Government has a reasonable expectation that the Offeror will
                                   successfully perform the required effort.
              Limited              Based on the Offeror’s recent/relevant performance record, the
              Confidence           Government has a low expectation that the Offeror will successfully
                                   perform the required effort.
              No                   Based on the Offeror’s recent/relevant performance record, the
              Confidence           Government has no expectation that the Offeror will be able to
                                   successfully perform the required effort.
              Unknown              No recent/relevant performance record is available or the Offeror’s
              Confidence           performance record is so sparse that no meaningful confidence
              (neutral)            assessment rating can be reasonably assigned.




  Solicitation Number: AG-3187-S-15-1000 | Revision 2 | 2015 08 18   73
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 75 of 110 PageID# 599

                                         R1S Support Services (R1SSS)

                                                Attachment 10
            Recreation.gov
                                          Basic System Requirements
             111'.h.O"l TOI.I• AVV'tC~




  1. Basic System Requirements:

     The Government and authorized private vendors acting on behalf of the Government operate
     a wide variety of facilities, activities, services, etc. for which advanced reservation service s
     are vital. Visitors depend on reservations to make trip plans and the Government uses the
     system to provide operational effectiveness and efficiency, to manage over and underutilized
     areas, quota and event management, data collection for program management, and promotion
     of federal recreation opportunities.

     The Contractor shall design, develop, document, implement, administer, maintain and
     support an enterprise system, including licensing, hardware and software, capable of
     providing reservation services which comply with all Business Rules in the attached.

     The Contractor’s proposed solution shall address a diverse range of reservation requests
     including, but not limited to accommodating a variety of: front-country and back-country
     camping; ticketing; cabin rentals; lotteries; day use facility and space rental; group facilities;
     special events; other recreation and educational programs; equipment rental; sports field
     management; and a wide variety of permitting programs. The proposed solution shall be
     current with evolving technologies and accessible by a wide variety of mobile and desktop
     platforms to include, but not be limited to: Windows, Macintosh, iOS, and Android and
     browsers: Google Chrome, Internet Explorer, Firefox, Safari, and Opera.

     The Contractor shall propose a mobile solution for internal and external customers as a core
     functionality for accessing enterprise and reservation data on mobile devices. The Contractor
     shall optimally balance their solution between security and total cost to provide the most
     business value to the R1S PMO and customers. The Offeror’s proposed R1S solution shall be
     fully integrated and accessible in a mobile environment.

     The Contractor shall provide a reservation service that provides Contractor staff and end-
     users easy access to information about reservable inventory and a simple, clear and intuitive
     process for planning trips and making reservations. The reservation service shall be available
     to the Contractor, agencies, partners, and the public through the web presence, toll-free
     telephone service using prevailing communication technologies. The service shall be
     accessible to field locations for on-site management of facilities, the processing of

                                                              R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                            Attachment 10 – Basic System Requirements
                                                                                                           Page 1 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 76 of 110 PageID# 600

                                          Attachment 10


     reservation transactions and the support of service requests by walk-up customers. The
     reservation service shall comply with all business rules established in the attached and shall
     be flexible and agile enough to accommodate the timely addition and/or modification of
     business rules throughout the contracts life-cycle.

     The Contractor shall provide reservation processes, including but not limited to the
     following: searching for and reserving inventory; holding selected inventory for a specified
     time; itinerary planning including reserving multiple types of inventory from one or multiple
     facilities/agencies/areas into a single transaction; making reservation changes, cancellations,
     and voids; providing dynamic and intelligent alternate location referrals; shopping cart
     functionality; addition of point of sale items within a reservation or as a standalone product;
     provision of safety information in multiple media formats; acceptance of terms; payment
     processing; collection of all types of fees including taxes; application of discounts; collection
     of donations in variable amounts; ability to charge and collect variable shipping fees during
     the checkout process as required, ability to process shopping cart transactions for shopping
     carts containing mixed variety of inventory types such as reservations, lottery registration
     fees, annual permit sales, shipping fees, etc.; internal and external links to other sources of
     information; confirmation for all customers (with and without e-mail).

     The Contractor shall provide a reservation service that at the minimum gives the customer a
     unique confirmation number for each transaction, provides an e-mail notice of confirmation
     at the time the reservation is made, prior to arrival, and after the stay has been completed, and
     when any subsequent changes to the reservation are made, and which provides the ability to
     send “reminder” e-mails containing location-specific information to customers as the
     reservation date nears. The service shall provide, maintain, and track each reservation and
     related transaction by the unique confirmation number. Each customer shall also be assigned
     a unique customer identification number. The system shall employ logic to minimize the
     issuance of multiple unique customer identification numbers for a single customer who may
     be using variations of customer information.

     Transaction data shall include, but not be limited to: customer information; transaction
     information; transaction history; comments; and fees including but not limited to: recreation
     use, reservation, service, convenience, deposit, ticket, permit, interpretive, point of sale,
     event, cancellation, transfer, change, refunds, and taxes. Historical data regarding
     transactions and revenue can be found in attachments: "REC.GOV Transaction Count" and
     "REC.GOV Total Revenue".



                                                             R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                            Attachment 10- Basic System Requirements
                                                                                                          Page 2 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 77 of 110 PageID# 601

                                         Attachment 10


     Customers include, but are not limited to: the Government, local, regional, national and
     international individuals, partners, and groups (e.g., schools, military, and commercial users).
     The Contractor shall provide a means for addressing the specific needs of this widely varied
     pool of customers.

     The Contractor’s solution shall provide a means for all internal and external users to access a
     wide variety of information including but not limited to: inventory descriptions, fee
     information, availability, alternative locations; season dates, weather information, photos,
     multimedia, social media, frequently asked questions, alerts, warnings, and special
     information, and local commercial services to assist in making reservations through all
     available means.

     Reservation services and sales encompass many different types of inventory. The Contractor
     shall accommodate all existing programs and new programs yet to be identified. Facilities,
     activities, events, field operations, and management objectives vary widely throughout the
     Government; uniformity and consistency of business rules are not always possible
     (legislation, court decisions, resource management priorities, historic use patterns, etc.).

     The reservation service shall be easily customized, configured, scaled and adapted to
     changing trends, policies, procedures, operational needs, and customer expectations. Success
     of the program will rely on services that are flexible, configurable and can adapt rapidly to
     meet and incorporate changing needs.


     1.1. External User Accounts / Profiles

         All user profiles shall preserve an individual user’s customer specific data and previous
         activity, such as searches (performed while the user is logged into their unique profile),
         reservations, itineraries, etc.

         User Profiles shall integrate with communications capabilities to support a wide variety
         of manual / automated / standardized / customized communications.

         The Contractor shall enforce stringent protocols to limit single individual users from
         creating multiple user profiles.

         The user profile shall collect, store and utilize appropriate user profile data and
         recreation preferences to minimize repetitive data entry by the user and to maximize the

                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                         Page 3 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 78 of 110 PageID# 602

                                         Attachment 10


         user experience by streamlining workflows, tailoring search results and making
         intelligent recreation recommendations. Examples of the types of data to be collected
         and stored for this purpose include, but are not limited to; payment information,
         equipment type (RV, tent, etc.) and dimensions, pets, need for ADA compliant facilities,
         requirements for specific electric power, etc. User profiles shall provide for the creation
         of nested sub-profiles within the main user profile. An example of this feature includes,
         but is not limited to, the ability for a user to have both an “R/V Camping” and a “Tent
         Camping” sub-profile under a single user’s master profile such that search results and
         recreation recommendations would be tailored to the specific information contained in
         the selected sub-profile, the reservation workflow would pull information from that
         selected sub-profile, etc. Users shall be permitted to temporarily override these saved
         profile data elements from within the active workflow without having to exit the active
         workflow and edit stored profile information.

         Customers shall not be permitted to conduct financial transactions within R1S without
         having first logged into a user account / profile. Customers shall only be mandated to
         sign into their account / profile upon initiation of the “check out” process or if they
         initiate a query into any information which is specifically linked to their profile,
         including but not limited to; previous transaction history, billing information, existing /
         pending reservations, privacy and communications preferences, etc.

         Customers shall be able to freely browse all R1S content including recreation
         availability information without being signed into their user account / profile; however
         the Contractor shall employ creative means to educate customers on the intelligent
         capabilities of R1S for those customers who are logged into their account / profile while
         they explore R1S.

         Control of all personally identifiable information shall be controlled in strict accordance
         with the R1S “System of Records Notice (SORN)” and the “R1S Privacy Policy” (both
         attached) and access to all such personally identifiable information shall be strictly
         limited to individuals who require such information for administration of the program.
         The Contractor shall not use or share any customer information in any way outside of
         the program without written consent from the CO/COR.

     1.2. Provide Travel Planning Tools

         Savvy travel and tourism consumers have become dependent upon a wide variety of
         Internet resources to thoroughly research and plan travel, purchase tickets, make travel

                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                         Page 4 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 79 of 110 PageID# 603

                                        Attachment 10


         reservations, and share their travel related experiences via a wide range of media
         options. While there are several highly successful websites providing these services for
         commercial activities and properties, there has never been one site capable of providing
         all of these services for consumers interested in federal recreation opportunities.

         The Contractor shall provide a comprehensive suite of trip planning services which are
         relevant in all phases of the users’ recreation experience.

         1.2.1. Travel Planning

                The Contractor shall provide comprehensive travel planning services throughout
                the entire end-to-end recreation experience envisioned for users. Travel planning
                shall be comprehensive and incorporate all of the information available within
                R1S Support Services and RIDB, including but not limited to: federal and non-
                federal* reservable inventory (e.g., camping, tours and tickets, permits, etc.),
                activities and points of interest (e.g., hiking, mountain biking, photography,
                wildlife viewing, historical and cultural information, concession and outfitter
                services, visitor centers, refuges, water projects, forests, museums, etc.), and user
                generated content.

                * Non Federal reservable inventory may include state and local reservable and
                non-reservable recreation inventory which may be incorporated into the system
                or accessed via various application programming interfaces (APIs).

                Travel planning services encompasses an extremely broad range of possible
                services, technologies and implementations. In order to leverage the creativity
                and resources of commercial industry, Contractors shall, describe the full breadth
                of the Travel Planning services offered within their proposed solution. For each
                Advanced Travel Planning feature (see PWS section 5.2.6.), technology or
                capability proposed, the Contractor shall clearly identify whether the service,
                technology or capability will be fully functional at system phase-in or at some
                later date; Phase-in + X days (or months) as appropriate.


               1.2.1.1.   Point-To-Point Itinerary Planning

                          The system shall support a Point-To-Point Itinerary planning tool at go-
                          live. The Contractor’s Point-To-Point Itinerary Planning Tool shall

                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                        Page 5 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 80 of 110 PageID# 604

                                       Attachment 10


                         provide users the capability to intuitively designate starting points, way
                         points and end points along a journey. The Point-To-Point Itinerary
                         functionality shall provide the end user the ability to easily customize
                         various factors associated with their route, including, but not limited to,
                         customizing the Points of Interest (POI) search distance from the
                         primary route (i.e., only show sites that are 25 miles or less away from
                         the primary route), customizing POI search based on a variety of site
                         attributes, including availability (i.e., only show sites that offer tent
                         camping and only show sites that offer tent camping on the dates
                         specified for this trip), identifying other attractions and establishments
                         along the way by integrating other sources of data, and allow for
                         filtering results to expand or limit the options available based on user
                         preference. The Contractor shall then present users with a variety of
                         route options and information on recreation opportunities available
                         along each of the route options. The Contractor shall also provide users
                         the ability to “drill down” into facility and site detail pages to obtain
                         more information on locations highlighted along the route and shall
                         also provide the ability for users to make reservations directly from a
                         planned route.

                         The system shall retain and display routes that are “works in progress”
                         while the users “drill down”, make reservations or perform other trip
                         planning activities without “losing” that planned route or forcing them
                         to recreate the route each time they leave the route planning page. The
                         Point-To-Point Trip Planning functionality shall also provide the
                         intelligence and functionality allowing users to create consolidated
                         itineraries, print maps and itineraries, share maps and itineraries
                         electronically (i.e. SMS Text, E-Mail, Social Media, etc.) and identify
                         opportunities to share their experience along the way.

                         The user interface created by the Contractor shall employ a variety of
                         information display techniques including, but not limited to, interactive
                         maps, text, graphics, lists and commonly recognized icons to present a
                         clean, intuitive and user-friendly travel planning environment.

     1.3. Field Sales and Reservation Services



                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                       Page 6 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 81 of 110 PageID# 605

                                         Attachment 10


         The System shall provide a means for field based locations with network access the
         ability to connect to the reservation system enabling field users to conduct all forms of
         transactions quickly and easily within the same transaction processing interface. This
         functionality shall be equally well suited for use on desktop hardware as well as mobile
         devices such as tablets.

         The Contractor’s system shall make use of latest technology to allow the field to use
         new and innovative means of managing operations, conducting transactions and
         validating print-at-home tickets as well as validating mobile / digital tickets. Workflow
         shall be simple and intuitive to provide streamlined user experience. The Contractor
         shall provide flexible and adaptable technology despite constraints on location, physical
         space, connectivity and infrastructure at field locations.

         Field based point of sale shall include options for collecting a full range of customer
         information and shall also be configurable to minimize collection of customer data to
         enable rapid point of sale transaction processing (i.e., certain locations may not need to
         collect any customer information to sell a ticket or a pass).

         The Contractor shall provide Field personnel the capability to access the reservation
         system to perform a wide variety of tasks including, but not limited to:

                    •   Make a same day or advanced reservation / sell tickets / issue permits
                       Sell and account for limited retail sales on-site (e.g., firewood, ice,
                        passes, etc.)
                    •   Modify or cancel a reservation or advanced purchase
                    •   Print tickets,
                    •   Manage will call tickets,
                    •   Perform transaction voids,
                    •   Enforce and/or override reservation business rules,
                    •   Check reservation / ticket holders into the facility,
                    •   Manage status of reservable inventory,
                    •   Initiate routine and emergency communications to reservation holders.

     1.4. Camping

         Reservable Inventory



                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                        Page 7 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 82 of 110 PageID# 606

                                         Attachment 10


         The Government offers a variety of inventory types that can be reserved in advance.
         Each location may offer one or more of these at a single location.

         The Contractor’s reservation solution shall provide customers with the opportunity to
         learn about all opportunities and reserve one or more types of inventory in a single
         session in an easy intuitive manner. In places where multiple types of inventory are
         offered for a single location, a customer should be able to intuitively reserve various
         inventory types in a single unified workflow (e.g., at Mammoth Cave National Park, a
         customer should be able to reserve a campsite and add tour tickets to the itinerary
         without having to toggle between camping inventory and tour inventory).

         Front Country Camping

         The Government provides a large number and a wide variety of camping opportunities
         across the nation. Camping includes front-country campgrounds which are typically
         accessible by vehicle, group areas, and back-country or wilderness camping.


         The Contractor shall provide a service that provides customers the ability to search for
         and reserve camping sites with various attributes. The service shall allow customers to
         select various attributes (such as equipment type, equipment size, hook ups,
         accessibility, etc.) to refine search results to meet their specific criteria and to search by
         both list and map to pin point desired locations within a campground. The solution shall
         allow the inclusion of photos and multi-media at the facility and site level to
         demonstrate characteristics of the site. Business rules for managing camping are variable
         across the service.

     1.5. Ticketing

         The Government provides numerous recreational activities which are currently served
         by ticketing operations. These include but are not limited to: tours; educational and/or
         interpretive programs; events; self-guided activities; etc.

         The Contractor shall provide a service (no hardware) that allows for advanced ticketing
         based on seated or general admission, timed entry, limited allocations for attendance,
         parking, (etc.). The Contractor shall provide ticketing options that include but are not
         limited to: printing of tickets at home, electronic mobile / digital tickets, will call, hard
         stock tickets which can be printed in advance and distributed through delivery services
         or printed on-site, and other solutions which allow for identification of valid participants
                                                             R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                            Attachment 10- Basic System Requirements
                                                                                                          Page 8 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 83 of 110 PageID# 607

                                         Attachment 10


         (i.e., wrist bands). Digital tickets/passes shall have the capability to be saved to a
         mobile telecommunications device and displayed and validated even if the mobile
         device does not have any network or data connectivity.

         The Contractor shall provide ticket validation that is cost effective and can be
         administered locally by non-Contractor personnel. All ticket types must have the
         capability of being validated upon entry. The Contractor shall provide location specific
         customizable hard ticket stock for both advance sales and walk-up distribution.

         The contractor shall not be required to purchase or provide ticket validation hardware to
         the field locations; however the contractor shall provide the Government with a listing
         of hardware solutions that have been tested and certified to work with the field
         validation solution. The contractor shall be responsible for procurement of hardware to
         conduct field testing and certification testing, however this contractor-procured
         hardware shall remain the property of the contractor.

         Ticket validation and mobile / digital pass validation shall be accomplished in the field
         using the same hardware, therefore the contractor shall develop and certify hardware
         solution(s) suited for a variety of use scenarios including, but not limited to, validating
         both printed and electronic documents, stationary devices for fixed, entry points; mobile
         / portable devices for temporary entry points, devices that can perform validation offline
         when not connected to an internet / data network, etc.


     1.6. Lotteries

         The Government employs lotteries to award access or admission to a number of high
         demand activities where participation is limited. The Contractor shall provide a means
         of administering a diverse lottery program that supports the business rules in the
         attached. Application fees may or may not apply to a specific lottery and fees are
         variable. Lotteries may run for single time period, may recur at varied intervals, may be
         repeated with the original applicants, and may provide weighting to give advantage to
         certain applicants based on site specific business rules. Lottery results may need to be
         modified to enforce violations of terms and conditions and may be shared with an
         authorized third party for ticketing fulfillment.




                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                         Page 9 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 84 of 110 PageID# 608

                                        Attachment 10


         The Contractor shall provide a flexible and agile enough system to support the rapid
         addition of new lottery inventory utilizing varied business rules. See attachment
         "Historical Lottery Data" for information on past lotteries.

     1.7. Permitting

         The Government utilizes various permitting processes to manage public lands, activities,
         and events. A substantial number of locations are turning to R1S to provide permitting
         services.

         As permitting expands, greater customization is necessary to meet various needs for
         quota management, permit issuance, travel planning, fee collection and program
         administration. The Contractor shall provide a permit reservation and issuing service
         that is agile can be easily and quickly customized to meet very specific needs of various
         locations. The Contractor shall support all mandatory business rules identified in the
         attached.

         The Contractor shall provide the capability to issue permits that authorize use for
         variable time periods including minutes, hours, days, weeks, months, seasons, calendar
         year, and time frame based on purchase date or start date of the permit.

         The Contractor shall support all types of permits and the contents of all issued
         documentation (permit, emails, etc.) shall be configurable to address unique permitting
         needs.

         Permits may be issued for activities where a permitted individual may cross
         jurisdictional lines requiring real time quota enforcement across agency lines.

         Individual field locations may administer multiple types of permits with multiple
         business rules, quotas, and financial management needs.

         The Contractor shall provide processes that allow: review and approval or declination of
         an application; making changes to all data fields; assigning specific sites; and collecting
         payment for the application and/or the permit. Some permits may require the payment of
         fees at different stages in the application/approval/issuance process.

         The Contractor shall provide the capability to account for different products separately.


                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                       Page 10 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 85 of 110 PageID# 609

                                         Attachment 10


         The Contractor shall provide a service that allows the application of quota enforcement
         for all types of use including people, permits, various stock types, vehicle use, boat use,
         commercial use, etc. The service shall provide authorized personnel permission to
         easily override all types of quotas within the permitting process. This permission to
         “easily override all types of quotas” shall be tightly controlled, assigned to only those
         internal system users.

         The Contractor shall provide a transparent permitting system that utilizes electronic
         communications and online application status visibility to ensure applicants have real-
         time access to the status of their permit application.

         There is significant potential for growth in permitting programs. Agency permitting
         programs vary widely and often require unique customization to support operational
         needs, management policies, and specific business rules. It is critical that a solution is
         able to rapidly adapt to unique needs and allow the application of various business rules
         without significant redevelopment for each new location such that implementation
         timeframes for new locations can be accomplished quickly.

     1.8. Day Use and Group Facilities

         Day Use and Group facilities include but are not limited to: picnic areas; beaches;
         pavilions; structures; classrooms; conference and meeting facilities; athletic fields and
         sporting facilities; areas; etc. The Contractor shall provide the Government the
         capability to set reservation intervals and associated fees on a site by site basis (e.g.,
         hourly, half day, all day, multiple days, repeating use periods [e.g., every Tuesday from
         5 PM to 9PM beginning and ending on specific dates], etc.)

     1.9. Special Events and Special Uses

         The Contractor shall provide a service capable of supporting administration of special
         events and special uses. The Government may administer a variety of one-time or
         recurring special events (e.g., The National Christmas Tree Lighting Ceremony) and
         special uses (e.g., bike races, weddings, etc.). Depending on demand, participation in
         these events may be granted through a lottery, timed entry, ticketing, or by permit.

         Currently, the Government administers two annual special events: the National
         Christmas Tree Lighting, and the White House Easter Egg Roll.


                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 11 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 86 of 110 PageID# 610

                                         Attachment 10


     1.10. Equipment Rentals

         The Contractor shall provide a service that allows reservations for the rental of various
         types of equipment through all sales channels (e.g., bear canisters, boats, camping
         equipment, etc.).

         The Contractor shall provide a service that allows for timed intervals, limited and
         unlimited allocations, and associated fees on a site by site basis (e.g., hourly, half day,
         all day, multiple days, etc.) The Contractor shall allow the Customers to have the option
         to include equipment rentals seamlessly from within the reservation workflow or rented
         and/or purchased as a stand-alone item. Equipment rental fulfillment will be done
         locally. Reservations and/or sales of these items shall be accounted for separately from
         other reservations or products.

     1.11. Recreation Related Sales

          In the course of trip planning, making advanced reservations and upon arrival at the
          destination, the solution shall support the sale of various retail items. These include,
          but are not limited to, firewood, ice, pass sales, food storage canisters, access to dump
          stations, internet access and other utilities, unlimited quota permits, and fees for pets,
          boat launch, extra vehicles, extra people, etc.

          The Contractor shall allow the customer to be capable of adding retail items to their
          shopping cart while making reservations or may purchase them as stand-alone products.
          Customers who purchase retail items in advance shall be provided the capability to
          track and modify their order. It is anticipated that advance sale items will not include a
          full array of items such as firewood and ice but would include various items such as
          passes (e.g., Interagency Pass, Senior Pass, local passes) , permits for which there is no
          quota (administrative permits, vehicle permits, etc.), and possibly maps.

          Some retail items may require separate fulfillment. The government currently provides
          fulfillment services through different channels, notably the US Geological Service for
          the America the Beautiful passes being sold through Recreation.gov. This requires
          coordination and file sharing with the fulfillment center. The Contractor shall continue
          to provide assistance to customers who have purchased an item and are awaiting its
          arrival via delivery service.



                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 12 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 87 of 110 PageID# 611

                                         Attachment 10


          The government reserves the right to require contractor provided fulfillment services in
          this contract.

          Upon arrival, field representatives shall be capable of providing retail inventory for sale
          to customers (upon arrival and at any other time). These may be added on to an
          existing reservation or sold separately. Each product shall be accounted for separately.

          This capability shall include, but is not limited to, the ability for customers who have
          established accounts within the system to view order status, track orders, and cancel
          orders during the order fulfillment lifecycle.

     1.12. Pass Sales

          1.12.1 Legacy Passes

                 The Contractor shall provide the capability to sell various passes via
                 Recreation.gov (e.g., the Inter-agency pass inventory, forest passes, park passes,
                 etc.). Passes shall be marketed as appropriate throughout the website, the call
                 center, and through other markets as appropriate. Customers shall have the
                 capability to purchase a pass as a stand-alone item or as part of any other
                 reservations transaction.

                 The government currently sells the America the Beautiful National Parks and
                 Federal Recreation Lands Passes in advance through Recreation.gov and
                 through the US Geological Service’s map store. There are currently five
                 versions of the pass including the Annual, Senior, Access, Volunteer, and
                 Military Passes. More information on each of these passes can be found at:

                                          RECREATION.GOV Pass Sales

                 Note – The pass program is subject to change at any time based on legislative
                 actions in Congress.

                 Current State: Recreation.gov provides customers the option to buy the Annual
                 Pass only. This is available to all audiences and covers locations where
                 “entrance fees” are charged at National Park units and Fish and Wildlife
                 Refuges and “standard amenity fees” at USFS, Bureau of Reclamation and
                 Bureau of Land Management locations.

                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 13 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 88 of 110 PageID# 612

                                       Attachment 10



                Fulfillment of Annual Pass orders placed via RECREATION.GOV is currently
                provided by the US Geological Survey (USGS) via their Lakewood, CO
                fulfillment center. The Government anticipates continued use of the USGS
                fulfillment center as long as they continue to offer the service.

                Recreation.gov does not currently provide customers with the option to obtain a
                Senior, Access, or Military versions of these passes as these require the mail-in
                collection of additional PII in the form of an affidavit attesting to the customer’s
                eligibility for one of these passes.

                In the current state, the Contractor shall provide for the sale of Annual passes
                through the program. The Contractor shall provide continuing customer service
                throughout the fulfillment lifecycle of each pass sale including service related to
                passes not received; passes received too late, requests for refunds, etc. The
                Contractor shall provide the necessary data through a secure data transfer means
                to the fulfillment provider including customer shipping data and order details.

                The Contractor shall provide the functionality / capacity to handle all following
                aspects of the Pass sale transaction while ensuring all pass sale transactions are
                conducted.

                   •     Sell the pass as a stand-alone item.
                   •     Sell the pass in combination with other purchases and/or reservations.
                   •     Calculate and collect shipping charges for domestic and international
                         shipment of passes and provide the capability for the customer to
                         choose various shipping methods and prices.
                   •      Provide an electronic file report (file format and delivery method to be
                         determined in conjunction with fulfillment provider) to the designated
                         fulfillment center including: product(s) purchased, date of purchase,
                         customer name, and shipping information on a daily basis (Monday
                         through Friday).
                   •     As required, provide customers with information about the shipping
                         date of the order. (USGS can provide a shipping summary report that
                         CS agents can use to determine when a pass order has been fulfilled).
                   •     Handle all customer service inquiries including, but not limited to,
                         basic information about the pass and the pass program, lost or
                         undelivered passes, and requests for refunds.

                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                      Page 14 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 89 of 110 PageID# 613

                                           Attachment 10



                 Historically, Pass Sales have been as follows:

                         FY13 - 18,363 Passes Sold Online Via USGS.GOV*
                         FY12 - 16,948 Passes Sold Online Via USGS.GOV*
                         FY11 - 17,073 Passes Sold Online Via USGS.GOV*

                 * Note: These historic pass sales numbers all pertain to inventory sold via the
                 USGS.GOV website. It is impossible to predict how the sales numbers will
                 change when the Pass sales are transitioned to the RECREATION.GOV
                 website.

                 Future State: In the event that the USGS is no longer able to provide fulfillment
                 services for the Annual Pass and retail services for the Senior, Access, and
                 Military passes, the Contractor shall provide for both the sale and fulfillment
                 services for all pass sales. This shall include providing for the management,
                 accountability and destruction of accountable pass stock, warehousing, and
                 fulfillment.

                 Additionally, the Government anticipates the potential requirement to sell and
                 fulfill orders for traditional paper maps via R1S. Paper maps are currently sold,
                 processed and shipped outside of R1S by various R1S participating agencies.

                 At any point during the contract period of performance, the Contractor may be
                 required to provide Map sales, inventory and fulfillment services and/or pass
                 inventory and fulfillment services upon receipt of official notification from the
                 Government Contracting Officer or Contracting Officer Representative.

                 A formal contract modification shall be required prior to the Contractor
                 providing these services. Should the Government decide to initiate these
                 services, the Government shall provide a detailed requirements document
                 against which the Contractor shall prepare a technical/price proposal detailing
                 their proposed solution. The government shall provide the requirements
                 document to the Contractor no less than six (6) months prior to the required start
                 date of these services.

          1.12.2 Mobile / Digital Passes


                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                       Page 15 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 90 of 110 PageID# 614

                                        Attachment 10


                 The contractor shall provide the capability to generate, distribute and validate
                 secure mobile / digital passes which customers may store in their
                 RECREATION.GOV user profiles to receive applicable benefits during online
                 transactions, and also store on a variety of popular mobile electronic devices for
                 presentation and validation at locations / facilities where such a pass may be
                 honored.

                 Customers shall be able to purchase mobile / digital passes online via the same
                 payment and checkout workflows utilized to purchase reservations, permits or
                 tickets, enter lotteries, etc. Generation and distribution of the mobile / digital
                 pass shall be immediate upon receipt of payment.

                 The contractor shall provide the capability to securely validate mobile / digital
                 passes at field locations and apply the appropriate pass pricing and/or benefits to
                 transactions conducted at field locations. The contractor shall not be required to
                 purchase or provide hardware to the field locations, however the contractor shall
                 provide the Government with a listing of hardware solutions that have been
                 tested and certified to work with the field validation solution. The contractor
                 shall be responsible for procurement of hardware to conduct field testing and
                 certification testing, however this hardware shall remain the property of the
                 contractor.

                 Both mobile / digital pass validation and ticket validation shall be accomplished
                 in the field using the same hardware, therefore the contractor shall develop and
                 certify hardware solution(s) suited for a variety of use scenarios including, but
                 not limited to, validating both printed and electronic documents, stationary
                 devices for fixed, entry points; mobile / portable devices for temporary or
                 floating entry points, devices that can perform validation offline when not
                 connected to an internet / data network, etc.

     1.13. Non-Fee Facilities

          Several federal recreation and historic locations, such as the Washington Monument,
          the USS Arizona Memorial and Independence Hall, which require ticketing services
          under this contract, are statutorily prohibited from collecting admission or use fees.

          It is however permissible for R1S to charge a convenience / processing fee to customers
          who request tickets to such locations via the Internet, Call Center or Field Sales, in
          advance of their visit.
                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                       Page 16 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 91 of 110 PageID# 615

                                         Attachment 10


          Collectively, these are extremely popular locations, and total sales of tickets to these
          locations can easily exceed 1.3 million tickets per year.

          The Government anticipates continuing to pass 100% of the convenience / processing
          fee directly to the R1S Support Services contract service provide.

          These convenience / processing fees correspond to CLINs 1004AD; 1005AD and
          1006AD.

     1.14. Low Fee Facilities

          There are a significant number of federal recreation and historic locations which are
          only authorized to collect a nominal amount for tours, tickets, admissions, etc. (Cape
          Hatteras Lighthouse, Mesa Verde NP, etc.).

          These locations typically see significantly less visitation than the Non-Fee Locations
          identified above, as some of these Low Fee locations may only see a total of 5,000
          visitors each year.

          The fact that the admission charge at these locations is so small demands a unique,
          reduced CLIN price which would allow them to participate in the R1S Support Services
          contract.

          The contractor shall provide per transaction pricing at CLINs 1004AAC, 1005AC and
          1006AC which is geared toward maximizing the ability for such Low Fee locations to
          participate in the R1S Support Services contract.

          Participation in the R1S Support Services contract Low Fee CLIN pricing shall be
          limited to those locations / inventory items with a charge of $12 or less per person /
          item.

     1.15. Uniform Resource Locator (URL)

          All customer-facing features shall be accessible to the public via the Government-
          owned URL: http://www.recreation.gov or other yet to be determined URL as directed
          by the PMO.

     1.16. Mapping and Geospatial Capability

          In this context ‘geospatial’ will refer to the various data, hardware, software, skills,
          networks, and technologies that enable a wide spectrum of location-based mapping and

                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 17 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 92 of 110 PageID# 616

                                         Attachment 10


          analysis capabilities. Geospatial data references should be considered, at least
          potentially, to be both vector and raster models; from GIS, cartographic, GPS, and
          remote sensing disciplines; and in a variety of data structures such as the geodatabase,
          shapefile, or .kmz. The Contractor shall provide accurate, reliable, and user-friendly
          interactive mapping capabilities throughout the website in order to assist Users in all
          aspects of the travel planning and reservation process. Desired examples include, but
          are not limited to: route/trip planning; ability to turn on and off map layers of different
          facilities, areas, and amenities; driving directions; shortest path calculations; linear
          referencing; story maps; virtual tours; campground and facility layouts/maps,
          wilderness areas, water based recreation, etc. Location-based recreation data and
          intuitive spatial analysis functions and tools are needed for users to experience an
          enhanced recreation discovery outlet that better enables awareness, planning,
          reservation, and social media experiences on Recreation.gov.

          The Contractor shall provide the end user, at a minimum, the ability to utilize
          interactive maps to link informational material to map locations, locate recreation
          inventory and activities, check availability, view geo-located/geo-tagged recreation site
          photos/videos, and reserve inventory. The mapping functionality shall include the
          functionality to display multiple options for background/base layering themes, such as
          topographic, thematic, satellite imagery, etc.

          The Contractor shall provide a mapping functionality which gives users the ability to
          “drill-down” and “zoom in” to view campgrounds, campground loops and individual
          campground sites, picnic areas, day use areas, etc. A variety of technologies, geospatial
          data types and sources, and/or approaches may need to be employed to provide this
          functionality as detailed satellite images may not be available for all recreation areas.

          A segment of the user community will not only be accessing and viewing the mapping
          data through the web interface at www.recreation.gov, but will also have a need to
          search, retrieve, and download the geospatial data via the RIDB data sharing
          interface(s), or APIs. The Contractor shall demonstrate utilization of programming
          languages, formats, data types/conventions/sources, etc. which maximize the portability
          and usability of maps and map related data by third-parties. This minimizes the need for
          third-party data consumers to procure expensive and/or proprietary software to utilize,
          edit or manipulate the mapping data. The contractor shall ensure that all available
          geospatial data within R1S is incorporated into the user interface to provide users with
          the most complete mapping solutions available.


                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 18 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 93 of 110 PageID# 617

                                         Attachment 10


          Contractors are encouraged to actively and aggressively seek out successful
          implementations of existing and emerging geospatial trends and technologies and
          incorporate them into their proposed deployment configuration as “Advanced Mapping
          and Geospatial Capabilities” in a manner designed to maximize the users’ end-to-end
          travel planning & recreation experience.

     1.17. Navigation and Search

          The Contractor shall make all prudent efforts to ensure site navigation and search
          functionality are intuitive, streamlined, powerful and in-line with current industry
          standards and best practices.

          The Contractor shall build services that are simple and intuitive enough that users
          succeed the first time, unaided.

          See Section 1, Acquisition Overview, of the attachment "Data and Analytics" for
          website analytics.

          1.17.1.   Site Navigation

                    The Contractor shall utilize information such as analytical data, customer
                    focus groups, usability audits and customer feedback to locate, isolate and
                    mitigate areas within the page layouts, hyperlink & menu choices and site
                    navigation structure where there are redundant or unnecessary “clicks”
                    required, and where Users are experiencing difficulties navigating the site due
                    to any of a wide variety of reasons including, but not limited to, ambiguous
                    link labels or site nomenclature, confusing site work flows, etc.

                    The Contractor shall utilize the results of such analytics and customer
                    feedback to continually improve the navigability and overall user experience.
                    Implementations of such continual improvement updates are not in and of
                    themselves considered wholesale “User Interface Refreshes”.

                    1.17.1.1. Search Functionality

                             The search functionality is important to the viability and success of
                             any proposed solution as it essentially acts as the user’s pathway to
                             unlock the data within the system.

                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                       Page 19 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 94 of 110 PageID# 618

                                     Attachment 10



                         The Contractor shall organize, store, index and tag data in manner
                         that facilitates maximum accessibility and functionality of that data
                         in support of data intelligence functionality and data mining
                         requirements under the contract.

                         The requirements below represent the minimum acceptable search
                         functionality and capabilities. The most competitive Contractor’s
                         will be those who leverage their creativity and resources to
                         incorporate search functionality above and beyond the minimum
                         requirements defined herein.
                         A predefined point, for the purposes of Search Capabilities, is
                         defined as a user designated map point. At a minimum, the
                         Contractor shall recognize and accept the following data and
                         references as predefined points: US city names, US zip codes, US
                         airport names, US IATA airport codes, names of inventory,
                         generally recognized points of interest including, but not limited to,
                         educational institutions, sports stadiums & arenas, hospitals,
                         amusement parks, recognized landmarks, etc.

                 1.17.1.2. General Search Capabilities

                         “General Search Capabilities” applies to all search capabilities which
                         are not specifically directed at locating specific availability
                         information tied to reservable inventory.

                         The system shall utilize global positioning satellite (GPS) services /
                         location services when accessed via a GPS / location services
                         enabled device including, but not limited, to smartphones, tablets
                         and laptops. The system shall utilize these services to derive the
                         user’s location in order to serve up a variety of options and data
                         tailored to that specific location. Such options and services include,
                         but shall not be limited to, setting the user’s current location as the
                         starting point, endpoint or a waypoint on a new or previously defined
                         trip or itinerary, initiating searches for activities, points of interest,
                         reservable and non-reservable inventory near the user’s current
                         location, saving the current location to the user’s profile, and sharing
                         the user’s current location by a variety of means including, but not
                         limited to, e-mail, SMS text and prevailing social media conduits.
                                                        R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                       Attachment 10- Basic System Requirements
                                                                                                    Page 20 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 95 of 110 PageID# 619

                                         Attachment 10


                        All data, including inventory, shall be tagged and categorized to
                        enable searches to return results based on conditional searches.
                        Examples might include “Camping Colorado” which would return
                        camp sites within Colorado and not just campgrounds with
                        “Camping” and “Colorado” within the name. The tagging and
                        categorization shall be adjusted based on search results to better
                        adapt the site based on user feedback and search results.

                        The search functionality shall provide predictive intelligence such
                        that the website will automatically provide suggested search terms
                        for users as they are typing their search terms in the search box. See
                        Example 1.

                          colorado cam
                          colorado   camping
                          colorado   cam pgrounds
                          colorado   camper rental
                          colorado   camper van



                               *Example 1

                        The Contractor shall provide search functionality intelligent enough
                        to provide a reasonable set of results despite user typographical
                        errors and misspellings. See Example 2.

                          colorado camring

                          Showing results for colorado camping
                          Search instead for colorad~ camring_



                               *Example 2

                        The Contractor shall provide search functionality which contains
                        sufficient intelligence and logic to recommend other searches based
                        on search terms entered by users.

                            Others who have searched for COLORADO CAMPING
                                            have searched for:
                           colorado tent camping                     colorado river camping
                           colorado national forest camping          colorado camping rese rvations
                           colorado backcountry camping              colorado national parks
                           colorado rv camping                       colorado springs camping


                            *Example 3

                                                                 R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                                Attachment 10- Basic System Requirements
                                                                                                             Page 21 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 96 of 110 PageID# 620

                                   Attachment 10


                        * Examples are provided solely to demonstrate the nature of the
                        functionality required and shall not be construed to be directing a
                        specific presentation, or implementation, of the functionality
                        required.

                        The search functionality shall allow users to filter, narrow and sort
                        the search results based on a variety of characteristics including, but
                        not limited to, agency, current GPS location (for mobile devices
                        equipped with such technology), state, available activities, amenities,
                        availability of reservable inventory, content type, distance from a
                        predefined point, etc. shall process all user selected filters whether
                        the user selects only one individual filter or multiple filters.

                        For returning Users with established User Accounts / Profiles, search
                        functionality shall contain sufficient intelligence and logic to provide
                        personalized search recommendations and results based on the
                        User’s previous activities within such prior reservations, previous
                        searches, geographic locations, etc.

                         1.17.1.2.1. Specific Availability Search Capabilities

                                    The specific availability search requirements defined
                                    herein apply to search capabilities to determine the
                                    specific availability of reservable inventory.

                                    The Contractor shall allow users to specify exact dates
                                    of travel or flexible dates, such as exact dates +/- 3 days,
                                    or simply to request availability over a user defined
                                    window of time, i.e. – to show the user all sites which
                                    are available at a specified recreation area during the
                                    month of June.

                                    Users shall have the ability to both sort and filter search
                                    results by salient characteristics. Examples of this could
                                    be to sort results by distance from a predefined point, or
                                    by availability for a defined time period and filtering to
                                    show only those sites that offer drive-up tent camping or
                                    locations that offer specific activities such as mountain
                                    biking, hiking or swimming.

                                                      R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                     Attachment 10- Basic System Requirements
                                                                                                  Page 22 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 97 of 110 PageID# 621

                                 Attachment 10



                                  The Contractor’s system shall be capable of displaying
                                  results of user Specific Availability searches in both list
                                  and graphical display formats. The Contractor shall
                                  utilize industry best practices such as varied colors and
                                  differing icons to represent availability of specific
                                  locations within search results.

                                  When the user selects a graphic display of specific
                                  availability search results, the graphic display shall also
                                  be capable of displaying other services that are offered
                                  within the mapped boundaries to enable a more
                                  complete search experience. These other services shall
                                  be easily toggled on and off to enable the user to
                                  increase or decrease the amount of information
                                  displayed.

                                  The Contractor’s system shall contain sufficient logic
                                  and intelligence to recommend alternative reservation
                                  options should users’ searches yield no reservable
                                  inventory available. There are many different ways this
                                  may be accomplished, but the overall goal is to not
                                  simply turn Users away when their specific request is
                                  unavailable. Some possible approaches may be
                                  providing the User a listing of some alternate sites that
                                  are available during the specified dates, or suggest the
                                  dates closest to the User-specified dates when that
                                  specific site is available, or possibly even recommending
                                  combinations of available accommodations to satisfy
                                  the search requirements; i.e. - Site A is not available all
                                  7-days the User is looking for, but the User could spend
                                  the week at the park if they are willing to spend 2-days
                                  at Site A, 3-days at Site B and the final 2-days at site C.

                                  The Contractor shall develop and deploy sufficient logic
                                  to perform market basket analysis on user-specific
                                  profile data including search and transaction history
                                  coupled with the profile data and transaction history of

                                                    R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                   Attachment 10- Basic System Requirements
                                                                                                Page 23 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 98 of 110 PageID# 622

                                        Attachment 10


                                        other users to automatically make intelligent recreation
                                        recommendations.

                                        The Contractor is encouraged to actively and
                                        aggressively seek out successful implementations of
                                        existing and emerging search trends and technologies
                                        and incorporate them into their proposed deployment
                                        configuration as “Advanced Search Functionality” in a
                                        manner designed to maximize the users’ end-to-end
                                        travel planning & recreation experience.

     1.18. Internal User Accounts

          Access to administrative functionality and information including, but not limited to,
          customer information, reservations, history, reports, administrative interfaces,
          purchase history, stored mailing and billing addresses, invoice history, reservation
          modification and cancellation capabilities, etc., shall be based on configurable,
          hierarchy-based, user roles and permissions.

          The Contractor shall establish procedures for account creation, management, and
          deletion. The Government Program Management Office shall be involved in the
          validation of requests of establishment of Internal-User account profiles. Internal user
          accounts shall be configurable to automatically become “inactive” or “locked” based
          on several factors including, but not limited to; a specific calendar date established at
          the time of account creation, a set number of days without a successful login by the
          user and a set number of invalid login attempts.

          The Contractor shall utilize industry standard protocols to provide an automated online
          method for Internal and External Users to reset passwords and gain access to their
          profiles.

     1.19. Financial and Transaction Management (FTM)

          The Contractor shall develop, document, implement, maintain and support an FTM
          system which is compliant with all applicable federal and industry standards pertaining
          to data and communications security and which provides robust financial controls and
          system reporting and audit capabilities.


                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                      Page 24 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 99 of 110 PageID# 623

                                       Attachment 10


          The Contractor shall ensure the system is flexible enough to readily adapt to emerging
          technologies such as E-checks, credit cards utilizing near field communications (NFC)
          in lieu of magnetic strips, etc. as they become more prevalent in the commercial
          marketplace.

          All system transactions shall be accomplished and recorded in accordance with
          Generally Accepted Accounting Principles (GAAP). In general, all funds collected
          through the system, regardless of the method used to conduct the transaction, on-line
          using the website, via telephone call with the customer support desk, cash transactions
          at field locations, etc., shall be deposited into the Government-specified U.S. Treasury
          account on a daily basis.

          On a monthly basis, the program office will then make all required disbursements of
          collected funds from the specified U.S. Treasury accounts to Participating Agencies,
          Concessionaires, etc. and also to the Contractor via the established contract invoice
          process.

          The Department of Agriculture and the US Forest Service do not use pay.gov for the
          Recreation.gov program; instead the Card Acquiring Service through the Department
          of Treasury – Financial Management Service is used. More information on the Card
          Acquiring Service program can be found at http://fms.treas.gov/cas/index.html.

          All transactions shall be performed in U.S. Dollars.

          See section three (3) of attachment "Data and Analytics" for E-Commerce analytics.

          1.19.1. Credit Card Acceptance

                 The Contractor shall accept and process credit card transactions performed
                 using American Express, MasterCard, Visa, Discover, JCB and China Union
                 branded cards to include debit cards, credit cards and pre-paid (secured) cards.
                 The solution shall support emerging payment technologies such as the use of
                 RFID enabled cards for field transactions.

                 The Contractor shall accommodate the processing of credit card transactions
                 online, via telephone calls to the customer service desk and at field locations
                 manned by Government or Concessionaire personnel.


                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                      Page 25 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 100 of 110 PageID# 624

                                        Attachment 10


           1.19.2. Credit Card Processing

                  The Contractor shall process secure credit card transactions in accordance with
                  industry processing standards and shall ensure compliance with the appropriate
                  levels of the Payment Card Industry Data Security Standards (PCI DSS). PCI
                  compliance is required for all credit card transaction processing including
                  those conducted through the call center, web, and field locations. The
                  Contractor shall ensure that the system is certified PCI compliant,
                  incorporating EMV/chip and pin technology, when processing credit card
                  transactions in the field while incorporating point to point encryption.

                  www.pcisecuritystandard.org

                  The Contractor shall use Government designated credit card processor(s)
                  and/or bank(s). All funds shall be deposited immediately into the government
                  designated bank unless otherwise authorized by the CO. These entities are
                  designated by the U.S. Treasury Department and are subject to change
                  throughout the life-cycle of the contract. In the event the U.S. Treasury
                  Department changes the designated credit card processors and/or banks, the
                  program office will proactively work with the Contractor to facilitate a
                  seamless transition.

                  The Contractor shall provide and maintain Bank and Debit Card processing
                  software which is certified by Government designated banks.

                  Charge-backs shall be returned to and processed by the Contractor.

                  The US Treasury currently covers all credit card transaction fees. The PMO
                  anticipates this arrangement will continue into the foreseeable future. The
                  existing Treasury designated credit card processor is Vantiv; www.vantiv.com.

           1.19.3. Paper Transactions

                  The Contractor shall provide the capability for field locations to accept,
                  validate, process, and record transactions involving paper payment methods in
                  addition to credit card transactions.



                                                         R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                        Attachment 10- Basic System Requirements
                                                                                                     Page 26 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 101 of 110 PageID# 625

                                       Attachment 10


                 Additionally, the system shall provide the capability to accept multiple forms
                 of payment, such as paper payment and credit card, for one sales transaction.

                 Paper payment methods include official U.S. currency, money orders,
                 travelers’ checks and personal checks provided all of the paper payment
                 methods are payable in U.S. Dollars.

           1.19.4. Cash Transactions

                 The Contractor shall provide the capability for field locations to accept cash
                 transactions.

                 Cash (US currency and checks drawn on US banks) is collected at local
                 reservation sites and recorded in the reservation system. The reservation
                 system shall have functions to record the receipt of cash, personal checks, and
                 traveler’s checks for specific reservation transactions, create shift reports for
                 individual stations and /or persons, and aggregate transaction data for the
                 creation of daily (or other time period) deposit reports, .

                 Cash may be deposited directly into an agency specific account or may be
                 transmitted to a central lockbox for reconciliation by the R1S financial
                 management office. Cash that is deposited directly into agency accounts does
                 not need to be reconciled by R1S. In the event that cash is collected and a
                 refund is authorized against the cash payment, the solution shall provide the
                 capability to ‘authorize’ a refund in the system without actually distributing
                 cash on site. This would trigger the R1S financial management office to
                 ‘issue’ a refund by check at a later date based on system reporting that
                 identifies refunds authorized but not issued in the field.

                 The R1S lockbox is assigned through the Treasury and is currently Bank of
                 America. Bank of America makes manual entries to record the information
                 from the deposit ticket, checks and money orders. It also images all checks and
                 money orders. Bank of America produces a file which it transmits to the US
                 Treasury. This becomes the basis of the daily deposit totals that the PMO
                 downloads daily from the Treasury CIR (Collection Information Repository)
                 site. Bank of America also sends the images to the Treasury. These images and
                 actual daily deposit tickets become available to the PMO on the Treasury’s
                 ECP (Electronic Check Processing System) site. On a daily basis Bank of

                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                      Page 27 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 102 of 110 PageID# 626

                                       Attachment 10


                 America provides directly to the PMO a lockbox file containing data for every
                 check or money order processed for that day’s business plus a daily deposit
                 total. The file contains all data that Bank of America entered. The PMO
                 verifies the daily deposit total and investigates any differences.

                 Once PMO has completed daily total verification, it sends the file to the
                 Contractor where it is downloaded in the Contractor’s system. Once
                 downloaded in the Contractor’s system the individual check data is reconciled
                 overnight within the Contractor’s system. If the data originally entered in the
                 Contractor’s system by personnel at the facility matches the data recorded by
                 the bank, the transaction automatically reconciles. Reconciliation in the
                 Contractor’s system is by facility number, deposit number, dollar amount,
                 check number or remitter name. The Contractor’s system will then record those
                 funds as belonging to that facility when distribution reports are run. If there are
                 discrepancies the individual items must be manually researched and reconciled
                 by PMO personnel before the funds for the specific un-reconciled check can be
                 distributed. The Contractor’s system allows PMO personnel to view and
                 correct reconciled and un-reconciled individual items using search functions on
                 multiple data fields.

                 Non-Sufficient Funds (NSF) checks are subsequently processed by the
                 Treasury and show up on daily Treasury downloads and as daily Treasury ECP
                 debit tickets. PMO staff research NSF checks individually using data from
                 ECP and the Contractor’s system. Once identified to a specific reservation,
                 PMO staff voids the reservation in the Contractor’s system which has the effect
                 of subtracting that amount from the facilities’ distribution total. The PMO then
                 provides copies and information concerning the NSF checks to the appropriate
                 agency so they can pursue collection.

           1.19.5. Cancellations, Modifications, and Refunds

                 The Contractor shall process all cancellation and refund requests in accordance
                 with the Business Rules.

                 At a minimum, the Contractor shall be capable of processing cancellations,
                 modifications and refunds through all sales channels. Service charges and fees
                 may be charged to the customer and/or waived at the Government’s discretion.


                                                          R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                         Attachment 10- Basic System Requirements
                                                                                                      Page 28 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 103 of 110 PageID# 627

                                           Attachment 10


                    The Contractor shall not charge any additional fees to the customer or
                    Government for changes to or cancelled transactions.

      1.20. Visibility and Integrity of Transactional Data

            The Contractor shall provide robust, flexible and reliable financial and transaction
            reporting capabilities at the transaction detail and summary level as to fully support
            end-to-end auditability of all transactions in the system regardless of how the
            transaction was entered into the system (on-line, Customer Support Desk, field
            location, etc.).

      1.21. Fees

            R1S collects a variety of fees associated with all types of transactions including but
            not limited to: use, transaction, reservation, convenience, service, change, cancellation,
            deposit, shipping and handling, point of sale, penalty, no show, etc. The solution shall
            be configurable to allow flexibility in the labeling and layering of fees for information
            purposes and in the transaction and reporting process.

            Fee information for facilities shall reflect the fees that are specific to each facility.

            Each product may contain one or more fee type. The solution shall allow the
            incorporation of various fees to each type of product. Fees can be assigned at all
            levels of the program hierarchy from the program level down to the product level.

            The solution shall also provide the capability to easily override any fee with
            appropriate authorization/permission.

            The Government has the sole discretion at applying fees and the Contractor shall not
            add any additional fees to any transaction without approval from the CO.

    1.22. Financial and Transactional Data Management

          All data contained in the System; financial, transactional and otherwise, shall be
          auditable and remain the exclusive property of the U.S. Government.

          The Contractor shall capture, retain and report on significant financial and transactional
          data elements associated with each and every transaction in the system regardless of the

                                                               R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                              Attachment 10- Basic System Requirements
                                                                                                           Page 29 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 104 of 110 PageID# 628

                                          Attachment 10


          means by which the transaction was entered into the system; online, by telephone via the
          Customer Service Desk or in person at a field location.

          The financial and transactional data captured, retained and reported shall be of sufficient
          detail and clarity to quickly and easily portray the complete story of that transaction, and
          all subsequent modifications, to Government and Concessionaire personnel managing
          field locations as well as to Contractor personnel at the telephone Customer Service
          Desk.

          The data items listed below represent the minimum data capture, retention for every
          transaction and subsequent transaction modification entered into the system.

          The Contractor shall build flexibility into the system to accommodate changing data
          collection requirements throughout the course of the contract’s life-cycle.

          The solution shall provide the capability to search for customers and reservations using
          general customer profile information and product specific data (e.g., if a vehicle drivers
          license is collected for a permit, the Government shall be able to search on that data
          alone to retrieve associated transactional and customer data).

          At a minimum, the Contractor shall collect and retain the following data.


          1.22.1.   Transaction Data

                        1.22.1.1.       Initial Transaction

                                               Customer Information
                                               Customer Number
                                               Confirmation Number
                                               Transaction Date
                                               Transaction Time
                                               Transaction Mode (Online, Customer Service Call
                                                Center, Field, etc.)
                                               Transaction Location (For Field Transactions)
                                               Sales Agent Name (N/A for Online Transactions)
                                               Method of Payment
                                               Total Transaction Amount

                                                              R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                             Attachment 10- Basic System Requirements
                                                                                                          Page 30 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 105 of 110 PageID# 629

                                          Attachment 10


                                                  Transaction Fee(s)
                                                  Service Charge(s)
                                                  Tax Amount(s)

                        1.22.1.2.      Modifications After Initial Transaction

                                       The Contractor shall collect and retain the following
                                       information items on all subsequent modifications to
                                       transaction records within the system.

                                                   Customer Number
                                                   Transaction Number (Initial Transaction)
                                                   Modification Date(s)
                                                   Modification Time(s)
                                                   Modification Mode (Online, Customer Service
                                                    Center, Field Location, etc.)
                                                   Modifying Agent Name (N/A for Online
                                                    Modifications)
                                                   Brief Description of Modification Made
                                                   Modification Amount (+ For Additional Charges /
                                                    - For Refunds Given)
                                                   Comments

          1.22.2.   Reservation Data

                    In addition to the data fields listed below, the Contractor shall provide the
                    capability to capture additional data fields depending upon the type of purchase
                    transaction being performed by the customer. Some of these additional data
                    fields may include PII, the storage, release, propagation and display of which
                    would need to be controlled accordingly.

                    An example of such additional data would be the collection of a customer’s
                    driver’s license number for transactions such as entering a lottery where users
                    must be limited to one entry per season.

                    These additional data fields shall be identified by the Government during the
                    implementation process associated with the specific location, site and or
                    transaction type.

                                                               R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                              Attachment 10- Basic System Requirements
                                                                                                           Page 31 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 106 of 110 PageID# 630

                                          Attachment 10



                    Such limited-use PII shall not be collected at the user profile level because it
                    may be used only in a small number of transaction types, and to require such
                    PII at the user profile level would serve to discourage users from creating
                    profiles and making online transactions.

                    Reservation data includes but is not limited to:

                           Customer Name (If Different Than Name of Person Paying For
                            Reservation)
                           Location of Reservation / Permit / etc. (Which Park / Forest / etc.)
                           Area of Reservation / Permit / etc. (Which Campground / Marina /
                            etc.)
                           Site of Reservation / Permit / etc. (Which Campsite / Boat Slip / etc.)
                           Arrival and Departure Dates
                           Type Of Reservation (Campsite, Cabin, Permit, etc.)
                           Permit Reservations, Quick and Exempt Permits
                           Length of Time Use
                           Permit Method of Travel (Paddle, Hike, Motorized Boat, Etc.)
                           Number of Water Craft per Permit
                           Permit Pick-Up Location
                           Entry Point (Permits)
                           Permit Method of Travel (Paddle, Hike, Motorized Boat)
                           Type, Number, and Size of Recreational Equipment
                           Site Type or Number Designation
                           Party Size
                           Reservation Confirmation Number
                           Number of Youths and Adults
                           Request for Accessible Facility or Activity
                           Activity Time

          1.22.3.   Customer Data

                    To the maximum extent possible, Customer Data associated with each
                    transaction shall be extracted from the Customer’s user profile to prevent the
                    Customer from having to repeatedly enter their specific data with each
                    transaction.


                                                             R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                            Attachment 10- Basic System Requirements
                                                                                                         Page 32 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 107 of 110 PageID# 631

                                         Attachment 10


                  The following Customer-specific data shall be collected and associated with
                  each individual transaction in the system.

                         Customer Name
                         Customer Billing Address
                         Customer Mailing Address
                         Customer Telephone Numbers
                         Customer E-Mail Address
                         Customer Interagency Pass Number1 (If Applicable)
                         Customer Interagency Pass Expiration Date1 (If Applicable)
                         Golden Age, Golden Access Passport, or Other Pass Number, If
                          Applicable;
                         Customer Identification Number

                  1
                    The term Interagency Pass includes all current and legacy pass types such as
                  the Golden Access Passport, the Golden Age Pass, etc.

      1.23. Shared Virtual Collaboration Environment

            The Contractor shall provide a robust, reliable and easily accessible shared
            collaboration environment accessible by all members of the Contractor’s program
            management team as well all members of the PMO team.

            The collaboration environment shall support user access controls to ensure only
            authorized members of the program management teams may access some or all the
            content of the collaboration environment.

            The collaboration environment shall provide for the secure storage and sharing of
            documents, media, and data files, including files containing sensitive information
            such as PII and transaction data, between program management teams. Additionally,
            the environment shall reduce the need for transferring large files via e-mail; allow the
            storage and sharing of large files and support document / data version control and
            tracking capabilities to capture a history of document / data changes. Additionally,
            the environment shall provide basic administrative support tools, including, but not
            limited to shared and group calendar functionalities and automated notification
            functionalities for revisions to documents and other stored data such as calendar data.



                                                           R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                          Attachment 10- Basic System Requirements
                                                                                                       Page 33 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 108 of 110 PageID# 632

                                           Attachment 10


             The collaboration environment shall also provide an area accessible only by Federal
             Government or Government sponsored personnel from all participating agencies.
             This Government-only area of the collaboration environment shall contain all of the
             functionality available in the shared portion of the environment. Key members of the
             PMO shall have administrative rights to grant, and withdraw, access privileges to the
             “Government-only” portion of the shared collaboration environment.

             Additionally, the collaboration environment shall provide organizational protocols
             such as virtual folders, cabinets, work rooms, etc. to provide for the logical
             segregation and organization and retention of stored documents / data.

             The contractor shall propose a data security and backup regimen to ensure no
             unauthorized personnel obtain access to the information stored in the collaborative
             environment and to ensure no data residing in the shared collaboration environment is
             corrupted and/or lost.

             Upon conclusion of the contract, scheduled or otherwise, the Contractor shall
             surrender all data in the Shared Collaboration Environment to the Government in an
             electronic format accessible by Microsoft Windows-based PCs and which retains the
             file systems, formats and attributes of the files as they resided within the Shared
             Collaboration Environment.

     1.24.   Communications Capabilities

             The Contractor shall provide the capability and all resources to deliver a wide range
             of standardized and customized electronic mass and individualized communications
             to customers, including as a minimum html enabled e-mail, SMS text and telephone
             (robo-calls). This functionality shall be fully configurable as to allow fully
             customizable messages and recipients to be designated, or targeted, based on a wide
             variety of criteria including, but not limited to, characteristics of their user profiles,
             their reservation / purchase history and reservations for future dates.

             Communications issued via these automated means may range from basic
             informational messages, such as a reminder of an upcoming reservation, or marketing
             messages informing customers of upcoming events to extremely urgent messages
             advising customers of health, life and safety issues such as forest fires, floods, etc.



                                                              R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                             Attachment 10- Basic System Requirements
                                                                                                          Page 34 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 109 of 110 PageID# 633

                                         Attachment 10


             Users shall not have the ability to “opt-out” of receiving messages of an urgent
             nature, however they shall have the ability to either “opt-in” or “opt-out” of the more
             routine types of automated electronic communications.

             The Government shall retain the authority to determine default “opt-in” or “opt-out”
             settings on an individual basis.

             The Contractor shall provide the capability to display alerts and messages on website
             pages. The Contractor shall also provide the government a means to post additional
             information appropriate for the program such as information about federal recreation
             management, legislation, and management policies.

     1.25.   Enterprise Reporting System (ERS)

             The Contractor shall deliver a robust, flexible and reliable capability for Internal
             Users to generate, print and save accurate system reports throughout the day on an
             on-demand basis.

             In developing an ERS, the Contractor shall:

                       Develop an understanding of what is needed
                       Address the whole Recreation.gov experience from start to finish
                       Make the reports simple and intuitive
                       And choose a modern technology stack

             For informational purposes and based on industry best practices, the software systems
             that are used to manage similar services are:

                       Reservation
                       Property Management
                       Customer Relationship Management
                       Business Intelligence

             Based on current technologies it is anticipated that the Contractor may be able to
             consolidate the reporting software into one ERS.

             The demand for reports can be very high at different times of the day and during
             different seasons with several thousand reports being generated on a daily basis.
             Consequently, the design, architecture, hardware, software and bandwidth dedicated
                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 35 of 36
Case 1:23-cv-00043-PTG-IDD Document 23-2 Filed 03/10/23 Page 110 of 110 PageID# 634

                                         Attachment 10


            to the Enterprise Reporting system shall be sufficient to handle all reporting
            requirements without negatively impacting the performance of the customer-facing
            components or diminishing the user experience.

            The Contractor shall provide a simple and intuitive user interface through which users
            will access the reporting functionality.

            The ERS shall be capable of automatically generating pre-defined and/or User
            customized reports for individual users on a predefined recurring schedule and
            automatically transmitting the generated reports to that specific user via e-mail,
            facsimile, or other preferred means of communication. System generated reports
            which are automatically e-mailed shall be transmitted as an attachment to the e-mail
            as opposed to being embedded in the text of the e-mail.

            The ERS shall be capable of visually displaying all generated reports on the platforms
            described herein.

            See attachment “Historical Reporting Data” and Section Seven (7) of "Data
            Analytics" for information regarding past reporting.

      1.26. Public Interface Support Services

            The Contractor shall deliver system functionality that increases ways for a potential
            customer to access data and to learn about the recreation opportunities available
            across the country as well as to initiate reservations for this inventory.


            The system shall be designed in such a way that it is easy for third parties to access
            the data and information contained within the Recreation.gov system in machine-
            readable formats, so that third parties may easily integrate this information into their
            applications, websites, products and services.

            Third party data sharing with real time availably is required at “go-live”.




                                                            R1S Support Services (R1SSS) PWS| Revision 1 | 2015 08 05
                                                                           Attachment 10- Basic System Requirements
                                                                                                        Page 36 of 36
